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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City Food & Brewery Ltd.                             Case No. 19-43756

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City Restaurant Operations, Inc.                     Case No. 19-43757

                        Debtor.                             Chapter 11 Cases
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In re:                                                       Joint Administration Pending

Granite City of Indiana, Inc.                                Case No. 19-43758

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City of Maryland, Inc.                               Case No. 19-43760

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City of Kansas Ltd.                                  Case No. 19-43759

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

   NOTICE OF HEARING AND MOTION FOR INTERIM AND FINAL ORDERS (I)
GRANTING EXPEDITED HEARING, (II) APPROVING POSTPETITION FINANCING,
  (III) GRANTING LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
     EXPENSE STATUS, (IV) AUTHORIZING USE OF CASH COLLATERAL, (V)
   GRANTING ADEQUATE PROTECTION, (VI) MODIFYING AUTOMATIC STAY,
                    AND (VII) GRANTING RELATED RELIEF
______________________________________________________________________________


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TO:     THE PARTIES-IN-INTEREST AS SPECIFIED IN LOCAL RULE 9013-3.

        1.       The above-named Debtors (“Debtors”), through their undersigned attorneys, move

the court for the relief requested below and give notice of hearing.

        2.       The court will hold a hearing on this motion for expedited hearing and on the

portion of this Motion seeking an interim order at 2:00 p.m. on Thursday, December 19, 2019,

before the Honorable William J. Fisher, Courtroom 2B, U.S. Courthouse, 316 N. Robert Street,

St. Paul, Minnesota 55101. A hearing on the portion of this Motion seeking a final order will be

held at 1:30 p.m. on Wednesday, January 22, 2020 before the Honorable William J. Fisher,

Courtroom 2B, U.S. Courthouse, 316 North Robert Street, St. Paul, Minnesota 55101.

        3.       Local Rule 9006-1(b) provides deadlines for responses to this Motion. However,

given the expedited nature of the relief sought with respect to the portion of the Motion seeking an

interim order, the Debtors do not object to written responses being served and filed two hours prior

to the hearing. Any response to the Motion for a final order must be filed and served no later than

Friday, January 17, 2020, pursuant to the applicable Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and the Local Rules.            UNLESS A RESPONSE OPPOSING THE

MOTION IS TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT A

HEARING.

        4.      This court has jurisdiction over this motion under 28 U.S.C. §§ 157 and 1334,

Bankruptcy Rule 5005 and Local Rule 1070-1. The petitions commencing the Debtors’ chapter

11 cases were filed on December 16, 2019 (the “Petition Date”). The cases are now pending

before this court.

        5.      This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this court pursuant to 28 U.S.C. §§ 1408 and 1409.
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        6.      This motion arises under 11 U.S.C. §§ 105, 361, 362, 363, 364 and 507, and Fed.

R. Bankr. P. 4001(b). This Motion is filed under Fed. R. Bankr. P. 9014 and Local Rules 4001-2

and 9013.

        7.      The Debtors are contemporaneously filing a motion requesting joint administration

of their chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are authorized to

operate their businesses and manage the property of the estates as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code. No official committee has been appointed.

        8.      Information about the Debtors’ businesses and the events leading up to the Petition

Date can be found in the Declaration of Richard H. Lynch, which is incorporated herein by

reference.

                                    REQUEST FOR RELIEF

        9.      By this Motion, the Debtors seek immediate access to postpetition financing in

  order to ensure their continued operations during these cases as they implement a sale process.

  To accomplish this task, the Debtors require the use of a postpetition credit facility consisting of

  a revolving loan as more fully described below up to an aggregate principal amount of

  $5,000,000 (the “DIP Financing”), pursuant to the DIP Credit Agreement. The DIP Financing

  will provide the Debtors with the necessary liquidity to fund their operations, bankruptcy costs

  including professional fees, working capital needs and general corporate purposes during the

  course of these cases.

        10.     Without the DIP Financing, the Debtors will not possess sufficient liquidity to

  ensure uninterrupted operations. Any cessation in operations would, in turn, likely result in

  immediate liquidation, the loss of more than 2,200 jobs and severe losses for vendors, customers

  and creditors. Therefore, the Debtors’ customers, their employees and all of the Debtors’ other

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  constituents depend on the Debtors’ ability to access the DIP Financing so that the Debtors can

  continue operating while a sale process takes place that will maximize recoveries for the estates

  and creditors.

        11.        The Debtors request that the Court enter an interim order (the “Interim Order”) and

  a final order (the “Final Order,” and collectively the “DIP Orders”). The Interim Order is

  attached hereto and the Final Order will be served and filed at least 10 days prior to the Final

  Hearing. In summary, the Debtors request orders granting:

               a.        authority, pursuant to sections 105, 363, and 364(c) and 364(d) of the

        Bankruptcy Code, for each of the Debtors, jointly and severally, to obtain senior secured

        postpetition financing (“DIP Facility”) in an aggregate principal amount of up to

        $5,000,000 (the “Delayed Draw Commitment”) (of which (x) upon entry of this Interim

        Order and satisfaction or waiver of the borrowing conditions set forth in the DIP Loan

        Documents (as defined below), $4,000,000 (the “Interim Advance”) shall be made

        available to the Debtors and may be drawn in a single draw on the Closing Date and the

        Additional Term Loan Obligations (as defined below) shall be rolled up into the DIP

        Facility and (y) subject to entry of the Final Order, the balance shall be made available to

        the Debtors upon entry of the Final Order in amount set forth in the DIP Credit Agreement

        (as defined below));

               b.        authority (a) for the Debtors to enter into that certain Senior Secured, Super-

        Priority Debtor-in-Possession Loan and Security Agreement, among the Debtors as

        Borrowers and Guarantors and JMB Capital Partners Lending, LLC, as Lender (the “DIP

        Lender”) in substantially the same form as attached hereto as Exhibit A (as amended,

        restated, supplemented or otherwise modified from time to time in accordance with the

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        terms thereof, the “DIP Credit Agreement” and, together with any ancillary, collateral or

        related documents and agreements, the “DIP Loan Documents”);

               c.      authority for the Debtors to use the DIP Facility and the proceeds thereof in

        accordance with the DIP Loan Documents to (a) fund the postpetition working capital

        needs of the Debtors during the pendency of the Chapter 11 Cases, (b) pay fees, costs and

        expenses of the DIP Facility on the terms and conditions described in the DIP Loan

        Documents, (c) roll-up of outstanding Additional Term Loan Obligations held by the

        Prepetition Secured Parties that become the DIP Lender into DIP Obligations (the “Roll-

        Up Loan”), subject to the rights preserved in paragraph 16 of the Interim Order, and (d)

        pay the allowed administrative costs and expenses of the Chapter 11 Cases, in each case,

        solely in accordance with the DIP Loan Documents, this Interim Order and the Final Order;

               d.      authority for the Debtors to grant to the DIP Lender valid, enforceable, non-

        avoidable, automatically and fully perfected security interests, liens and superpriority

        claims, including allowed superpriority administrative expense claims pursuant to sections

        364(c)(1) and 507(b) of the Bankruptcy Code, subject only to the Carve-Out and liens

        pursuant to sections 364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code in the

        Collateral (as defined below) (and all proceeds thereof), including, without limitation, all

        property constituting “Cash Collateral,” as defined in section 363(a) of the Bankruptcy

        Code, (“Cash Collateral”), to secure all DIP Obligations (as defined below), as more fully

        set forth in this Interim Order, subject only to the Carve-Out (as defined below);

               e.      authority for the Debtors to grant the Prepetition Secured Parties (as defined

        below) valid, enforceable, non-avoidable, automatically and fully perfected security

        interests, liens and superpriority claims, including allowed superpriority administrative

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        expense claims pursuant to section 507(b) of the Bankruptcy Code, subject only to the

        Carve-Out, and liens pursuant to sections 361, 362, 363(c)(2) and 363(e) of the Bankruptcy

        Code in the collateral to secure any diminution in value of the Prepetition Collateral, as

        more fully set forth in this Interim Order, subject only to the Carve-Out and senior lien and

        superpriority claims of the DIP Lender;

               f.      subject to and only effective upon entry of the Final Order, waiver by the

        Debtors of all rights to surcharge against the collateral of the DIP Lender and the

        Prepetition Secured Parties pursuant to section 506(c) of the Bankruptcy Code;

               g.      subject to and only effective upon entry of the Final Order, waiver of the

        equitable doctrine of marshaling or any other similar doctrine with respect to any collateral

        of the DIP Lender and the Prepetition Secured Parties;

               h.      modification of the automatic stay to the extent hereinafter set forth and

        waiving the 14-day stay provisions of Bankruptcy Rules 4001(a)(3) and 6004(h);

               i.      the scheduling of a final hearing (the “Final Hearing”) on the Motion for

        January 22, 2020 to consider entry of the Final Order inter alia, authorizing borrowings

        under the DIP Facility on a final basis and approving notice procedures with respect

        thereto; and

               j.      related relief.

                                    RULE 4001 STATEMENT

        12.    Pursuant to Local Rule 4001-2(a), attached hereto as Exhibit B are the Debtors’

  cash flow projections (the “Proposed Budget”).

        13.    Pursuant to Fed. R. Bankr. P. 4001(b), the following summarizes the significant

  terms of the DIP Credit Agreement and the Interim Order. The Debtors believe that the following

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  provisions of the DIP Credit Agreement and the Interim Order are justified and necessary in the

  context and circumstances of these cases.

   Provision                   Description and location
   Borrowers                   Granite City Food & Brewery, Ltd., a Minnesota corporation;
                               Granite City Restaurant Operations, Inc., a Minnesota
                               corporation; Granite City of Kansas Ltd., a Kansas corporation;
                               Granite City of Indiana, Inc., an Indiana corporation
   Borrowing limits            Aggregate $5.0 million secured term loan superpriority debtor-
                               in-possession financing.
   Interest rate               9.0% per annum payable in cash monthly
   Fees                        (1) Commitment Fee of 1.0% of the Facility (less the amount of
                               the Prepetition Additional Term Loan), earned and payable upon
                               entry of the Interim Order and paid at time of funding from loan
                               proceeds.
                               (2) Funding Fee of 2.0% of each advance payable in cash at time
                               of funding.
                               (3) Exit Fee of 3.0% of the Facility, earned at time of funding and
                               payable upon repayment, including any mandatory or voluntary
                               prepayment, or at maturity.
                               (4) Work Fee a non-refundable work fee of $50,000 (which was
                               paid prior to the Petition Date) to DIP Lender’s counsel for due
                               diligence and legal services rendered.
                               (5) Stated Maturity Fee of 10% of the amount of the DIP Facility,
                               due in cash following the Stated Maturity Date in the event the
                               Obligations are not indefeasibly paid in full on the Stated
                               Maturity Date.

                               DIP Credit Agreement, § 2.8.
   Stated Maturity Date        March 31, 2020.
   Events of default           Usual and customary events of default for facilities of this type
                               and purpose, among other things, failure to pay obligations,
                               failure to comply with warranties and covenants, amendments to
                               the Interim Order without JMB’s consent, entry of an order
                               granting relief from the automatic stay, conversion or dismissal
                               of the case, and appointment of a chapter 11 trustee.

                               DIP Credit Agreement, § 8
   Liens                       The DIP Obligations will be secured by first priority senior
                               priming liens in substantially all assets of the borrowers.

                               DIP Credit Agreement, § 9
   Borrowing conditions        The obligations to make the interim financing available are
                               subject to certain conditions precedent, including the entry of the
                               Interim Order.
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                               DIP Credit Agreement, § 3.
   Grant of priority or a lien Lien on all of the Borrower’s assets, including without limitation
   under §364(c) or (d)        all of the pre- and postpetition assets and property of the Debtors,
                               including all prepetition and postpetition real property and all
                               prepetition and postpetition tangible and intangible personal
                               property of each Borrower, in each case wherever located and
                               whether now owned or hereafter acquired, including, but not
                               limited to, all accounts, contracts rights, chattel paper, cash,
                               general intangibles, investment property, machinery, equipment,
                               goods, inventory, furniture, fixtures, letter of credit rights, books
                               and records, deposit accounts, documents, instruments,
                               commercial tort claims, leases and leaseholds and rents,
                               avoidance actions under section 549 and related recoveries under
                               section 550 of the Bankruptcy Code, together with all proceeds
                               of each of the following, including insurance proceeds (as each
                               such term above is defined in the UCC, to the extent applicable),
                               and, subject to Final Order, including the proceeds and recoveries
                               from Avoidance Actions (the “DIP Collateral”) as follows, in
                               each case subject to the Carve-Out:

                                 Liens Priming the Prepetition Citizens Liens. Pursuant to section
                                 364(d)(1) of the Bankruptcy Code, valid, binding, continuing,
                                 enforceable, non-avoidable automatically and fully perfected
                                 first priority senior priming liens and security interests in all DIP
                                 Collateral, regardless of where located, which senior priming
                                 liens and security interests in favor of the DIP Lender shall be
                                 senior to all Prepetition Citizens Liens. For the avoidance of
                                 doubt, as a result of the priming of the Prepetition Citizens Liens
                                 pursuant to this Interim Order, the DIP Lender shall have a first
                                 priority senior priming lien and security interest in, among other
                                 things, (A) all of the assets of Debtors and its debtor and non-
                                 debtor Subsidiaries, including, but not limited to, the “Collateral”
                                 as defined in the Prepetition Credit Agreement, and (B) the
                                 Debtors’ prepetition and postpetition commercial tort claims,
                                 including but not limited to all claims and causes of action (i)
                                 against the Debtors’ officers and directors, and (ii) all other
                                 prepetition tort claims, and the proceeds thereof (regardless of
                                 whether such proceeds arise from damages to the Prepetition
                                 Collateral);

                                 (ii)     Liens on Unencumbered Property. Pursuant to section
                                 364(c)(2) of the Bankruptcy Code, valid, binding, continuing,
                                 enforceable, non-avoidable automatically and fully perfected
                                 first priority liens on and security interests in all DIP Collateral
                                 that is not otherwise subject to any valid, enforceable, and non-
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                           avoidable liens on and security interests in the DIP Collateral that
                           (A) were perfected prior to the Petition Date (or perfected on or
                           after the Petition Date to the extent permitted by Section 546(b)
                           of the Bankruptcy Code), (B) are not subject to avoidance,
                           disallowance, or subordination pursuant to the Bankruptcy Code
                           or applicable non-bankruptcy law, and (C) are senior in priority
                           to the DIP Liens under applicable law and after giving effect to
                           any lien release, subordination or inter-creditor agreements,
                           including the Great Western Senior Liens (each a “Permitted
                           Prior Lien”); provided, however, that the DIP Liens shall have
                           priority over all Prepetition Citizens Liens; and

                           (iii) Liens Junior to Certain Other Liens. Pursuant to section
                           364(c)(3) of the Bankruptcy Code, valid, enforceable, non-
                           avoidable automatically and fully perfected junior liens on and
                           security interests in all DIP Collateral (other than as set forth in
                           clauses (i) and (ii)) subordinate only to the Permitted Prior Liens.

                           The DIP Obligations will constitute allowed senior
                           administrative expense claims against each Debtor and their
                           estates (the “DIP Superpriority Claims”) with priority in payment
                           over any and all administrative expenses at any time existing or
                           arising, of any kind or nature whatsoever, including, without
                           limitation, the kinds specified or ordered pursuant to any
                           provision of the Bankruptcy Code, including, but not limited to,
                           sections 105, 326, 328, 330, 331, 503(b), 506(c) (subject to the
                           entry of the Final Order with respect to section 506(c) only),
                           507(a), 507(b), 726, 1113 and 1114 of the Bankruptcy Code or
                           otherwise, including those resulting from the conversion of any
                           of the Chapter 11 Cases pursuant to section 1112 of the
                           Bankruptcy Code, whether or not such expenses or claims may
                           become secured by a judgment lien or other non-consensual lien,
                           levy or attachment; provided, however, that the DIP
                           Superpriority Claims shall be subject to and subordinate to only
                           the Carve-Out; provided, further that the DIP Superpriority
                           Claims shall have recourse to and be payable from all prepetition
                           and postpetition property and assets of the Debtors and the estates
                           and all DIP Collateral and all proceeds thereof, and (a) any and
                           all avoidance power claims or causes of action under sections
                           544, 545, 547, 548 through 551 and 553(b) of the Bankruptcy
                           Code (the “Avoidance Actions”) and the proceeds thereof, (b)
                           prepetition tort claims, including claims against the Debtors’
                           current and former directors and officers (if any) and the
                           proceeds thereof; and (c) any deposit in connection with a
                           proposed Sale (whether terminated or otherwise) that becomes
                           property of the Debtors’ estates (a “Sale Deposit”) subject,
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                                  however, only to the senior lien rights of a stalking horse
                                  purchaser and such stalking horse bid protections as may be
                                  approved by this Court.
   Adequate protection or         Citizens Bank, N.A. has consented to the priming liens and is to
   priority for prepetition       receive replacement liens in all assets junior only to the DIP
   claims                         Lender’s liens. In addition, Citizens Bank is to be granted
                                  superpriority claim status junior only to the DIP Lender’s
                                  superpriority claims. Other prepetition secured lenders are
                                  included in a list of “Permitted Prior Liens” as appropriate.
   Rollup                         Upon entry of the Interim Order, the outstanding Additional
                                  Term Loan Obligations shall be “rolled-up” into the DIP Facility.
   Determinations regarding       The Debtors’ stipulation that prepetition secured obligations
   prepetition claim or lien      owed to Citizens Bank and JMB constitute allowed, legal, valid,
                                  binding, enforceable and non-avoidable obligations of Debtors,
                                  subject to other parties in interests right to challenge.
   Waiver or modification         Modified as necessary to effectuate all terms, benefits, privileges,
   regarding automatic stay       remedies and provisions in the Interim Order and the DIP Loan
                                  Documents, without further notice or order of the Court.
   Waiver or modification of      N/A.
   any entity’s authority or
   right to file a plan,
   exclusivity, request the use
   of cash collateral or
   request authority to obtain
   credit
   Establishment of deadlines     N/A.
   for filing a plan, for
   approval of a disclosure
   statement, for a hearing on
   confirmation, or for entry
   of a confirmation order
   Waiver or modification of      Automatic perfection upon entry of the Interim Order and waiver
   the applicability of           of any claim, counterclaim, setoff or defense of any kind, nature
   nonbankruptcy            law   or description that would in any way affect the validity,
   relating to the perfection     enforceability and non-avoidability of any of the prepetition
   or enforcement of a lien       secured obligations. Waiver of the equitable doctrine of
                                  marshaling.

   Release,     waiver,    or N/A.
   limitation on any claim or
   other cause of action
   belonging to the estate or
   the trustee
   Indemnification            As detailed in paragraph 8 of the Interim Order, the Debtors are
                              requesting that they be authorized to hereby indemnify and hold

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                                harmless the DIP Lender and certain of its affiliates from
                                Indemnity Claims.
   Release,     waiver,    or   The waiver of rights to surcharge against the collateral for the
   limitation of any right      DIP Lender and Prepetition Secured Parties is being requested
   under § 506(c)               upon entry of the Final Order.
   Granting of a lien on any    Liens in all claims under sections 544, 545, 547, 548 through 551
   claim or cause of action     and 553(b) of the Bankruptcy Code.
   arising under §§ 544, 545,
   547, 548, 549, 553(b),
   723(a), or 724(a)
   DIP Carve-Out              As detailed in paragraph 14 of the Interim Order: (i) U.S. Trustee
                              fees; (ii) reasonable fees and expenses up to $15,000 incurred by
                              any Chapter 7 trustee; and (iii) subject to the terms of the
                              paragraph 14, (a) unpaid allowed estate professional fees limited
                              to the amount set forth in the Approved Budget incurred prior to
                              the delivery of the Carve-Out Trigger Notice, and (b) $100,000
                              for allowed estate professional fees incurred after the delivery of
                              the Carve-Out Trigger Notice (the “Carve-Out”).
   Continuing Effect of       The JMB Subordination Agreement in favor of JMB remains
   Prepetition Subordination binding on the parties thereto.
   Agreement
                         PREPETITION FINANCING FACILITIES

        14.    As of the Petition Date, the Debtors owe a total of approximately $43,400,000 in

  principal plus accrued interest on the Prepetition Secured Obligations (defined below).

        15.     Prior to the Petition Date, Citizens Bank, N.A. (formerly known as RBS Citizens,

  N.A.), as Administrative Agent (the “Prepetition Agent”) and as a lender (the “Prepetition

  Citizens Lenders”), and the other lenders party thereto, including JMB Capital Partners Lending,

  LLC (“Prepetition JMB Lender and together with the Prepetition Citizens Lenders, the

  “Prepetition Lenders”) made loans, advances and provided other financial accommodations to

  the Debtors pursuant to the terms and conditions set forth in: (a) that certain Credit Agreement

  dated as of May 15, 2014, as amended by the First Amendment to Credit Agreement dated as of

  September 1, 2016, and the Second Amendment to Credit Agreement dated as of October 23,

  2019 (as amended, supplemented or otherwise modified from time to time through the Petition

  Date, the “Prepetition Credit Agreement”), by and among Granite City Food & Brewery Ltd., as
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  a Borrower and as Borrower Representative, each of the other Borrowers party thereto, the other

  Loan Parties party thereto, the Prepetition Agent and the Prepetition Lenders; and (b) all other

  agreements, documents and instruments executed and/or delivered with, to, or in favor of

  Prepetition Agent or Prepetition Lenders, including, without limitation, the Subordination

  Agreement, all security agreements, notes, guarantees, mortgages, Uniform Commercial Code

  financing statements and all other related agreements, documents and instruments executed

  and/or delivered in connection therewith or related thereto (all of the foregoing, together with the

  Prepetition Credit Agreement, as all of the same have heretofore been amended, supplemented,

  modified, extended, renewed, restated and/or replaced at any time prior to the Petition Date,

  collectively, the “Prepetition Loan Documents”).

        16.     As of the Petition Date, the Debtors were indebted under the Prepetition Loan

  Documents: (a) to the Prepetition Agent and Prepetition Citizens Lenders (the “Citizens Secured

  Parties”) (i) in an aggregate outstanding principal amount of not less than $6,000,000 plus

  interest accrued and accruing thereon, together with all costs, fees, expenses (including attorneys’

  fees and legal expenses) and other charges accrued, accruing or chargeable with respect thereto

  (the “Prepetition Revolving Loan Obligations”), (ii) in an aggregate outstanding principal

  amount of not less than $29,000,000 plus interest accrued and accruing thereon, together with all

  costs, fees, expenses (including attorneys’ fees and legal expenses) and other charges accrued,

  accruing or chargeable with respect thereto in outstanding principal balance of a Term Loan (the

  “Prepetition Term Loan Obligations”), (iii) in an aggregate outstanding principal amount of not

  less than $5,000,000 plus interest accrued and accruing thereon, together with all costs, fees,

  expenses (including attorneys’ fees and legal expenses) and other charges accrued, accruing or

  chargeable with respect thereto (the “Prepetition Development Loan Obligations,” and together

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  with the Prepetition Revolving Loan Obligations and the Prepetition Term Loan Obligations, the

  “Prepetition Citizens Loan Obligations”), and (b) to the Prepetition Agent and Prepetition JMB

  Lender in an aggregate outstanding principal amount of not less than $1,500,000 plus interest

  accrued and accruing thereon, together with all costs, fees, expenses (including attorneys’ fees

  and legal expenses) and other charges accrued, accruing or chargeable with respect thereto (the

  “Prepetition Additional Term Loan Obligations” and together with the Prepetition Citizens Loan

  Obligations, the “Prepetition Secured Obligations”).       The Prepetition Secured Obligations

  constitute allowed, legal, valid, binding, enforceable and non-avoidable obligations of Debtors,

  and are not subject to any offset, defense, counterclaim, avoidance, recharacterization or

  subordination pursuant to the Bankruptcy Code or any other applicable law, and Debtors do not

  possess, shall not assert, hereby forever release, and are forever barred from bringing any claim,

  counterclaim, setoff or defense of any kind, nature or description which would in any way affect

  the validity, enforceability and non-avoidability of any of the Prepetition Secured Obligations.

        17.    As of the Petition Date, the Prepetition Secured Obligations were secured pursuant

  to the Prepetition Loan Documents by valid, perfected, enforceable and non-avoidable first-

  priority security interests and liens (the “Prepetition Citizens Liens”) granted by Debtors to

  Prepetition Agent, for the benefit of itself and the Prepetition Lenders under the Prepetition Loan

  Documents, in substantially all of the existing and after-acquired assets of the Debtors and the

  other Loan Parties as more fully set forth in the Prepetition Loan Documents (the “Prepetition

  Collateral”), and such security interest is perfected and has priority over all other security

  interests. The Debtors do not possess and will not assert any claim, counterclaim, setoff or

  defense of any kind, nature or description which would in any way affect the validity,




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  enforceability and non-avoidability of any of the Prepetition Agent or Prepetition Lenders’ liens,

  claims or security in the Prepetition Collateral.

        18.    Pursuant to the (a) Subordination and Intercreditor Agreement dated September 30,

  2015 (the “Great Western Intercreditor Agreement”) between the Debtors, Great Western Bank,

  a South Dakota banking corporation (“Great Western”) and the Prepetition Agent, the Prepetition

  Agent agreed to subordinate any lien of the Prepetition Agent to the prior existing liens of Great

  Western solely with respect to the real property and fixtures located at 1001 102nd Street,

  Omaha, Nebraska 68114 (the “Great Western Senior Liens”), and (b) Prepetition Credit

  Agreement and a Subordination Agreement dated as of October 23, 2019 (the “JMB

  Subordination Agreement”) between the Debtors, the Prepetition Citizens Lenders and the

  Prepetition JMB Lender, the parties agreed that the payment of the Prepetition Additional Term

  Loan Obligations to the Prepetition JMB Lender is senior in priority to payment of the Prepetition

  Citizens Loan Obligations to the Prepetition Citizens Lenders.

        19.    The Debtors and their estates have no claims, objections, challenges, causes of

  actions, counterclaims, and/or choses in action, including, without limitation, avoidance claims

  under Chapter 5 of the Bankruptcy Code, against any of the Prepetition Secured Parties or any

  of their respective affiliates, agents, attorneys, advisors, professionals, officers, directors or

  employees arising out of, based upon or related to the Prepetition Credit Documents.

        20.    All of the Debtors’ cash, including the cash in their deposit accounts, wherever

  located, whether as original collateral or proceeds of other Prepetition Collateral, constitute Cash

  Collateral and is Prepetition Collateral of the Prepetition Secured Parties.

        21.    By virtue of filing petitions for relief under title 11, the Debtors are in default under

  the Prepetition Loan Documents.

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                       DEBTORS’ NEED FOR ONGOING FINANCING
                           AND USE OF CASH COLLATERAL

        22.    The Debtors need access to the cash collateral (“Cash Collateral”) and debtor in

  possession financing (“DIP Financing”) to, among other things, (a) purchase goods from and

  make payments to vendors on a current basis post-petition; (b) continue to pay employees; and

  (c) pay ordinary operating expenses, such as rent, utilities, taxes and fees. The Debtors’ cash

  needs are set forth on the attached budget.

        23.     The Debtors have analyzed whether they could finance their operations during the

case using only the Cash Collateral. They have concluded that DIP Financing is necessary for a

number of reasons. First, the Debtors considered such factors as the uncertainty inherent in

estimating the timing of receipts and disbursements and the need for access to continued periodic

incremental liquidity during these cases in order to maintain the going concern value of these

estates. Second, the Debtors require support of their vendors and other suppliers in order to

replenish inventory and maintain ordinary course operations during the case. The availability of

DIP Financing sends a strong signal of support to such vendors and suppliers that the Debtors

will have adequate funding available to pay post-petition obligations. Third, the Debtors

considered extraordinary or one-time costs that have been or will be incurred in these cases

including costs incurred for professional fees for the Debtors, the Unsecured Creditors Committee

and secured creditors, insurance renewal costs, and to address the rights of third parties such as

utility companies to demand and receive deposits. In consideration of these factors, the Debtors

concluded that the risks associated with attempting to finance the operations with cash collateral

outweighed the benefits and certainty provided by the use of DIP financing. Accordingly, if

approved, the DIP Financing will preserve and enhance the value of the Debtors’ estates and, as

such, entry into the DIP Financing is a sound exercise of the Debtors’ business judgment.
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        24.    The Debtors were unable to obtain any alternative proposals for DIP Financing

  despite numerous inquiries.

        25.      Under the DIP Financing, the Debtors will pay 2.0% of the facility amount as a

Funding Fee, 1.0% as a Commitment Fee, 3.0% as an Exit Fee, and 10% as a Stated Maturity

Fee if the DIP Financing is not repaid by the Maturity Date. In addition, the Debtors will pay

$50,000.00 as a Work Fee for JMB’s attorney fees and due diligence expenses. The Fees are in

line with market rates and other DIP facilities approved in recent retail cases.

        26.      The Debtors, with the assistance of Duff & Phelps and their other advisors, have

determined that the proposal submitted by the DIP Lender is the only proposal available at this

time.

        27.      The Debtors and the DIP Lender negotiated the DIP Credit Agreement in a good

faith and arm’s length manner, with the advice of sophisticated counsel and advisors. The DIP

Credit Agreement represents the best and most favorable financing available to the Debtors

under the circumstances.

                                PROPOSED DIP FINANCING

        28.    Recognizing the Debtors’ need for financing, and in consultation with its advisors,

the Debtors negotiated with the DIP Lender regarding the terms of potential DIP financing. As the

result of good faith, arms-length negotiations, the DIP Lender has agreed to availability of up to

$5,000,000 of post-petition financing, $1,500,000 of which will be utilized to Roll-Up the

Additional Term Loan Obligations. The terms of the DIP Credit Agreement are summarized above.

        29.    Upon entry of the Interim Order and the occurrence of the Closing Date (as defined

in the DIP Loan Documents), without further action by the Debtor or any other party, all Additional

Term Loan Obligations held by the Prepetition JMB Lender shall be deemed to have been

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converted into DIP Obligations. The Roll-Up Loan as provided for under the DIP Facility and this

Interim Order is appropriate and the DIP Lender would not be willing to provide the DIP Facility

or extend credit to the Debtors thereunder without the inclusion of the Roll-Up Loan. The Roll-Up

Loan is subject to the challenge rights preserved in paragraph 16 of the Interim Order and will not

prejudice any other party in interest.

         30.   As a condition to entry into the DIP Credit Agreement, the extensions of credit

under the DIP Facility and the authorization to use Cash Collateral, the DIP Lender requires, and

the Debtors have agreed, that proceeds of the DIP Facility shall be used in a manner consistent

with the terms and conditions of the DIP Loan Documents and the Interim Order and in accordance

with the Approved Budget, solely for (i) post-petition capital expenditures, operating expenses and

other working capital, (ii) certain transaction fees and expenses, (iii) permitted payment of costs

of administration of the Cases, including professional fees, (iv) adequate protection payments to

the Prepetition Secured Parties as set forth herein, and (v) as otherwise permitted under the DIP

Loan Documents, as applicable.

         31.   As a condition to entry into the DIP Loan Documents, the extension of credit under

the DIP Facility, and the authorization to use Cash Collateral, the Debtors and the DIP Lender

have agreed that the proceeds of DIP Collateral (as defined in the Interim Order) shall be applied

in accordance with paragraph 18 of the Interim Order. The extension of the DIP Facility and the

repayment of the Prepetition Additional Term Loan Obligations are part of an integrated

transaction. Such payments will not prejudice the Debtors or their estates, because payment of

such amounts is subject to the rights of parties in interest under paragraphs 14 and 15 of the Interim

Order.




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                                  ADEQUATE PROTECTION

        32.    As a result of the granting of the DIP Liens, the incurrence of the DIP Obligations,

the subordination of the Prepetition Citizens Liens to the DIP Carve-Out, the use of Cash

Collateral, and the imposition of the automatic stay, the Prepetition Secured Parties are entitled to

receive adequate protection pursuant to Sections 361, 362, 363 and 364 of the Bankruptcy Code

and as set forth in paragraphs 12 and 13 of the Interim Order.

        33.    As adequate protection, the Debtors propose that the holders of the Prepetition

secured Obligations shall receive, subject to the Intercreditor Agreement, among other things, (i)

the Adequate Protection Liens (as defined in the DIP Orders) to secure the Prepetition Secured

Obligations and Adequate Protection Superpriority Claims (as defined in the DIP Orders) with

respect to the Prepetition Secured Obligations; (ii) certain rights in connection with the sale of the

Debtors’ assets; (iii) access to information; and (iv) superpriority claims to the extent that the

Adequate Protection Liens do not adequately protect against any Diminution in Value of the

Prepetition Secured Parties’ respective interests in the Prepetition Collateral.

                                             NOTICES

        34.    Prior to the hearing on the Motion for a final order authorizing use of cash, and in

settlement of any and all matters raised in this Motion, the Debtors may enter into a stipulation or

agreed order with parties claiming a security interest in cash collateral assets of the Debtors

concerning the use of cash collateral, adequate protection and other related matters. In the event

that the Debtors enter into any such stipulation, they will seek approval of the stipulation without

further notice or hearing pursuant to Rule 4001(d)(4) of the Federal Rules of Bankruptcy

Procedure, and DEBTORS HEREBY GIVE NOTICE OF THEIR INTENTION TO SEEK

APPROVAL OF ANY SUCH STIPULATION.

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        35.      Pursuant to Local Rule 9013-2(a), this Motion is accompanied by a

memorandum of law, proposed order, and proof of service.

        36.     No prior request for the relief sought in this Motion has been made by the Debtors

to this or any other court.

        37.     Pursuant to Local Rule 9013-2(c), the Debtors give notice that they may, if

necessary, call Richard H. Lynch, Chief Executive Officer of Debtors to testify on behalf of the

Debtors about the factual matters raised in this Motion.

        WHEREFORE, the Debtors request that the Court (a) enter an interim order (the “Interim

Order”) substantially in the form attached hereto as Exhibit C, and the final order granting the

relief requested herein and (b) grant such other and further relief as is just and proper.


                                                       BRIGGS AND MORGAN, P.A.

                                                          /e/ James M. Jorissen
 Dated: December 17, 2019                              By: _________________________
                                                       James M. Jorissen, #262833
                                                       Karl J. Johnson, #391211
                                                       2200 IDS Center
                                                       80 South Eighth Street
                                                       Minneapolis, MN 55402
                                                       Telephone: 612-977-8400
                                                       Facsimile: 612-977-8650
                                                       jjorissen@briggs.com
                                                       kjohnson@briggs.com

                                                       PROPOSED COUNSEL FOR THE
                                                       DEBTORS




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                     EXHIBIT A
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          SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION
                     LOAN AND SECURITY AGREEMENT

                                   by and among

                     the Borrowers and Guarantors party hereto

                                        and

                        JMB Capital Partners Lending, LLC
                                    as Lender


                            Dated as of December __, 2019




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          SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION
                     LOAN AND SECURITY AGREEMENT

         THIS SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION LOAN
AND SECURITY AGREEMENT (this “Agreement”), is entered into as of December __, 2019
(the “Effective Date”), by and among the borrowers signatory hereto (collectively, the
“Borrowers”), the guarantors signatory hereto (collectively, the “Guarantors” and together with
the Borrowers, the “Loan Parties”), and JMB Capital Partners Lending, LLC, a California limited
liability company, as lender (together with its successors and assigns, the “Lender”).

       WHEREAS, on December 16, 2019 (the “Petition Date”), the Borrowers commenced
voluntary bankruptcy proceedings, under Chapter 11 of the Title 11 of the United States Code (the
“Bankruptcy Code”), in the United States Bankruptcy Court for the District of Minnesota (the
“Bankruptcy Court”), which cases are subject to pending motions for joint administration under
the lead case filed by Granite City Food & Brewery, Ltd., Case No. ___________ (each, a
“Chapter 11 Case” and collectively, the “Chapter 11 Cases”).

       WHEREAS, the Borrowers remain in possession of their businesses and manage their
properties as debtors and debtors-in-possession pursuant to Sections 1107(a) and 1108 of the
Bankruptcy Code;

         WHEREAS, the Guarantors have not filed petitions under the Bankruptcy Code with the
Bankruptcy Court because the Loan Parties have represented that the Guarantors have no assets or
no material assets, but the Guarantors are party hereto because they are borrowers or have
guaranteed the obligations under the Prepetition Credit Agreement and have granted Liens on their
assets, if any, to secure such indebtedness;

        WHEREAS, prior to the Petition Date, the Lender provided financing to the Borrowers
pursuant to that certain Credit Agreement dated as of May 15, 2014, as amended by the First
Amendment to Credit Agreement dated as of September 1, 2016, and the Second Amendment to
Credit Agreement dated as of October 23, 2019 (as amended, supplemented or otherwise modified
from time to time through the Petition Date, the “Prepetition Credit Agreement”), by and among
Granite City Food & Brewery Ltd., as a Borrower and as Borrower Representative, each of the
other borrowers and guarantors party thereto, Citizens Bank, N. A. (formerly known as RBS
Citizens, N.A.), as Administrative Agent and as a lender (“Citizens Bank”), and the other lenders
party thereto, including the Lender (Citizens Bank and such other lenders, the “Prior Lenders”);

        WHEREAS, as of the close of business on ______, 2019, the Prior Lenders under the
Prepetition Credit Agreement were owed: (i) $6,000,000 in outstanding principal balance of a
Revolving Loan (which was converted to a term loan) (the “Prepetition Revolving Loan”), (ii)
$29,000,000 in outstanding principal balance of a Term Loan (the “Prepetition Term Loan”), (iii)
$5,000,000 in outstanding principal balance of a Development Loan (the “Prepetition
Development Loan,” and together with the Prepetition Revolving Loan and the Prepetition Term
Loan, the “Prepetition Citizens Loans,” each of which was funded by Citizens Bank), and (iv)
$1,500,000 in outstanding principal balance of an Additional Term Loan, which was funded by
the Lender (the “Prepetition Additional Term Loan”);
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        WHEREAS, the Obligations under and as defined in the Prepetition Credit Agreement,
including the Obligations in respect of the Prepetition Additional Term Loan, are secured by a
security interest in substantially all of the existing and after-acquired assets of the Borrowers and
the other Borrowers (as defined in the Prepetition Credit Agreement) as more fully set forth in the
Prepetition Loan Documents, and such security interest is perfected and, with certain exceptions,
as described in the Prepetition Loan Documents, has priority over other security interests;

       WHEREAS, pursuant to the Prepetition Credit Agreement and a Subordination
Agreement dated as of October 23, 2019 between the Loan Parties, Citizens Bank and the Lender,
payment of the Prepetition Additional Term Loan to the Lender is senior in priority to payment of
the Prepetition Citizens Loans to Citizens Bank;

        WHEREAS, the Loan Parties have requested that Lender provide financing to Borrowers
consisting of a senior secured super priority term loan in a principal amount of up to Five Million
Dollars ($5,000,000) (the “Facility”) pursuant to Sections 105, 363, 364(c) and 364(d) of the
Bankruptcy Code;

       WHEREAS, Lender has indicated its willingness to agree to extend the Facility to
Borrowers, all on terms and conditions set forth herein and in the other Loan Documents and in
accordance with Sections 105, 363, 364(c) and 364(d) of the Bankruptcy Code, so long as the
Obligations are (i) secured by priming Liens on the Collateral granted by the Loan Parties as
hereinafter provided, and (ii) given superpriority status as provided in the Interim Order and Final
Order as applicable;

         WHEREAS, the Loan Parties have agreed to grant to the Lender a priming security interest
in all their assets as Collateral, and the Borrowers have further agreed that the Lender shall have
Superpriority Claims in their Chapter 11 Cases for the repayment of the Obligations pursuant to
the Interim Order and the Final Order, subject to the approval of the Bankruptcy Court; and

        WHEREAS, the Loan Parties have agreed that the Prepetition Additional Term Loan will
be rolled up into the Facility by conversion into Obligations under this Agreement (the “Roll up
Loan”) as more fully set forth in the Interim Order.

      NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements contained herein, the parties hereto hereby agree as follows:

1.       DEFINITIONS AND CONSTRUCTION.

         1.1    Definitions

. As used in this Agreement, the following terms shall having the meanings specified below:

         “Acceptable Plan” means a plan of reorganization or liquidation for the Chapter 11 Cases
that (i) provides for the indefeasible payment in full in cash of the Obligations, in exchange for
full discharge thereof, on or prior to the effective date of the plan as a condition to the effectiveness
thereof, and (ii) contains releases, exculpations, waivers and indemnification for the Lender in
form and substance acceptable to the Lender in its reasonable discretion.




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       “Additional Documents” has the meaning specified in Section 5.13.

       “Advances” has the meaning specified in Section 2.1(a).

         “Affiliate” means, as to any Person, any other Person (a) that, directly or indirectly through
one or more intermediaries, controls, is controlled by, or is under common control with, such
Person, (b) who is a director or officer (i) of such Person, (ii) of any Subsidiary of such Person, or
(iii) of any Person described in clause (a) above with respect to such Person, or (c) which, directly
or indirectly through one or more intermediaries, is the beneficial or record owner (as defined in
Rule 13d-3 of the Securities Exchange Act of 1934, as amended, as the same is in effect on the
date hereof) of twenty-four percent (24%) or more of any class of the outstanding voting equity
interests, securities or other equity or ownership interests of such Person. For purposes of this
definition, the term “control” (and the correlative terms, “controlled by” and “under common
control with”) shall mean the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies, whether through ownership of securities or other interests,
by contract or otherwise.

       “Authorized Person” means any one of the individuals identified on Schedule A-2, as such
schedule is updated from time to time by written notice from Loan Parties to Lender.

       “Avoidance Actions” has the meaning specified in Section 9.1(a)(i).

       “Avoidance Action Proceeds” means the proceeds and recoveries from Avoidance Actions.

       “Bankruptcy Code” has the meaning specified in the recitals hereto.

       “Bankruptcy Court” has the meaning specified in the recitals hereto.

       “Borrowers” has the meaning set forth in the preamble to this Agreement.

        “Budget” means an initial budget, prepared by Borrowers, that sets forth in reasonable
detail all of the Borrowers’ projected receipts and disbursements on a weekly basis, separated into
line items for each category of receipt or disbursement, and is otherwise in form and substance
reasonably acceptable to Lender, and is attached hereto as Exhibit B.

        “Business Day” means any day that is not a Saturday, Sunday, or other day on which banks
are authorized or required to close in the State of New York.

        “Capital Expenditures” means, with respect to any Person for any period, the aggregate of
all expenditures by such Person during such period that are capital expenditures as determined in
accordance with GAAP, whether such expenditures are paid in cash or financed.

       “Capital Lease” means a lease that is required to be capitalized for financial reporting
purposes in accordance with GAAP.

       “Carve-Out” has the meaning ascribed to it in the Interim Order and Final Order, as
applicable.




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       “Cash Collateral” has the meaning ascribed to it in the Interim Order and Final Order, as
applicable.

        “Change of Control” means, except with respect to the consummation of a Sale (whether
under a plan of reorganization or under Section 363 of the Bankruptcy Code), or as otherwise
approved by Lender, the acquisition, through purchase or otherwise (including the agreement to
act in concert without anything more), by any Person or group (as such term is used in Section
13(d)(3) of the Securities Exchange Act of 1934, as amended), after the date of this Agreement, of
(i) the beneficial ownership, directly or indirectly, of 50% or more of the equity interests in any
Loan Party or (ii) all or substantially all of the assets of such Loan Party, except as permitted in
this Agreement.

       “Chapter 11 Cases” has the meaning specified in the recitals hereto.

        “Chapter 11 Plan” means a chapter 11 plan that provides for, inter alia, payment in full in
cash of all Obligations on the effective date thereof, together with releases, exculpations, waivers
and indemnification to the extent acceptable to Lender, in its reasonable discretion.

       “Citizens Bank” has the meaning specified in the recitals hereto.

       “Closing Date” means the date upon which the first Advance is made under Section 2.1.

        “Collateral” means, collectively, all pre-petition and post-petition real property and all pre-
petition and post-petition tangible and intangible personal property of each Loan Party, in each
case wherever located and whether now owned or hereafter acquired, including, but not limited to
all accounts, contracts rights, chattel paper, cash, general intangibles, investment property,
machinery, equipment, goods, inventory, furniture, fixtures, letter of credit rights, books and
records, deposit accounts, documents, instruments, commercial tort claims, leases and leaseholds
and rents, avoidance actions under Section 549 of the Bankruptcy Code and related recoveries
under Section 550 of the Bankruptcy Code, together with all proceeds of each of the foregoing,
including insurance proceeds (as each such term above is defined in the UCC, to the extent
applicable), and, subject to Final Order, including the proceeds and recoveries from Avoidance
Actions.

       “Commitment” means Five Million Dollars ($5,000,000).

        “Commitment Fee” means the fee of 1.00% of the amount of the Facility (less the amount
of the Prepetition Additional Term Loan), which fee shall be earned and payable upon entry of the
Interim Order and which shall be paid to the Lender on the Closing Date from the proceeds of the
first Advance of the Facility.

        “Compliance Certificate” means a certificate substantially in the form of Exhibit A
delivered by the Authorized Person of Borrowers to Lender.

         “Control Agreement” means, with respect to each Deposit Account of a Borrower, an
agreement in form and substance reasonably satisfactory to the Lender and the depository
institution maintaining such Deposit Account, pursuant to which such depository institution agrees
to comply with the Lender’s instructions with respect to disposition of funds in such Deposit


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Account without further consent by the relevant Borrower.

      “Daily Balance” means, as of any date of determination and with respect to any fixed
monetary Obligations, the amount of such Obligations owed at the end of such day.

        “Default” means an event, condition, or default that, with the giving of notice, the passage
of time, or both, would be an Event of Default.

       “Default Rate” has the meaning specified in Section 2.4(b).

       “Deposit Account” means any deposit account, as that term is defined in the UCC.

      “Designated Account” means the Deposit Account of Borrowers identified on
Schedule D-1.

       “Designated Account Bank” has the meaning specified in Schedule D-1.

       “Dollars” or “$” means United States dollars.

         “Environmental Action” means any written complaint, summons, citation, notice,
directive, order, claim, litigation, investigation, judicial or administrative proceeding, judgment,
letter, or other written communication from any Governmental Authority, or any third party
involving violations of Environmental Laws or releases of Hazardous Materials (a) from any
Collateral; (b) from adjoining properties or businesses of any real property that constitutes
Collateral, or (c) from or onto any facilities, with respect to the Collateral, which received
Hazardous Materials generated by any Loan Party.

        “Environmental Law” means any applicable federal, state, provincial, foreign or local
statute, law, rule, regulation, ordinance, code, binding and enforceable guideline, binding and
enforceable written policy, or rule of common law now or hereafter in effect and in each case as
amended, or any judicial or administrative interpretation thereof, including any judicial or
administrative order, consent decree or judgment, in each case, to the extent binding on the
Borrowers, relating to the environment, the effect of the environment on employee health, or
Hazardous Materials, in each case as amended from time to time.

        “Environmental Liabilities” means all liabilities, monetary obligations, losses, damages,
costs and expenses (including all reasonable fees, disbursements and expenses of counsel, experts,
or consultants, and costs of investigation and feasibility studies), fines, penalties, sanctions, and
interest incurred as a result of any claim or demand, or Remedial Action required, by any
Governmental Authority or any third party, and which relate to any Environmental Action.

       “Environmental Lien” means any Lien in favor of any Governmental Authority for
Environmental Liabilities.

       “Event of Default” has the meaning specified in Section 8.1.

       “Existing Prepetition Liens” has the meaning specified in Section 4.4.




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       “Exit Fee” means the fee of 3.00%, as applicable (i) of any outstanding principal amount
hereunder that is prepaid pursuant to Section 2.3(c) or (d), or (ii) without duplication of any
amounts paid pursuant to clause (i), of the amount of the Commitment on the Maturity Date, in
each case to be paid in cash and without further order of the Bankruptcy Court.

       “Facility” has the meaning specified in the recitals to this Agreement.

       “Fees” means all fees due to the Lender under this Agreement, any Loan Document or the
Interim Order or Final Order, as applicable, including the Commitment Fee, the Exit Fee, the
Funding Fee, the Stated Maturity Date Fee and the Work Fee.

        “Final Order” means a final order of the Bankruptcy Court authorizing and approving the
Borrowers’ entry into this Agreement and the other Loan Documents, in form and substance
satisfactory to Lender, in its sole discretion, Borrowers, and their respective counsel, on a final
basis and entered following a final hearing.

       “Funding Fee” means, with respect to each Advance, 2.00% of such Advance, payable in
cash upon funding of such Advance by the Lender; provided that in no event shall the Funding Fee
be imposed with respect to the amount previously funded in connection with the Prepetition
Additional Term Loan.

       “GCFB” means Granite City Food & Brewery Ltd., a Minnesota corporation.

       “Governmental Authority” means any federal, state, local, or other governmental or
administrative body, instrumentality, board, department, or agency or any court, tribunal,
administrative hearing body, arbitration panel, commission, or other similar dispute-resolving
panel or body.

       “Guaranteed Obligations” has the meaning specified in Section 7.1.

       “Guaranty” means the terms and provisions of Section 7.

         “Hazardous Materials” means (a) substances that are defined or listed in, or otherwise
classified pursuant to, any applicable laws or regulations as “hazardous substances,” “hazardous
materials,” “hazardous wastes,” “toxic substances,” or any other formulation intended to define,
list, or classify substances by reason of deleterious properties such as ignitability, corrosivity,
reactivity, carcinogenicity, reproductive toxicity, or “EP toxicity”, (b) oil, petroleum, or petroleum
derived substances, natural gas, natural gas liquids, synthetic gas, drilling fluids, produced waters,
and other wastes associated with the exploration, development, or production of crude oil, natural
gas, or geothermal resources, (c) any flammable substances or explosives or any radioactive
materials, and (d) asbestos in any form or electrical equipment that contains any oil or dielectric
fluid containing levels of polychlorinated biphenyls in excess of 50 parts per million.

        “Indebtedness” means (a) all obligations for borrowed money, including, without
limitation, the Obligations, (b) all obligations evidenced by bonds, debentures, notes, or other
similar instruments and all reimbursement or other obligations in respect of letters of credit,
bankers acceptances, or other financial products, (c) all obligations as a lessee under Capital
Leases, (d) all obligations or liabilities of others secured by a Lien on any asset of such Person,


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irrespective of whether such obligation or liability is assumed, (e) all payment obligations to pay
the deferred purchase price of assets (other than trade payables incurred in the ordinary course of
business and repayable in accordance with customary trade practices), (f) all indebtedness created
or arising under any conditional sale or other title retention agreement, or incurred as financing, in
either case with respect to property acquired by such Person, (g) the principal balance outstanding
under any synthetic lease, off-balance sheet loan or similar off balance sheet financing products,
or (h) any obligation guaranteeing or intended to guarantee (whether directly or indirectly
guaranteed, endorsed, co-made, discounted, or sold with recourse) any obligation of any other
Person that constitutes Indebtedness under any of clauses (a) through (h) above. For purposes of
this definition, (i) the amount of any Indebtedness represented by a guaranty or other similar
instrument shall be the lesser of the principal amount of the obligations guaranteed and still
outstanding and the maximum amount for which the guaranteeing Person may be liable pursuant
to the terms of the instrument embodying such Indebtedness, and (ii) the amount of any
Indebtedness described in clause (d) above shall be the lower of the amount of the obligation and
the fair market value of the assets of such Person securing such obligation.

       “Indemnified Liabilities” has the meaning specified in Section 10.3.

       “Indemnified Person” has the meaning specified in Section 10.3.

       “Interim Funding” means an Advance in the principal amount of $4,000,000 (inclusive of
the Roll up Loan) to be funded upon entry of the Interim Order.

       “Interim Order” means that interim order entered by the Bankruptcy Court authorizing and
approving the Borrowers’ entry into this Agreement and the other Loan Documents, in form and
substance satisfactory to the Lender, in its sole discretion, the Borrowers, and their respective
counsel.

       “IRC” means the Internal Revenue Code of 1986, as in effect from time to time.

       “KRG Granite Sale” means the sale to KRG Granite Acquisition, LLC of the Acquired
Assets and assumption of the Assumed Liabilities pursuant to (and as such terms are defined in)
the Purchase Agreement.

       “Lead Borrower” means GCFB.

       “Lender” has the meaning set forth in the preamble to this Agreement.

        “Lender Expenses” means all (a) costs or expenses (including taxes and insurance
premiums) required to be paid by the Borrowers under any of the Loan Documents that are paid,
advanced, or incurred by Lender, including but not limited to the Work Fee paid to Lender’s
counsel, (b) reasonable out-of-pocket fees or charges paid or incurred by Lender in connection
with its transactions with the Borrowers under any of the Loan Documents, including, but not
limited to, fees or charges for photocopying, notarization, couriers and messengers,
telecommunication, public record searches (including tax lien, litigation, and UCC searches and
including searches with the patent and trademark office, the copyright office, or the department of
motor vehicles), filing, recording, publication, appraisal (including periodic collateral appraisals
or business valuations), real estate surveys, real estate title policies and endorsements, and


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environmental audits, (c) out-of-pocket costs and expenses incurred by Lender in the disbursement
of funds to Borrowers (by wire transfer or otherwise), (d) out-of-pocket charges paid or incurred
by Lender resulting from the dishonor of checks payable by or to any Loan Party, (e) out-of-pocket
costs, fees (including reasonable attorneys’ fees) and expenses paid or incurred by Lender to
correct any default or enforce any provision of the Loan Documents, or during the continuance of
an Event of Default, in gaining possession of, maintaining, handling, preserving, storing, shipping,
selling, preparing for sale, or advertising to sell the Collateral, or any portion thereof, irrespective
of whether a sale is consummated, (f) reasonable out-of-pocket audit fees and expenses of Lender
(including travel, meals, and lodging) related to any inspections or audits, (g) out-of-pocket costs
and expenses of third party claims or any other suit paid or incurred by Lender in enforcing or
defending the Loan Documents or in connection with the transactions contemplated by the Loan
Documents or Lender’s relationship with the Borrowers, (h) Lender’s reasonable out-of-pocket
costs and expenses (including reasonable attorneys’ fees) incurred in advising, structuring,
drafting, reviewing, administering (including travel, meals, and lodging), or amending the Loan
Documents, (i) reasonable out-of-pocket fees and expenses of Lender (including travel, meals, and
lodging) related to any due diligence in connection with the Facility or meetings with Borrowers
in connection with the Facility, and (j) Lender’s costs and expenses (including reasonable
attorneys, accountants, consultants, and other advisors fees and expenses) incurred in terminating,
enforcing (including attorneys, accountants, consultants, and other advisors fees and expenses
incurred in connection with a “workout,” a “restructuring,” or an insolvency proceeding
concerning any Loan Party or in exercising rights or remedies under the Loan Documents), or
defending the Loan Documents, irrespective of whether suit is brought, or in taking any Remedial
Action concerning the Collateral.

        “Lender Related Person” means Lender, together with Lender’s Affiliates, officers,
directors, employees, attorneys, and agents.

       “Lender’s Liens” means the Liens granted by Borrowers in and to the Collateral in favor
of Lender.

        “Lien” means any pledge, hypothecation, assignment (which is intended as security),
charge, deposit arrangement (which is intended as security), encumbrance, easement, lien
(statutory or other), mortgage, security interest, or other security arrangement and any other
preference, priority, or preferential arrangement of any kind or nature whatsoever (which is
intended as security), including any conditional sale contract or other title retention agreement, the
interest of a lessor under a Capital Lease, and any synthetic or other financing lease having
substantially the same economic effect as any of the foregoing.

       “Loan Account” means the Deposit Account of Lender identified on Schedule A-1.

        “Loan Documents” means this Agreement, the Interim Order, the Final Order, the Control
Agreements, the Additional Documents and any other notes, account control agreements, or
mortgages executed by Borrowers in connection with the Agreement and payable to Lender, any
other agreement entered into, now or in the future, by the Borrowers or Lender in connection with
this Agreement, and all amendments, modifications, renewals, substitutions and replacements of
any of the foregoing.




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         “Material Adverse Change” means, (a) except as a result of the commencement of the
Chapter 11 Cases, a material adverse change in the business, operations, results of operations,
assets, liabilities or financial condition of the Loan Parties, (b) a material impairment of any Loan
Party’s ability to perform its material obligations under any Loan Document to which it is a party,
or of Lender’s ability to enforce the Obligations or realize upon the Collateral or (c) a material
impairment of the enforceability or priority of Lender’s Liens with respect to the Collateral, or the
priority of such Liens, all determined at the Lender’s reasonable discretion.

       “Material Contract” means each contract or agreement as to which the breach,
nonperformance, cancellation, termination, loss, expiration or failure to renew by any party thereto
could reasonably be expected to result in a Material Adverse Change.

        “Maturity Date” means the earliest of (i) the Stated Maturity Date; (ii) the effective date of
a plan of reorganization; (iii) if the Final Order has not been entered by the Bankruptcy Court, the
date that is one day after the Final Hearing (as defined in the Interim Order) and all continuations
thereof; (iv) entry of an order converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code or dismissing the Chapter 11 Cases; (v) the closing of a Sale of all, or
substantially all, the assets of all Borrowers; (vi) the closing of the KRG Granite Sale; and (vii)
the acceleration of the outstanding Obligations or termination of the Commitment as a result of
the occurrence and continuation of an Event of Default.

         “Net Cash Proceeds” means with respect to any sale or disposition of Collateral by any
Person, the amount of cash proceeds received (directly or indirectly) from time to time (whether
as initial consideration or through the payment of deferred consideration) by or on behalf of such
Person, in connection therewith, after deducting therefrom only (i) reasonable (as determined by
the Lender) fees, commissions, and expenses related thereto and required to be paid in connection
with such sale or disposition and (ii) taxes paid or payable to any taxing authorities in connection
with such sale or disposition, in each case to the extent, but only to the extent, that the amounts so
deducted are payable to a Person that is not a Borrower or an Affiliate of a Borrower, and are
properly attributable to such transaction; provided however for the avoidance of doubt, that such
reasonable fees, commissions and expenses shall exclude fees and expenses of estate professionals.

         “Obligations” means all loans (including without limitation the Roll up Loan), Advances,
debts, principal, interest, contingent reimbursement or indemnification obligations, premiums,
liabilities (including all amounts charged to the Loan Account pursuant to this Agreement),
obligations (including indemnification obligations), Fees (including, without limitation the
Commitment Fee, Work Fee, Funding Fee, Exit Fee and Stated Maturity Date Fee), Lender
Expenses, guaranties, covenants, and duties of any kind and description owing by any Loan Party,
to the Lender pursuant to or evidenced by the Loan Documents and/or pursuant to or in connection
with any one or more documents, instruments or agreements described in clause (i) of the definition
of Lender Expenses and, in each case, irrespective of whether for the payment of money, whether
direct or indirect, absolute or contingent, due or to become due, now existing or hereafter arising,
and including all interest not paid when due and all other expenses or other amounts that Borrowers
are required to pay or reimburse by the Loan Documents or by law or otherwise in connection with
the Loan Documents, including without limitation in connection with the collection or enforcement
of or preservation of rights under the Loan Documents.




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       “Ordinary Course” shall mean, in respect of any Person, the ordinary course and reasonable
requirements of such Person’s business, as conducted in accordance with past practices, and
undertaken in good faith.

        “Organizational Documents” means (a) for any corporation, the certificate or articles of
incorporation, the bylaws, any certificate of designation or other instrument relating to the rights
of preferred shareholders or stockholders of such corporation, any shareholder rights agreement
and all applicable resolutions of the board of directors (or any committee thereof) of such
corporation, (b) for any partnership, the partnership agreement and, if applicable, the certificate of
limited partnership, (c) for any limited liability company, the operating agreement and articles or
certificate of formation or organization and all applicable resolutions of any managing member of
such limited liability company, and (d) any agreement between any Loan Party and its
shareholders, members, partners or its equity owners, or among any of the foregoing.

       “Permits” means any license, lease, power, permit, franchise, certificate, authorization or
approval issued by a Governmental Authority.

       “Permitted Indebtedness” means:

               (a)     Indebtedness evidenced by this Agreement and the other Loan Documents;

               (b)     Indebtedness outstanding as of the Petition Date;

              (c)     Indebtedness, including any unsecured guarantees, incurred in the Ordinary
       Course with respect to surety and appeal bonds, performance bonds, bid bonds, appeal
       bonds, statutory bonds, completion guarantees and similar obligations; and

              (d)    Indebtedness for purchase money obligations incurred after the Petition
       Date for equipment used in the ordinary course of the Borrowers’ business in an aggregate
       principal amount not to exceed at any time $150,000.

        “Permitted Liens” means all Permitted Prior Liens, the Liens described on Schedule 4.4,
and all other Liens permitted pursuant to Section 4.4.

       “Permitted Prior Lien” has the meaning specified in Section 9.2(b).

        “Permitted Protest” means the right of any Loan Party to protest any Lien (other than any
Lien that secures the Obligations), taxes (other than payroll taxes or taxes that are the subject of a
United States federal tax lien), or rental payment, provided that (a) a reserve with respect to such
obligation is established on such Loan Party’s books and records in such amount as is required
under GAAP, (b) any such protest is instituted promptly and prosecuted diligently by such Loan
Party in good faith and (c) Lender is reasonably satisfied that, while any such protest is pending,
there will be no impairment of the enforceability, validity, or priority of any of Lender’s Liens.

       “Permitted Variance” means a variance of net cash flow on the Budget of no more than
10%, which variance shall be tested on a four week cumulative basis, as opposed to a line-by-line,
basis; provided that, (a) for the avoidance of doubt, the calculation of any aforementioned
Permitted Variance includes any disbursements in connection with estate professional fees, and



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(b) due to uncertainty related to the timing of cure costs, cure costs shall not be considered when
calculating variance from the Budget.

       “Person” means natural persons, corporations, limited liability companies, limited
partnerships, general partnerships, limited liability partnerships, joint ventures, trusts, land trusts,
business trusts, or other organizations, irrespective of whether they are legal entities, and
governments and agencies and political subdivisions thereof.

        “Petition Date” means on or about December 16, 2019.

        “Prepetition Credit Agreement” has the meaning specified in the recitals hereto.

       “Prepetition Credit Liens” has the meaning given to such term in the Interim Order and
upon entry thereof, the Final Order.

       “Prepetition Loan Documents” means the Loan Documents as defined in the Prepetition
Credit Agreement.

        “Prior Lenders” has the meaning specified in the recitals hereto.

       “Promissory Note” shall mean the promissory note, in form and substance satisfactory to
Lender, to be given by the Borrowers to the Lender to evidence the Advances.

       “Purchase Agreement” means that certain asset purchase agreement, dated as of December
16, 2019, by and among Lead Borrower, certain subsidiaries thereof, and KRG Granite
Acquisition, LLC.

        “Record” means information that is inscribed on a tangible medium or that is stored in an
electronic or other medium and is retrievable in perceivable form.

        “Remedial Action” means all actions taken to (a) clean up, remove, remediate, contain,
treat, monitor, assess, evaluate, or in any way address Hazardous Materials in the indoor or outdoor
environment, (b) prevent or minimize a release or threatened release of Hazardous Materials so
they do not migrate or endanger or threaten to endanger public health or welfare or the indoor or
outdoor environment, (c) restore or reclaim natural resources or the environment, (d) perform any
pre-remedial studies, investigations, or post-remedial operation and maintenance activities, or
(e) conduct any other actions with respect to Hazardous Materials required by Environmental
Laws.

        “Required Lien Priority” has the meaning set forth in Section 9.2.

        “Roll up Loan” has the meaning specified in the recitals hereto.

       “Sale” means the sale of all or substantially all of the assets of any Borrower or any
Subsidiary thereof (including any Collateral transferred to another Borrower), to any party,
including the Lender, pursuant to the provisions of Section 363 of the Bankruptcy Code or
pursuant to an Acceptable Plan.




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       “Sale Deposit” has the meaning specified in Section 9.1(a)(i).

       “Schedules” means those certain schedules annexed hereto and made a part hereof.

       “Security Documents” means (i) all UCC financing statements, or amendments or
continuations thereof, and (ii) any other documents or filings in connection with the perfection of
the Liens hereunder.

       “Site Lease” means a lease pursuant to which each restaurant location operated by a Loan
Party or a Subsidiary of a Loan Party has been leased to such Person.

       “Stated Maturity Date” means March 31, 2020.

        “Stated Maturity Date Fee” means the fee of 10.00% of the Facility, which shall be due
and payable in cash, without further order of the Bankruptcy Court, immediately upon the day
following the Stated Maturity Date in the event that the Obligations are not indefeasibly paid in
full on the Stated Maturity Date.

         “Subsidiary” means, with respect to any Person, any corporation, partnership, limited
liability company, association or other business entity of which more than fifty percent (50%) of
the total voting power of shares of stock (or equivalent ownership or controlling interest) entitled
(without regard to the occurrence of any contingency) to vote in the election of directors, managers,
governors or trustees thereof is at the time owned or controlled, directly or indirectly, by that
Person or one or more of the other Subsidiaries of that Person or a combination thereof.

       “Superpriority Claim” has the meaning specified in Section 9.1(a)(i).

        “UCC” means the Uniform Commercial Code as in effect in the State of New York;
provided that, if perfection or the effect of perfection or non-perfection or the priority of any
security interest in any Collateral is governed by the Uniform Commercial Code as in effect in a
jurisdiction other than the State of New York, “UCC” means the Uniform Commercial Code as in
effect from time to time in such other jurisdiction for purposes of the provisions hereof relating to
such perfection, effect of perfection or non-perfection or priority.

       “United States” means the United States of America.

       “Weekly Budget Variance Report” has the meaning specified in Section 5.2.

       “Work Fee” means a non-refundable fee in the amount of $50,000, heretofore paid to
Lender’s counsel for due diligence and legal services rendered.

       1.2     Accounting Terms

. All accounting terms not specifically defined herein shall be construed in accordance with
GAAP; provided, that if Borrowers notify Lender that Borrowers requests an amendment to any
provision hereof to eliminate the effect of any change occurring after the Closing Date in GAAP
or in the application thereof on the operation of such provision (or if Lender notifies Borrowers
that Lender requests an amendment to any provision hereof for such purpose), regardless of



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whether any such notice is given before or after such change in GAAP or in the application thereof,
then Lender and Borrowers agree that they will negotiate in good faith amendments to the
provisions of this Agreement that are directly affected by such change in GAAP with the intent of
having the respective positions of Lender and Borrowers after such change in GAAP conform as
nearly as possible to their respective positions as of the date of this Agreement and, until any such
amendments have been agreed upon, the provisions in this Agreement shall be interpreted on the
basis of GAAP as in effect and applied immediately before such change shall have become
effective. When used herein, the term “financial statements” shall include the notes and schedules
thereto. Whenever the term “Borrowers” is used in respect of a financial covenant or a related
definition, it shall be understood to mean Borrowers on a consolidated basis, unless the context
clearly requires otherwise.

       1.3     UCC

. Any terms used in this Agreement that are defined in the UCC shall be construed and defined as
set forth in the UCC unless otherwise defined herein; provided, that to the extent that the UCC is
used to define any term herein and such term is defined differently in different Articles of the UCC,
the definition of such term contained in Article 9 of the UCC shall govern.

       1.4     Construction

. Unless the context of this Agreement or any other Loan Document clearly requires otherwise,
references to the plural include the singular, references to the singular include the plural, the terms
“includes” and “including” are not limiting, and the term “or” has, except where otherwise
indicated, the inclusive meaning represented by the phrase “and/or.” The words “hereof,”
“herein,” “hereby,” “hereunder,” and similar terms in this Agreement or any other Loan Document
refer to this Agreement or such other Loan Document, as the case may be, as a whole and not to
any particular provision of this Agreement or such other Loan Document, as the case may be.
Section, subsection, clause, schedule, and exhibit references herein are to this Agreement unless
otherwise specified. Any reference in this Agreement or in any other Loan Document to any
agreement, instrument, or document shall include all alterations, amendments, changes,
extensions, modifications, renewals, replacements, substitutions, joinders, and supplements,
thereto and thereof, as applicable (subject to any restrictions on such alterations, amendments,
changes, extensions, modifications, renewals, replacements, substitutions, joinders, and
supplements set forth herein). The words “asset” and “property” shall be construed to have the
same meaning and effect and to refer to any and all tangible and intangible assets and properties,
including cash, securities, accounts, and contract rights. Any reference herein or in any other Loan
Document to the satisfaction, repayment, or payment in full of the Obligations shall mean the
repayment in full in cash of all Obligations other than unasserted contingent indemnification
Obligations (with all such Obligations consisting of monetary or payment Obligations having been
paid in full in cash). Any reference herein to any Person shall be construed to include such
Person’s successors and assigns. Any requirement of a writing contained herein or in any other
Loan Document shall be satisfied by the transmission of a Record.

       1.5     Schedules and Exhibits




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. All of the schedules and exhibits attached to this Agreement shall be deemed incorporated herein
by reference.

2.       LOAN AND TERMS OF PAYMENT.

     2.1   Agreement to Lend; Delayed Draw; Security Documents and Loan
Documents.

                (a)     Subject to the terms and conditions of this Agreement, Lender agrees,
subject to the satisfaction or waiver of the conditions precedent in Section 3, to make two
(2) advances to Borrowers (each, an “Advance” and collectively, the “Advances”); provided that
in no event shall the Advances made by Lender exceed the Lender’s Commitment. The first
Advance in the amount of the Interim Funding, which includes the Roll up Loan, shall be made
upon entry of the Interim Order and the second Advance in the amount of the remaining
Commitment shall be made upon entry of the Final Order, subject to the satisfaction or waiver of
the conditions precedent in Section 3 relating to such Advance. Any Advance, or portion thereof,
that is repaid or prepaid (whether as an optional prepayment or a mandatory prepayment) cannot
be reborrowed.

              (b)     The Advances shall be secured by the Collateral as set forth in this
Agreement, the Interim Order, the Final Order, and the other Loan Documents.

               (c)     Each Loan Party agrees that it is jointly and severally liable for the prompt
payment and performance of all Obligations under the Loan Documents. Borrowers promise to
pay the Obligations (including principal, interest, fees, costs, and expenses) in Dollars in full
(including the Exit Fee) on the Maturity Date.

         2.2   Borrowing Procedures

. Each Advance under Section 2.1(a) shall be made by a written request substantially in the form
of the Request for Advance attached hereto as Exhibit D executed by an Authorized Person of the
Lead Borrower and delivered to the Lender no later than one (1) Business Day prior to the
requested funding date (or such shorter period as the Lender may permit in its sole discretion);
provided, that (i) Lead Borrower shall submit such requests only after approval of the Interim
Order or the Final Order as applicable, and (ii) the aggregate amount of all such Advances shall
not exceed the Lender’s Commitment. Upon satisfaction or waiver of the conditions precedent
specified herein, Lender shall make the proceeds of the relevant Advance available to the
Borrowers on the requested funding date by causing the principal amount of the relevant Advance
to be credited to the Designated Account.

         2.3   Payments; Reductions of the Commitment; Prepayments.

                (a)    Payments by Borrowers. Except as otherwise expressly provided herein,
all payments by Borrowers shall be made to the Loan Account for the account of Lender and shall
be made in immediately available funds, no later than 4:00 p.m. (Eastern time) on the date specified
herein. Any payment received by Lender later than 4:00 p.m. (Eastern time) shall be deemed to
have been received on the following Business Day and any applicable interest or fee shall continue
to accrue until such following Business Day.


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              (b)    Application of Payments and Proceeds. All payments remitted to Lender
and all proceeds of Collateral received by Lender shall be applied as follows (unless otherwise
directed by Lender):

                       (i)   first, to pay any Lender Expenses (including cost or expense
       reimbursements, such as attorneys’ fees in excess of the Work Fee) then owed to the Lender
       or Lender Related Persons in accordance with the Interim Order or the Final Order, as
       applicable, or indemnities then due to Lender under the Loan Documents, until paid in full;

                    (ii)    second, to pay any Fees then due to Lender under the Loan
       Documents until paid in full;

                       (iii)   third, to pay interest due in respect of the Advances until paid in full;

                       (iv)    fourth, to pay the principal of all Advances until paid in full;

                       (v)     fifth, to pay any other Obligations until paid in full; and

                     (vi)    sixth, to Borrowers (to be wired to the Designated Account) or as
       otherwise required by applicable law.

         In the event of a direct conflict between the priority provisions of this Section 2.3(b) and
any other provision contained in any other Loan Document (except for the Interim Order or Final
Order, as applicable), it is the intention of the parties hereto that such provisions be read together
and construed, to the fullest extent possible, to be in concert with each other. In the event of any
actual, irreconcilable conflict that cannot be resolved as aforesaid, the terms and provisions of this
Section 2.3(b) shall control and govern. Notwithstanding the foregoing, to the extent there is a
conflict between the Interim Order or the Final Order, as applicable, and any other Loan Document,
the Interim Order or the Final Order, as applicable, shall control and govern.

               (c)    Optional Prepayments. Upon three Business Days’ prior notice to Lender,
Borrowers may prepay any Advance, in whole or in part, at any time, provided that (i) the principal
amount being prepaid shall be an amount not less than $1,000,000 and (ii) Borrowers shall also
pay all accrued and unpaid interest on such principal amount and the Exit Fee as applied to the
principal amount that was prepaid.

               (d)     Mandatory Prepayments.

                       (i)    Dispositions. Within one (1) Business Day of the date of receipt by
       any Loan Party or any Subsidiary of a Lon Party of the Net Cash Proceeds of any
       disposition (whether through a voluntary or involuntary sale, the loss, destruction or
       damage thereof or any actual condemnation, confiscation, requisition, seizure or taking
       thereof or otherwise) of Collateral (other than the sale or replacement of such Collateral in
       the Ordinary Course), the Borrowers shall prepay such portion of the outstanding amount
       of the Obligations in accordance with Section 2.3(b) in an amount equal to 100% of the
       Net Cash Proceeds (including insurance proceeds, condemnation awards, and payments in
       lieu thereof) received in connection with such sales or dispositions, plus the Exit Fee as
       applied to the amount of such prepayment. Nothing contained in this Section 2.3(d)(i) shall


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       permit any Loan Party to sell any Collateral other than in accordance with Section 6.4. In
       no event shall any amount paid to Lender under this Section 2.3(d)(i) exceed the
       outstanding amount of the Obligations.

                      (ii)    Indebtedness. Within one (1) Business Day of the date of
       incurrence by any Loan Party or any Subsidiary of a Loan Party of any Indebtedness (other
       than Permitted Indebtedness), the Borrowers shall prepay the outstanding principal amount
       of the Obligations in accordance with Section 2.3(b) in an amount equal to 100% of the
       Net Cash Proceeds received by such Person in connection with the incurrence of such
       Indebtedness plus the Exit Fee as applied to the principal amount of such prepayment. The
       provisions of this Section 2.3(d)(ii) shall not be deemed to be implied consent to any such
       incurrence otherwise prohibited by the terms and conditions of this Agreement.

       2.4     Interest Rates and Rates, Payments and Calculations.

                (a)    Interest Rate. Except as provided in Section 2.4(b), all Advances shall
bear interest on the Daily Balance thereof at a rate equal to 9.00% per annum. For the avoidance
of doubt, for the purpose of calculating interest for purposes of this Section 2.4(a), the Daily
Balance shall exclude accrued but unpaid interest due or owing hereunder.

                (b)    Default Rate. Upon the occurrence and during the continuation of an Event
of Default, all Obligations shall bear interest on the Daily Balance thereof at a per annum rate
equal to five percentage points (5%) above the per annum rate otherwise applicable hereunder
upon notice from Lender of its election to impose interest at the default rate. Any such notice may
impose interest at the default rate retroactively to the date of the occurrence of the related Event
of Default. For the avoidance of doubt, for the purpose of calculating interest for purposes of this
Section 2.4(b), Daily Balance shall exclude accrued but unpaid interest due or owing hereunder.

                (c)     Payment. Except to the extent provided to the contrary herein, interest, all
Fees payable hereunder or under any of the other Loan Documents, and all costs, expenses, and
Lender Expenses payable hereunder or under any of the other Loan Documents shall be due and
payable, in arrears, on the first day of each month at any time that Obligations or the Commitment
are outstanding. Borrowers hereby authorize Lender, from time to time, without prior notice to
Borrowers, to charge all interest and Fees payable hereunder or under any of the other Loan
Documents (in each case, as and when due and payable), all costs, expenses, and Lender Expenses
payable hereunder or under any of the other Loan Documents (in each case, as and when due and
payable), all Fees provided for in Section 2.8 (in each case, as and when due and payable), and all
other payments as and when due and payable under any Loan Document to the Loan Account,
which amounts thereafter shall constitute Obligations hereunder and shall accrue interest at the
rate then applicable to Obligations.

                (d)    Computation. All interest and fees chargeable under the Loan Documents
shall be computed on the basis of a 360 day year, in each case, for the actual number of days
elapsed in the period during which the interest or fees accrue.

                (e)     Intent to Limit Charges to Maximum Lawful Rate. In no event shall the
interest rate or rates payable under this Agreement, plus any other amounts paid in connection



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herewith, exceed the highest rate permissible under any law that a court of competent jurisdiction
shall, in a final determination, deem applicable. Loan Parties and Lender, in executing and
delivering this Agreement, intend legally to agree upon the rate or rates of interest and manner of
payment stated within it; provided, that, anything contained herein to the contrary notwithstanding,
if said rate or rates of interest or manner of payment exceeds the maximum allowable under
applicable law, then, ipso facto, as of the date of this Agreement, Loan Parties are and shall be
liable only for the payment of such maximum as allowed by law, and payment received from Loan
Parties in excess of such legal maximum, whenever received, shall be applied to reduce the
principal balance of the Obligations to the extent of such excess.

       2.5     Crediting Payments; Clearance Charge

. The receipt of any payment item by Lender shall not be considered a payment on account unless
such payment item is a wire transfer of immediately available federal funds made to the Loan
Account or unless and until such payment item is honored when presented for payment. Should
any payment item not be honored when presented for payment, then Loan Parties shall be deemed
not to have made such payment and interest shall be calculated accordingly. Anything to the
contrary contained herein notwithstanding, any payment item shall be deemed received by Lender
only if it is received into the Loan Account on a Business Day on or before 5:00 p.m. (Eastern
time). If any payment item is received into the Loan Account on a non-Business Day or after 5:00
p.m. (Eastern time) on a Business Day, it shall be deemed to have been received by Lender as of
the opening of business on the immediately following Business Day.

       2.6     Designated Account.

             (a)    Borrowers agree to establish and maintain the Designated Account with the
Designated Account Bank and to receive the proceeds of the Advances requested by Borrowers
and made by Lender hereunder in such Designated Account.

             (b)    Borrowers agree to deposit all proceeds of sales of the Collateral into the
Designated Account.

       2.7     Maintenance of Loan Account; Statements of Obligations; Promissory Note

. Lender shall maintain true, correct and complete electronic or written records evidencing the
Indebtedness and other Obligations owed by the Borrowers to Lender, in which Lender will record
(i) the amount of all Advances made under this Agreement, (ii) the amount of any principal and/or
interest due and payable and/or to become due and payable from the Borrowers to the Lender under
this Agreement and (iii) all amounts received by Lender under this Agreement from any Loan
Party. Borrower’s obligation to pay the principal of, and interest on, the Advances made to the
Borrower shall be evidenced by the Promissory Note executed by the Borrowers and delivered to
the Lender in addition to such records.

       2.8     Fees

. Upon entry of the Interim Order, Borrowers shall pay from the proceeds of the Facility to the
Lender, the Commitment Fee and the Funding Fee as set forth in the Interim Order. All such fees



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shall be non-refundable and non-avoidable obligations of the Borrowers and shall be paid by the
Borrowers in cash.

3.       CONDITIONS; TERM OF AGREEMENT.

         3.1   Conditions Precedent to Advancing the Commitment

. Lender shall not be required to advance the Interim Funding unless and until all of the conditions
specified below in this Section 3.1 (other than those pertaining to the second Advance) and
Section 3.2 shall have been satisfied or waived by Lender in its sole discretion. Lender shall not
be required to advance the second Advance unless and until all of the conditions specified below
in this Section 3.1 and in Section 3.2 shall have been satisfied or waived by Lender in its sole
discretion.

               (a)     Lender shall have received a copy of the Budget.

               (b)      With respect to the extension of the Interim Funding, the Bankruptcy Court
shall have entered the Interim Order, and with respect to the extension of any subsequent Advance,
the Bankruptcy Court shall have entered the Final Order in form and substance satisfactory to the
Lender in its sole discretion and such Final Order shall be in full force and effect and shall not
have been modified or amended, reversed, stayed or subject to a motion for re-argument or
reconsideration, or appealed (unless, in each case set forth above, otherwise agreed to by Lender).
Borrowers and Lender shall be entitled to rely in good faith upon the Interim Order or the Final
Order, as applicable, and shall be permitted and required to perform their respective obligations in
compliance with this Agreement notwithstanding any such objections thereto, unless the relevant
order has been stayed by a court of competent jurisdiction.

               (c)     Lender shall have received evidence, in form and substance reasonably
acceptable to Lender, that, all necessary Uniform Commercial Code financing statements
necessary to provide Lender with a valid, perfected security interest in the Collateral pledged by
the Loan Parties in accordance with the Required Lien Priority have been filed or will be filed by
Lender promptly upon the Effective Date.

                (d)      Lender shall have received copies of UCC, tax, and judgment lien searches
and title reports, in each case satisfactory to Lender in its sole discretion.

              (e)     All fees required to be paid on the Closing Date under this Agreement shall
have been paid or will be paid from such Advance. (Lender acknowledges that it has received the
Work Fee.)

               (f)     All other documents in connection with the transactions contemplated by
this Agreement shall have been delivered or executed and shall be in form and substance
reasonably satisfactory to Lender.

         3.2   Conditions Precedent to all Extensions of Credit

. Lender shall not be required to make any Advances unless and until all of the additional
conditions specified below shall have been satisfied or waived by Lender in its sole discretion.



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                (a)    Borrowers shall be in compliance with the conditions precedent set forth in
Section 3.1 of this Agreement.

               (b)     The representations and warranties of Borrowers contained in this
Agreement or in the other Loan Documents shall be true and correct in all material respects (except
that such materiality qualifier shall not be applicable to any representations and warranties that
already are qualified or modified by materiality in the text thereof) on and as of the date of such
extension of credit, as though made on and as of such date (except to the extent that such
representations and warranties relate solely to an earlier date).

               (c)     No Default or Event of Default shall have occurred and be continuing on
the date of such extension of credit, nor shall either result from the making thereof.

                (d)     No injunction, writ, restraining order, or other order of any nature restricting
or prohibiting, directly or indirectly, the extending of such credit shall have been issued and remain
in force by any Governmental Authority against any Loan Party or Lender; and

                (e)     No action, proceeding, investigation, regulation or legislation shall have
been instituted or threatened before any Governmental Authority to enjoin, restrain or prohibit, or
to obtain damages in respect of, or which is related to or arises out of this Agreement or any of the
other Loan Documents or the consummation of the transactions contemplated hereby and thereby
and which, in Lender’s sole judgment, would make it inadvisable to consummate the transactions
contemplated by this Agreement or any of the other Loan Documents.

       3.3     Maturity

. This Agreement shall continue in full force and effect until the payment in full of the Obligations.
All Obligations, including without limitation the outstanding unpaid principal balance and all
accrued and unpaid interest and all fees (including without limitation) the Exit Fee)on the
Advances shall be due and payable on the Maturity Date.

       3.4     Effect of Maturity

. On the Maturity Date, the Commitment of Lender to provide any additional credit hereunder
shall automatically be terminated and all Obligations immediately shall become due and payable
without notice or demand. No termination of the obligations of Lender (other than payment in full
of the Obligations and termination of the Commitment) shall relieve or discharge any Loan Party
of its duties, obligations, or covenants hereunder or under any other Loan Document and Lender’s
Liens in the Collateral shall continue to secure the Obligations and shall remain in effect until all
Obligations have been paid in full and the Commitment has been terminated. When all of the
Obligations have been indefeasibly paid in full in immediately available funds and Lender has no
further obligation hereunder to make further Advances, Lender will, at the Borrowers’ expense,
execute and deliver any termination statements, lien releases, discharges of security interests, and
other similar discharge or release documents (and, if applicable, in recordable form) as are
reasonably necessary to release, as of record, Lender’s Liens and all notices of security interests
and Liens previously filed by Lender with respect to the Obligations.




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4.       REPRESENTATIONS AND WARRANTIES.

               In order to induce Lender to enter into this Agreement, each Loan Party makes the
following representations and warranties to Lender. The Loan Parties further represent that such
representations and warranties shall be true, correct, and complete, in all respects, as of the Closing
Date, and shall be true, correct, and complete, in all respects, as of the date of the making of each
Advance (or other extension of credit) made thereafter, as though made on and as of the date of
such Advance (or other extension of credit) (except to the extent that such representations and
warranties relate solely to an earlier date) and such representations and warranties shall survive
the execution and delivery of this Agreement:

         4.1   Due Organization and Qualification.

                (a)     Each Loan Party (i) is duly formed and existing and in good standing under
the laws of the jurisdiction of its formation, (ii) where the ownership of Collateral requires such
qualification, is qualified to do business in any state where the failure to be so qualified could
reasonably be expected to result in a Material Adverse Change, and (iii) subject to the Bankruptcy
Court’s entry of the Interim Order or the Final Order, as applicable, and any limitation under the
Bankruptcy Code or other debtor relief law, has all requisite power and authority to own and
operate its properties, to carry on its business as now conducted and as proposed to be conducted,
to enter into the Loan Documents to which it is a party and to carry out the transactions
contemplated thereby. Schedule 4.1(a) is an organizational chart showing the complete and
accurate ownership structure of the Loan Parties.

                (b)     Schedule 4.1(b) sets forth, for each Loan Party, its legal name (within the
meaning of Section 9-503 of the UCC), jurisdiction of incorporation or formation, type of entity
(for profit or non-profit), and equity owners.

         4.2   Due Authorization

. The execution, delivery, and performance by each Loan Party of the Loan Documents to which
it is a party have been duly authorized by all necessary corporate or limited liability company
action on the part of such Loan Party and, with respect to each Borrower, is only subject to the
Bankruptcy Court’s entry of the Interim Order or Final Order, as applicable.

         4.3   Binding Obligations

. Each Loan Document has been duly executed and delivered by each Loan Party that is a party
thereto and is the legally valid and binding obligation of such Loan Party pursuant to the Final
Order, enforceable against such Loan Party in accordance with its respective terms, except as
enforcement may be limited by equitable principles or by bankruptcy, insolvency, reorganization,
moratorium, or similar laws relating to or limiting creditors’ rights generally (regardless of whether
such enforceability is considered in a proceeding at law or in equity).

         4.4   Existing Prepetition Liens

. Except for the existing Liens of Loan Parties’ pre-Petition Date lenders or creditors set forth on
Schedule 4.4 (“Existing Prepetition Liens”), each Loan Party has (i) good, sufficient and legal title


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to, and (ii) good and marketable title to (in the case of personal property), all of such Loan Party’s
right, interest and title in the Collateral.

      4.5    Jurisdiction of Formation; Location of Chief                       Executive     Office;
Organizational; Identification Number; Commercial Tort Claims.

               (a)     The name (within the meaning of Section 9-503 of the UCC), jurisdiction
of formation, tax identification numbers and organizational identification number (if any) of each
Loan Party are as set forth on Schedule 4.5 (as such Schedule may be updated from time to time
by notice from such Loan Party to Lender).

               (b)     The chief executive office of each Loan Party is located at the address
indicated on Schedule 4.5 (as such Schedule may be updated from time to time by notice from
such Loan Party to Lender). Except with respect to potential claims with respect to accounts
receivable collections, the Loan Parties have no actual knowledge of the existence by them of any
commercial tort claims except as described on such Schedule 4.5.

       4.6     Litigation

. There are no actions, suits, proceedings, claims or disputes pending or, to the knowledge of Loan
Parties, threatened or contemplated, at law, in equity, in arbitration or before any Governmental
Authority, by or against any Loan Party or against any of its properties or revenues that (a) purport
to affect or pertain to this Agreement or any other Loan Document, or any of the transactions
contemplated hereby, or (b) except as set forth on Schedule 4.6, either individually or in the
aggregate, if determined adversely, could reasonably be expected to have a Material Adverse
Change.

       4.7     Fraudulent Transfer

. No transfer of property is being made by a Loan Party and no obligation is being incurred by a
Loan Party in connection with the transactions contemplated by this Agreement or the Loan
Documents with the intent to hinder, delay or defraud either present or future creditors of any Loan
Party.

       4.8     Indebtedness

. Set forth on Schedule 4.8 is a true and complete list of all Indebtedness of each Loan Party
outstanding immediately prior to the Petition Date and such Schedule accurately sets forth the
aggregate principal amount of such Indebtedness as of such date.

       4.9     Payment of Taxes

. Except as provided on Schedule 4.9, all United States federal, state and other material tax returns
and reports of each Borrower required to be filed by any of them with respect to the Collateral
have been timely filed, and all taxes due with respect to the period covered by such tax returns and
all material assessments, fees and other governmental charges upon any Collateral that are due and
payable have been paid when due and payable, other than taxes that are the subject of a Permitted




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Protest. With respect to the Collateral, the Loan Parties are not aware of any proposed tax
assessment against a Borrower with respect to United States federal, state or municipal taxes.

       4.10    Budget

. Attached to this Agreement as Exhibit B is a true and complete copy of the Budget. The Budget
may be amended from time to time with the written consent of the Lender.

       4.11    Restaurants and Site Leases.

                 (a)    Each restaurant location maintained by a Loan Party or a Subsidiary of a
Loan Party, including but not limited to all buildings and other improvements comprising any real
property, is (i) in good condition and repair and well maintained, ordinary wear and tear and
casualty or condemnation events excepted; (ii) equipped and operational in all material respects
for purposes of the business operated therein; (iii) to each Loan Party’s knowledge, free from
material structural defects; and (iv) to each Loan Party’s knowledge, in compliance in all material
respects with all applicable regulations relating to public safety. The equipment, including all
machinery, furniture, appliances, trade fixtures, tools, and office and record keeping equipment,
of each Loan Party and their respective Subsidiaries now located at such locations includes all of
the material equipment, machinery, furniture, appliances, trade fixtures, tools, and office and
record keeping equipment necessary for the proper and prudent operation of such locations as
“Granite City Food & Brewery” and “Cadillac Ranch” restaurants, substantially as such restaurant
concept is maintained as of the Effective Date (or such other restaurant concept as may have been
approved in writing in advance by the Lender in its reasonable discretion) and all such equipment
is in good condition and repair and well maintained, ordinary wear and tear excepted, in each case
in all material respects.

                (b)     Borrowers have delivered to Lender a true, correct and complete copy of
each Site Lease in effect on the Closing Date. Each Site Lease is in full force and effect and the
applicable Loan Party or Subsidiary is the sole owner of the entire leasehold interest thereunder,
and such Person’s interest in such Site Lease has not been assigned, transferred, subleased,
mortgaged, hypothecated or otherwise encumbered, except for Permitted Liens and as set forth on
Schedule 4.11(b). To each Loan Party’s knowledge, no event has occurred and no condition exists
that, with the giving of notice or the lapse of time or both, would constitute a material default by
any Loan Party or any of their respective Subsidiaries under any Site Lease, except as set forth on
Schedule 4.11(b). As of the Closing Date, each Site Lease listed on Schedule 4.11(b) is the only
agreement between the applicable lessor and the applicable Loan Party (or Subsidiary of a Loan
Party) with respect to the leasing of such restaurant location.

       4.12    Permits

                 (a)    Except as set forth on Schedule 4.12, each Loan Party is in compliance
with, and has, all Permits required for the operation of its business and for the execution, delivery
and performance by, and enforcement against, such Loan Party of each Loan Document. Except
as set forth in Schedule 4.12, no Loan Party is in breach of or default under the provisions of any
such Permit, nor is there any event, fact, condition or circumstance which, with notice or passage




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of time or both, would constitute or result in any of the foregoing, which in each case could
reasonably be expected to have a Material Adverse Change.

         4.13

         4.14   Guarantor Representations

         . Each Guarantor represents to the Lender that it has no assets or, to the extent it has any
assets, they are of inconsequential value.

5.       AFFIRMATIVE COVENANTS.

      Each Loan Party covenants and agrees that, until termination of the Commitment and
payment in full of the Obligations, it shall comply with each of the following:

         5.1    Financial Statements, Reports, Certificates

. Lead Borrower shall deliver to Lender (a) promptly upon it or any Loan Party becoming aware
of any Default, notice of such default; (b) promptly upon becoming aware of any litigation
threatened in writing against any Loan Party or filed (other than any adversary proceeding filed in
the Chapter 11 Cases), or any event (other than events of public knowledge in the Chapter 11
Cases) which could reasonably be expected to have a Material Adverse Change; and (c) at the time
of a request for any Advance, a Compliance Certificate. In addition, the Borrowers agree to
maintain a system of accounting that enables the Borrowers to produce unaudited financial
statements in accordance with GAAP.

         5.2    Reporting

. Each Loan Party shall comply with the agreements, requirements, covenants and undertakings
applicable to it set forth in Exhibit C, in accordance with the terms thereof. Each Borrower will:
(a) commencing on the first Wednesday to occur after the entry of the Interim Order and on the
Wednesday of each week thereafter, prepare and deliver to Lender (x) a report showing actual cash
receipts and disbursements of the entities covered by the Budget for the preceding Wednesday
through the following Tuesday certified in writing by an Authorized Person of Lead Borrower as
being true and accurate, and (y) a written explanation of all material variances (the “Weekly
Budget Variance Report”); (b) update and roll-forward the proposed Budget no less frequently
than every four (4) weeks or at such other interval as agreed to by the Lender and the Borrowers,
each such amended Budget to be delivered to Lender no later than the third Business Day of each
week for the week immediately prior; and (c) participate in a weekly conference call, if required,
commencing on the third Business Day of each week following the Petition Date regarding the
Budget, management issues, sale process, and other matters.

         5.3    Material Contracts; Sale Offers

. Other than defaults existing as of the date hereof, Lead Borrower shall deliver to Lender
(a) promptly upon any Loan Party becoming aware of any default (other than the filing of the
Chapter 11 Case) under any Material Contract to which any Loan Party is a party, notice of such
defaults, and (b) promptly notify Lender upon any written offer by a third party to purchase all or



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substantially all of the assets of the Borrowers, or to purchase all or substantially all of the equity
of the Borrowers or to refinance the Facility. If requested by Lender, the chief restructuring officer
and/or the chief financial officer of the Borrowers shall participate in a conference call with Lender
(as long as no Event of Default has occurred and is continuing, such call shall be no more often
than weekly), following the Petition Date regarding management issues and other matters.

       5.4     Existence

. At all times, each Loan Party shall (a) maintain and preserve in full force and effect its existence
(including being in good standing in its jurisdiction of incorporation or formation) and (b) maintain
all its rights and franchises, licenses and permits, except where the failure to maintain any such
rights and franchises, or licenses and permits could not reasonably be expected to result in a
Material Adverse Change.

       5.5     Maintenance of Properties; Permits

. Each Loan Party shall (a) maintain and preserve the Collateral that is necessary to the proper
conduct of its business in good working order and condition, ordinary wear, tear, and casualty
excepted, (b) comply with the material provisions of all material leases related to the Collateral
pledged by it, so as to prevent the loss or forfeiture thereof, unless (i) such provisions are the
subject of a Permitted Protest, or (ii) such lease is a Site Lease that is rejected in the exercise of
such Borrower’s reasonable judgment, or a Site Lease described on Schedule 4.11(b); and (c)
maintain, comply with and keep in full force and effect its Permits with respect to the Collateral
pledged by it. Each Loan Party shall comply with, and obtain and maintain, all Permits required
for the operation of its business.

       5.6     Taxes

. Each Loan Party shall cause all assessments and taxes imposed, levied, or assessed after the
Petition Date against any Collateral to be paid in full, before delinquency or before the expiration
of any extension period, except to the extent that any such assessments and taxes shall be paid as
part of a plan of reorganization approved by Lender or subject to a Permitted Protest.

       5.7     Insurance

. At the relevant Loan Party’s expense, each Loan Party shall maintain insurance with respect to
the Collateral in which such Loan Party has any right, interest or title, covering loss or damage by
fire, theft, explosion, and all other hazards and risks as ordinarily are insured against by other
Persons engaged in the same or similar businesses and consistent with such Loan Party’s insurance
policies in effect on the Petition Date. Each Loan Party shall maintain general liability, director’s
and officer’s liability insurance, fiduciary liability insurance, employment practices liability
insurance, title insurance as well as insurance against larceny, embezzlement, and criminal
misappropriation. All such policies of insurance shall be with responsible and reputable insurance
companies and in such amounts as is carried generally in accordance with sound business practice
by companies in similar businesses similarly situated and located and in any event in amount,
adequacy and scope reasonably satisfactory to Lender. All property insurance policies and title
insurance policies covering the Collateral are to be made payable to Lender for the benefit of
Lender, in case of loss, pursuant to a standard loss payable endorsement with a standard non-


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contributory “lender” or “secured party” clause and are to contain such other provisions as Lender
may reasonably require to fully protect Lender’s interest in the Collateral and any payments to be
made under such policies. All certificates of property and general liability insurance are to be
delivered to Lender, with the loss payable (but only in respect of Collateral) and additional insured
endorsements in favor of Lender and shall provide for not less than 30 days (10 days in the case
of non-payment) prior written notice to Lender of the exercise of any right of cancellation. If any
Loan Party fails to maintain the insurance required by this Section 5.7, Lender may arrange for
such insurance, but at the Borrowers’ expense and without any responsibility on Lender’s part for
obtaining the insurance, the solvency of the insurance companies, the adequacy of the coverage,
or the collection of claims. Each relevant Loan Party shall give Lender prompt notice of any loss
covered by its casualty or business interruption insurance. Upon the occurrence and during the
continuance of an Event of Default, Lender shall have the sole right to file claims under any
property and general liability insurance policies in respect of the Collateral, to receive, receipt and
give acquittance for any payments that may be payable thereunder, and to execute any and all
endorsements, receipts, releases, assignments, reassignments or other documents that may be
necessary to effect the collection, compromise or settlement of any claims under any such
insurance policies.

         5.8   Inspection

. Each Loan Party shall permit Lender and each of its duly authorized representatives or agent to
visit any of its properties and inspect any of its Collateral or books and records, to conduct
appraisals and valuations, to examine and make copies of its books and records, and to discuss its
affairs, finances, and accounts with, and to be advised as to the same by, its officers and employees
at such reasonable times and intervals as Lender may reasonably require and, so long as no Default
or Event of Default exists, with reasonable prior notice to the applicable Loan Party. Such
inspections shall not occur more than once every three (3) months; provided that no such limitation
shall apply in the event that a Default or Event of Default exists.

         5.9   Environmental

. Each Loan Party shall:

               (a)     Keep the Collateral owned or operated by it free of any Environmental
Liens,

              (b)    Comply with all applicable Environmental Laws, except where the failure
to so comply could not reasonably be expected result in a Material Adverse Change.

              (c)   Promptly notify Lender of any release of which such Loan Party has
knowledge of a Hazardous Material in any reportable quantity from or onto property owned or
operated by any Loan Party that could reasonably be expected to result in a Material Adverse
Change, and

               (d)   Promptly, but in any event within five (5) Business Days of its receipt
thereof, provide Lender with written notice of any of the following: (i) written notice that an
Environmental Lien has been filed against any of the Collateral, (ii) commencement of any
Environmental Action or written notice that an Environmental Action will be filed against any


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Loan Party, and (iii) written notice of a violation, citation, or other administrative order from a
Governmental Authority.

       5.10    Compliance with Laws

. Each Loan Party shall comply with the requirements of all applicable laws, rules, regulations,
and orders of any Governmental Authority, other than laws, rules, regulations, and orders the non-
compliance with which, individually or in the aggregate, could not reasonably be expected to result
in a Material Adverse Change.

       5.11    Disclosure Updates

. Each Loan Party shall promptly and in no event later than three (3) Business Days after obtaining
actual knowledge thereof, notify Lender of any written information, exhibit, or report (other than
materials marked as drafts and forward-looking information and projections and information of a
general economic nature and general information about such Loan Party’s industry) furnished to
Lender contained, at the time it was furnished, any untrue statement of a material fact or omitted
to state any material fact necessary to make the statements contained therein (taken as a whole)
not misleading in light of the circumstances in which made. The foregoing to the contrary
notwithstanding, any notification pursuant to the foregoing provision will not cure or remedy the
effect of the prior untrue statement of a material fact or omission of any material fact nor shall any
such notification have the effect of amending or modifying this Agreement or any of the Schedules
hereto.

       5.12    Formation of Subsidiaries

. No Loan Party may form any direct or indirect Subsidiary or acquire any direct or indirect
Subsidiary after the Closing Date without the consent of Lender, in its sole but reasonable
discretion, unless such Subsidiary is joined as a Borrower under this Agreement and executes any
such documentation reasonably requested by Lender.

       5.13    Further Assurances

. Upon reasonable written notice from Lender, each Loan Party shall execute or deliver to Lender
any and all financing statements, fixture filings, endorsements of certificates of title, mortgages,
deeds of trust, and all other documents (collectively, the “Additional Documents”) that Lender
may reasonably request in form and substance reasonably satisfactory to Lender, to create, perfect,
and continue perfected or to better perfect Lender’s Liens in all the Collateral (whether now owned
or hereafter arising or acquired, tangible or intangible, real or personal).

       5.14    Staffing

. Each Loan Party shall maintain at all times an appropriate and necessary staff to carry out its
business with respect to the Collateral in compliance with all other applicable laws and with
training and experience and in number equal to or greater than would be customarily maintained
by businesses engaging in similar activities.

       5.15    Budget



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. Borrowers shall comply with the Budget and the Permitted Variance.

6.       NEGATIVE COVENANTS.

               Each Loan Party covenants and agrees that, until termination of the Commitment
and payment in full of the Obligations, such Loan Party will not do any of the following without
the prior consent of Lender in its reasonable discretion:

         6.1   Indebtedness

. Except for Permitted Indebtedness, create, incur, assume, suffer to exist, guarantee, or otherwise
become or remain, directly or indirectly, liable with respect to any Indebtedness with respect to
the Collateral.

         6.2   Liens

. Create, incur, assume, or suffer to exist on or after the date of this Agreement, directly or
indirectly, any Lien on or with respect to any of the Collateral, of any kind, whether now owned
or hereafter acquired, or any income or profits therefrom, except for Liens (a) created by the Loan
Documents, (b) set forth on Schedule 4.4 and (c) any other Lien that is the subject of a Permitted
Protest.

         6.3   Restrictions on Fundamental Changes

. Except in connection with a plan of reorganization or a Sale or Sales approved by the Bankruptcy
Court or otherwise with the prior written consent of Lender:

                (a)     no Loan Party shall enter into any merger, consolidation, reorganization, or
recapitalization, or reclassify its equity interests,

                (b)     no Borrower shall liquidate, wind up, or dissolve itself (or suffer any
liquidation or dissolution), and

               (c)     no Borrower shall suspend or close a substantial portion of its business.

         6.4   Disposal of Assets

. Except for a Sale approved by the Bankruptcy Court, convey, sell, lease, license, assign, transfer,
or otherwise dispose of (or enter into an agreement to convey, sell, lease, license, assign, transfer,
or otherwise dispose of) any Collateral held by any Loan Party, other than the sale or replacement
of Collateral in the Ordinary Course. For the avoidance of doubt, any proceeds of such disposed
Collateral shall be used to replace such Collateral or satisfy the Obligations consistent with
Section 2.3(d)(i).

         6.5   Change Name

. Change any Loan Party’s name, state of organization, or organizational identity.

         6.6   Nature of Business


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. Make any change in the nature of any Loan Party’s business or acquire any properties or assets
that are not reasonably related to the conduct of such business activities; provided, that the
foregoing shall not prevent any Loan Party from (i) engaging in any business that is reasonably
related or ancillary to its or their business, or (ii) complying with any requirement of the
Bankruptcy Code.

       6.7     Material Leases or Contracts; Amendments

. Change or modify the material terms of any material lease or contract in connection with
Collateral except in a manner that could not reasonably be expected to result in a Material Adverse
Change, or materially alter any Organizational Documents, except, in each case, with the prior
written consent of Lender.

       6.8     Change of Control

. Cause, permit, or suffer, directly or indirectly, any Change of Control.

       6.9     Accounting Methods

. Modify or change its fiscal year or its method of accounting (other than as may be required to
conform to GAAP).

       6.10    Transactions with Affiliates

. Directly or indirectly enter into or permit to exist any transaction with any other Borrower or any
Affiliate of any Loan Party, except for transactions that are in the Ordinary Course of such Loan
Party’s business, including intercompany transactions and various employee incentive and
retention programs (in compliance with the Bankruptcy Code) among the Loan Parties and their
Affiliates.

       6.11    Use of Advances

. Use the proceeds of the Advances for any purpose other than to pay (i) the Fees and Lender’s
Expenses, and (ii) such other costs, expenses and fees for Borrowers’ conduct of their respective
businesses and operations and other post-Petition Date expenses, including the fees and expenses
of the administration of the Borrowers’ Chapter 11 Cases in accordance with the Budget.

       6.12    Limitation on Capital Expenditures

. Except for Permitted Indebtedness, make or incur any Capital Expenditure.

       6.13    Chapter 11 Case

. Seek, consent or suffer to exist (i) any modification, stay, vacation or amendment to the Interim
Order or the Final Order, as applicable; (ii) in connection with the Collateral, a priority claim for
any administrative expense or unsecured claim against any Borrower (now existing or hereafter
arising of any kind or nature whatsoever, including, without limitation, any administrative expense
of any kind specified in Section 503(b), 506(b) or (c) or 507(b) of the Bankruptcy Code) equal to



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or superior to the priority claim of Lender in respect to the Collateral; and (iii) any Lien on
Collateral having a priority equal or superior to the Liens in favor of Lender in respect of the
Obligations, other than as required under a purchase agreement with respect to the good faith
deposit thereunder.

         6.14   Plan

. Propose and/or support any plan or reorganization that fails to pay in full in cash all Obligations
on the effective date of said plan or is otherwise not reasonably acceptable to Lender.

7.       GUARANTY.

         7.1    Guaranty

. Each Guarantor unconditionally and irrevocably guarantees to the Lender the full and prompt
payment when due (whether at stated maturity, by required prepayment, declaration, acceleration,
demand or otherwise) and performance of the Obligations (the “Guaranteed Obligations”).

         7.2    Separate Obligation

. Each Guarantor acknowledges and agrees that, in providing benefits to Borrowers, the Lender is
relying upon the enforceability of this Section 7 and the Guaranteed Obligations. The fact that the
guaranty is set forth in this Agreement rather than in a separate guaranty document is for the
convenience of Borrowers and Guarantors and shall in no way impair or adversely affect the rights
or benefits of the Lender under this Section 7.

         7.3    Limitation of Guaranty

. To the extent that any court of competent jurisdiction shall impose by final judgment under
applicable Laws (including Sections 544 and 548 of the Bankruptcy Code) any limitations on the
amount of any Guarantor’s liability with respect to the Guaranteed Obligations that the Lender can
enforce under this Section 7, Lender accepts such limitation on the amount of such Guarantor’s
liability hereunder only to the extent needed to make this Section 7 fully enforceable and non-
avoidable.

         7.4    Liability of Guarantors

. The liability of each Guarantor under this Section 7 shall be irrevocable, absolute, independent
and unconditional, and shall not be affected by any circumstance that might constitute a discharge
of a surety or Guarantor other than the indefeasible payment and performance in full of all
Guaranteed Obligations. In furtherance of the foregoing and without limiting the generality
thereof, each Guarantor agrees as follows:

                (a)    such Guarantor’s liability hereunder shall be the immediate, direct, and
primary obligation of such Guarantor and shall not be contingent upon the Lender ‘s exercise or
enforcement of any remedy it may have against Borrowers or any other Person, or against any
Collateral or any security for any Guaranteed Obligations;




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                  (b)   this guarantee is a guaranty of payment when due and not merely of
collectability;

               (c)    such Guarantor’s payment of a portion, but not all, of the Guaranteed
Obligations shall in no way limit, affect, modify or abridge such Guarantor’s liability for any
portion of the Guaranteed Obligations remaining unsatisfied; and

                (d)    such Guarantor’s liability with respect to the Guaranteed Obligations shall
remain in full force and effect without regard to, and shall not be impaired or affected by, nor shall
such Guarantor be exonerated or discharged by, any of the following events:

                        (i)    any proceeding under the Bankruptcy Code (except to the extent set
        forth in Section 7.3);

                        (ii)   any limitation, discharge, or cessation of the liability of Borrowers
        or any other Person for any Guaranteed Obligations due to any applicable law, or any
        invalidity or unenforceability in whole or in part of any of the Guaranteed Obligations or
        the Loan Documents;

                        (iii) any merger, acquisition, consolidation or change in structure of
        Borrowers, any Subsidiary thereof or any other Guarantor or Person, or any sale, lease,
        transfer or other disposition of any or all of the assets of Borrowers or any other Person;

                        (iv)    any assignment or other transfer, in whole or in part, of the Lender’s
        interests in and rights under this Agreement (including this Section 7) or the other Loan
        Documents;

                       (v)     any claim, defense, counterclaim or setoff, other than that of prior
        performance, that Borrowers, such Guarantor, any other Guarantor or any other Person
        may have or assert, including any defense of incapacity or lack of corporate or other
        authority to execute any of the Loan Documents;

                       (vi)   the amendment, modification, renewal, extension, cancellation or
        surrender of any Loan Document or any Guaranteed Obligations; or

                       (vii) the Lender’s exercise or non-exercise of any power, right or remedy
        with respect to any Guaranteed Obligations.

        7.5       Consents of Guarantors

. Each Guarantor hereby unconditionally consents and agrees that, without notice to or further
assent from such Guarantor:

              (a)    the principal amount of the Guaranteed Obligations may be increased or
decreased and additional indebtedness or obligations of Borrowers under the Loan Documents
may be incurred and the time, manner, place or terms of any payment under any Loan Document
may be extended or changed, by one or more amendments, modifications, renewals or extensions
of any Loan Document or otherwise;



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               (b)   the time for Borrowers’ (or any other Person’s) performance of or
compliance with any term, covenant or agreement on its part to be performed or observed under
any Loan Document may be extended, or such performance or compliance waived, or failure in or
departure from such performance or compliance consented to, all in such manner and upon such
terms as the Lender may deem proper;

                (c)     the Lender may request and accept other guaranties and may take and hold
security as collateral for the Guaranteed Obligations, and may, from time to time, in whole or in
part, exchange, sell, surrender, release, subordinate, modify, waive, rescind, compromise or extend
such other guaranties or security and may permit or consent to any such action or the result of any
such action, and may apply such security and direct the order or manner of sale thereof; and

                (d)    the Lender may exercise, or waive or otherwise refrain from exercising, any
other right, remedy, power or privilege even if the exercise thereof affects or eliminates any right
of subrogation or any other right of such Guarantor against Borrowers.

       7.6     Guarantor’s Waivers

. Each Guarantor waives and agrees not to assert:

               (a)    any defense arising by reason of any lack of corporate or other authority or
any other defense of Borrowers, such Guarantor or any other Person;

                (b)     any and all notice of the acceptance of this Guaranty, and any and all notice
of the creation, renewal, modification, extension or accrual of the Guaranteed Obligations. The
Guaranteed Obligations shall conclusively be deemed to have been created, contracted, incurred
and permitted to exist in reliance upon this Guaranty. Each Guarantor waives promptness,
diligence, presentment, protest, demand for payment, notice of default, dishonor or nonpayment
and all other notices to or upon Borrowers, each Guarantor or any other Person with respect to the
Guaranteed Obligations.

       7.7     Continuing Guaranty

. This Guaranty is a continuing guaranty and agreement of subordination and shall continue in
effect and be binding upon each Guarantor until termination of the Commitment and payment and
performance in full of the Guarantied Obligations.

       7.8     Reinstatement

. This Guaranty shall continue to be effective or shall be reinstated and revived, as the case may
be, if, for any reason, any payment of the Guarantied Obligations by or on behalf of Borrowers (or
receipt of any proceeds of Collateral) shall be rescinded, invalidated, declared to be fraudulent or
preferential, set aside, voided or otherwise required to be repaid to Borrowers, its estate, trustee,
receiver or any other Person (including under the Bankruptcy Code), or must otherwise be restored
by the Lender in the Chapter 11 Cases of the Borrowers.




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8.       EVENTS OF DEFAULT.

         8.1   Event of Default

. Any one or more of the following events shall constitute an event of default following giving of
any applicable notice (if required) and the expiration of the applicable cure period (if any) (each,
an “Event of Default”) under this Agreement:

               (a)    Any Loan Party shall fail to pay any Obligation to the Lender when due,
including, but not limited to, the payment of principal, interest or any fees or costs due to the
Lender under this Agreement or any Loan Document;

                 (b)     Any Loan Party shall fail to comply with its obligations under Sections 5.1,
5.2, 5.3, 5.4, 5.8, 5.11, 5.12, Section 6 and/or Section 9;

                 (c)   Other than as set forth in any other sub-section of this Section 8.1, any Loan
Party, as applicable, shall fail to perform, or otherwise breach, any of its respective covenants or
obligations contained in this Agreement, which failure or breach shall continue for ten
(10) Business Days after the earlier to occur of (i) the date on which such failure to comply is
known or reasonably should have become known to any officer of the relevant Loan Party, or
(ii) the date on which Lender shall have notified the relevant Loan Party of such failure; provided,
however, that such ten (10) Business Day period shall not apply in the case of any failure which is
not capable of being cured at all or within such ten (10) Business Day period;

                (d)    Any representation or warranty made by any Loan Party in this Agreement
or in any agreement, certificate, instrument or financial statement or other statement delivered to
the Lender pursuant to or in connection with this Agreement shall prove to have been incorrect in
any material respect when made or deemed made, which failure or breach shall continue for ten
(10) Business Days after the date upon which such default is known or reasonably should have
become known to any officer of the relevant Loan Party or it has received a written notice of such
failure or breach from the Lender;

               (e)     Except upon the Lender’s prior written request or with the Lender’s express
prior written consent (and no such consent shall be implied from any other action, inaction, or
acquiescence of the Lender), any Loan Party shall file a motion with the Bankruptcy Court or any
other court with jurisdiction in the matter seeking an order, or an order is otherwise entered,
modifying, reversing, revoking, staying, rescinding, vacating, or amending the Interim Order, the
Final Order or any of the Loan Documents;

                (f)    Borrowers shall file or obtain Bankruptcy Court approval of a disclosure
statement for a plan of reorganization that does not propose to pay in full in cash all Obligations
on the effective date of said plan;

                (g)     Any Loan Party shall file any motion or application, or the Bankruptcy
Court allows the motion or application of any other Person, which seeks approval for or allowance
of any claim, lien, security interest ranking equal or senior in priority to the claims, liens and
security interests granted to the Lender under the Interim Order or the Final Order, as applicable,
or with respect to the Collateral or any such equal or prior claim, lien, or security interest shall be


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established in any manner, except, in any case, as expressly permitted under the Interim Order or
the Final Order, as applicable;

               (h)     The Interim Order or the Final Order, as applicable, shall cease to be in full
force and effect from and after the date of entry thereof by the Bankruptcy Court;

               (i)    The occurrence of any default or event of default under the Interim Order
or the Final Order, as applicable, and the continuance thereof after any grace or cure period
provided in such order or granted by order of a court in the Bankruptcy Cases;

                (j)     The entry of an order which provides relief from the automatic stay
otherwise imposed pursuant to Section 362 of the Bankruptcy Code, which order permits any
creditor, other than the Lender (other than any creditor having a Lien on specific equipment that
is senior to the Lender), to realize upon, or to exercise any right or remedy with respect to, the
Collateral;

                (k)    Conversion of the Chapter 11 Case to a Chapter 7 case under the
Bankruptcy Code, or dismissal of the Chapter 11 Case or any subsequent Chapter 7 case either
voluntarily or involuntarily and the Obligations are not simultaneously indefeasibly paid in full;

               (l)     The Interim Order or the Final Order, as applicable, is modified, reversed,
revoked, remanded, stayed, rescinded, vacated or amended on appeal or by the Bankruptcy Court
without the prior written consent of Lender (and no such consent shall be implied from any other
authorization or acquiescence by Lender);

              (m)     A trustee or an examiner with special powers is appointed pursuant to
Section 1104 of the Bankruptcy Code;

               (n)    A chapter 11 plan is confirmed that does not provide for the payment in full
in cash of all Obligations on the effective date thereof, together with releases, exculpations,
waivers and indemnifications for the Lender and Lender Related Persons; or

               (o)     The occurrence of a Change of Control.

       8.2     Rights and Remedies.

               (a)     Upon the occurrence and during the continuance of an Event of Default, and
notwithstanding Section 362 of the Bankruptcy Code and without further order of the Bankruptcy
Court or any other court or the initiation of any further proceeding with the Loan Parties except as
provided in this Section 8.2, in addition to any other rights or remedies provided for hereunder or
under any other Loan Document (including the Interim Order or the Final Order, as applicable) or
by the UCC or any other applicable law, the Lender may do any one or more of the following:

                       (i)     declare the Obligations, whether evidenced by this Agreement or by
       any of the other Loan Documents immediately due and payable, whereupon the same shall
       become and be immediately due and payable, without presentment, demand, protest, or
       further notice or other requirements of any kind, all of which are hereby expressly waived
       by the Loan Parties;



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                       (ii)   upon three (3) Business Days’ notice to the Loan Parties,
       Borrowers’ lead bankruptcy counsel and the United States Trustee and lead counsel for any
       creditors’ committee, terminate the Borrowers’ ability to use Cash Collateral other than
       amounts used for purposes and in a manner otherwise permitted by this Agreement and
       held in operating accounts subject to deposit account control agreements in favor of Lender
       until such time as Borrowers are no longer in possession of their revenue generating
       properties;

                       (iii)    charge interest at the Default Rate;

                        (iv)    upon five (5) days’ prior written notice (which period shall be
       deemed to be reasonable notice) to the Loan Parties, Borrower’s lead bankruptcy counsel
       and the United States Trustee and lead counsel for any creditors’ committee, obtain and
       liquidate the Collateral. If notice of disposition of Collateral is required by law, ten (10)
       days prior notice by the Lender to the Loan Parties designating the time and place of any
       public sale or the time after which any private sale or other intended disposition of
       Collateral is to be made, shall be deemed to be reasonable notice thereof and shall constitute
       “authenticated notice of disposition” within the meaning of Section 9-611 of the UCC, and
       the Loan Parties waive any other notice. The Lender may bid for and purchase the
       Collateral at any public sale. The Lender may bid and purchase any Collateral at a private
       sale if the Collateral in question has a readily ascertainable market value;

                      (v)    require the applicable Loan Party to assemble all of the Collateral
       constituting personal property without judicial process pursuant to Section 9-609 of the
       UCC;

                      (vi)    upon five (5) days’ prior written notice (which period shall be
       deemed to be reasonable notice) to the Loan Parties and the Borrowers’ lead bankruptcy
       counsel and the United States Trustee and lead counsel for any creditors’ committee, take
       possession of all Collateral constituting tangible personal property without judicial process
       pursuant to Section 9-609 of the UCC; and

                      (vii) exercise any of its other rights under the Loan Documents, any rights
       granted under the Interim Order or Final Order, as applicable, and applicable law.

                (b)     To the extent an Event of Default occurs as a result of the Loan Parties’
failure to indefeasibly satisfy the Obligations in full by the Stated Maturity Date, the Loan Parties
waive any right (a) to any notice period set forth in Section 8.2 (except to the extent a notice period
is required by operation of law) and (b) to challenge (i) whether or not the Maturity Date or an
Event of Default has occurred, (ii) the Lender’s exercise of its rights and remedies against the
Collateral, including without limitation, any foreclosure through a state court proceeding, and (iii)
the applicability of the Default Rate or the Stated Maturity Date Fee.

       8.3     Application of Proceeds upon Event of Default

. Lender shall apply the cash proceeds actually received from any foreclosure sale, other
disposition of the Collateral upon an Event of Default as follows: (i) first, to Lender Expenses
consisting of reasonable attorneys’ fees and all expenses (including, but not limited to, court costs,


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reasonable advertising expenses, auctioneer’s fees, premiums for any required bonds, auditor’s
fees, amounts advanced for taxes and other reasonable expenses) incurred by the Lender in
attempting to enforce this Agreement or in the prosecution or defense of any action or proceeding
related to the subject matter of this Agreement; (ii) second, to the discharge of any accrued but
unpaid Fees (including, but not limited to, the Exit Fee and the Stated Maturity Date Fee),
(iii) third, to the discharge of any accrued but unpaid interest on the Obligations, (iv) fourth, to the
outstanding principal balance of any Obligations, (v) fifth, to the satisfaction of the other security
interests and liens of record which are inferior to the security interest created by this Agreement,
in order of their priority; and (vi) sixth, to pay any remaining surplus to Lead Borrower, on behalf
of the Loan Parties collectively.

         8.4    Remedies Cumulative

. The rights and remedies of Lender under this Agreement, the other Loan Documents, and all
other agreements shall be cumulative. Lender shall have all other rights and remedies not
inconsistent herewith as provided under the UCC, by law, or in equity. No exercise by Lender of
one right or remedy shall be deemed an election, and no waiver by Lender of any Event of Default
shall be deemed a continuing waiver. No delay by Lender shall constitute a waiver, election, or
acquiescence by it.

         8.5    Acknowledgments

       . Notwithstanding anything herein to the contrary, Lender acknowledges and agrees that
in no event shall an “event of default” or “default” under the Prepetition Credit Agreement, any
Site Lease or any other Indebtedness of any Borrower (other than the Indebtedness evidenced by
this Agreement and the other Loan Documents), cause a Default or Event of Default hereunder, or
cause a breach of any covenant described in Section 5 or Section 6 of this Agreement.

9.       PRIORITY AND COLLATERAL SECURITY

         9.1    Superpriority Claims; Subordination in favor of Lender Liens.

               (a)     Each Borrower warrants and covenants that, except as otherwise expressly
provided in this paragraph, upon the entry of the Interim Order or the Final Order, as applicable,
the Obligations of any Borrower under the Loan Documents (including without limitation the Roll
Up Loan):

                        (i)    Shall, in accordance with section 364(c)(1) of the Bankruptcy Code,
         constitute allowed senior administrative expense claims against each Borrower and their
         estates (the “Superpriority Claims”) with priority in payment over any and all
         administrative expenses at any time existing or arising, of any kind or nature whatsoever,
         including, without limitation, the kinds specified or ordered pursuant to any provision of
         the Bankruptcy Code, including, but not limited to, Sections 105, 326, 328, 330, 331,
         503(b), 506(c) (subject to the entry of the Final Order with respect to Section 506(c) only),
         507(a), 507(b), 726, 1113 and 1114 of the Bankruptcy Code or otherwise, including those
         resulting from the conversion of any of the Chapter 11 Cases pursuant to Section 1112 of
         the Bankruptcy Code, whether or not such expenses or claims may become secured by a
         judgment lien or other non-consensual lien, levy or attachment; provided, however, that


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       the Superpriority Claims shall be subject to and subordinate to only the Carve-Out;
       provided, further that the Superpriority Claims shall have recourse to and be payable from
       all prepetition and postpetition property and assets of the Debtors and the estates and all
       Collateral and all proceeds thereof, and (a) any and all avoidance power claims or causes
       of action under Sections 544, 545, 547, 548 through 551 and 553(b) of the Bankruptcy
       Code (the “Avoidance Actions”) and the proceeds thereof, (b) prepetition tort claims,
       including claims against the Debtors’ current and former directors and officers (if any) and
       the proceeds thereof; and (c) any deposit in connection with a proposed Sale (whether
       terminated or otherwise) that becomes property of the Debtors’ estates (a “Sale Deposit”)
       subject, however, only to the senior lien rights of a stalking horse purchaser and such
       stalking horse bid protections as may be approved by the Bankruptcy Court;

                      (ii)   shall be secured by valid, enforceable, non-avoidable and perfected
       priming liens on and security interests in favor of the Lender in all Collateral in which any
       Borrower has any right, title or interest, in accordance with the Required Lien Priority.

                (b)     In the event any of the Collateral is transferred to any Borrower, such
transfer shall be subject in all respects to the Lender’s Liens.

                (c)    The Superpriority Claims referred to in this Section 9.1 shall have the
priority afforded to such Superpriority Claims in the Interim Order and upon entry thereof, the
Final Order.

       9.2     Grant of Security Interest in the Collateral

. To secure the payment and performance of the Obligations, each Borrower hereby grants,
collaterally pledges and assigns to Lender the following:

                (a)      Liens Priming the Prepetition Credit Liens. Pursuant to Section 364(d)(1)
of the Bankruptcy Code, valid, binding, continuing, enforceable, non-avoidable automatically and
fully perfected first priority senior priming liens and security interests in all Collateral, regardless
of where located, which senior priming liens and security interests in favor of the Lender shall be
senior to all Prepetition Credit Liens. For the avoidance of doubt, as a result of the priming of the
Prepetition Credit Liens pursuant to this Interim Order, the Lender shall have a first priority senior
priming lien and security interest in, among other things, (A) all of the assets of GCFB and its
debtor and non-debtor Subsidiaries, including, but not limited to, the “Collateral” as defined in the
Prepetition Credit Agreement, and (B) the Debtors’ prepetition and postpetition commercial tort
claims, including but not limited to all claims and causes of action (i) against the Debtors’ officers
and directors, and (ii) all other prepetition tort claims, and the proceeds thereof (regardless of
whether such proceeds arise from damages to the Prepetition Collateral).

                (b)      Liens on Unencumbered Property. Pursuant to Section 364(c)(2) of the
Bankruptcy Code, valid, binding, continuing, enforceable, non-avoidable automatically and fully
perfected first priority liens on and security interests in all Collateral that is not otherwise subject
to any Permitted Prior Lien. As used herein, the term “Permitted Prior Lien” shall mean any valid,
enforceable, and non-avoidable liens on and security interests in the Collateral that (A) were
perfected prior to the Petition Date (or perfected on or after the Petition Date to the extent permitted



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by Section 546(b) of the Bankruptcy Code), (B) are not subject to avoidance, disallowance, or
subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law, and (C) are
senior in priority to the Lender’s Liens under applicable law and after giving effect to any lien
release, subordination or inter-creditor agreements; provided, however, that the Lender’s Liens
shall have priority over all Prepetition Credit Liens; and

               (c)     Liens Junior to Certain Other Liens. Pursuant to Section 364(c)(3) of the
Bankruptcy Code, valid, enforceable, non-avoidable automatically and fully perfected junior liens
on and security interests in all Collateral (other than as set forth in clauses (i) and (ii)) subordinate
only to the Permitted Prior Liens.

The Lien priorities set forth above shall be referred to as the “Required Lien Priorities”.

        9.3     Representations and Warranties in Connection with Security Interest

. Each Loan Party represents and warrants to the Lender as follows:

                (a)     Such Loan Party has full right and power to grant to the Lender a perfected,
security interest and Lien, in accordance with the Required Lien Priority, on such Loan Party’s
respective interests in the Collateral pursuant to this Agreement and the other Loan Documents,
and with respect to Borrowers upon entry of the Interim Order.

                (b)     Upon (i) the execution and delivery of this Agreement, (ii) the filing of the
necessary financing statements and other appropriate filings or recordations and/or delivery of any
necessary certificates, as applicable, and (iii) the entry of the Interim Order, the Lender will have
a good, valid and perfected Lien and security interest in the Collateral granted by the applicable
Loan Party, in accordance with the Required Lien Priority, subject to no transfer or other
restrictions or Liens of any kind in favor of any other Person.

               (c)      As of the Closing Date, no financing statement, mortgage or any other
evidence of lien relating to any of the Collateral granted by such Loan Party is on file in any public
office except those on behalf of the Lender, other than the filings made by the Loan Parties’ pre-
Petition Date lenders or creditors as referenced in Schedule 4.4.

              (d)   As of the Closing Date, such Loan Party is not party or otherwise subject to
any agreement, document or instrument that conflicts with this Section 9.3.

        9.4     Covenants with Respect to Collateral

. As long as any Obligations are outstanding, each Loan Party covenants and agrees as follows:

                (a)    Such Loan Party shall not sell, transfer, give, assign or in any other manner
dispose of all or any portion of, or any interest in, any of the Collateral, except to the extent
permitted by this Agreement. Such Loan Party shall not permit or suffer to exist any Liens or
security interests encumbering any of the Collateral other than as permitted under this Agreement.

              (b)    Lead Borrower shall inform the Lender of any default or event of default
under any agreement comprising the Collateral that materially and adversely impacts the Collateral



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or its value as soon as practicable upon any Loan Party becoming aware of any such default or
event of default, and shall exercise remedies thereunder at the instruction of, or with the prior
written consent of, the Lender.

               (c)     Such Loan Party shall not consolidate with or merge with or into any other
corporation, or liquidate or dissolve, without the prior written consent of the Lender. Such Loan
Party shall not sell all or substantially all of its assets, except as otherwise permitted by this
Agreement or otherwise with the prior written consent of the Lender.

                 (d)    Such Loan Party shall not change the jurisdiction of its formation without
the prior written consent of the Lender. Such Loan Party shall not change its name or the location
of its principal executive office without giving the Lender thirty (30) days’ prior written notice.

               (e)     The Collateral shall be kept only at the locations set forth on Schedule 9.4(e)
and shall not be moved from such locations without the prior consent of the Lender, except for
ordinary course activities incidental to the operation of the Loan Parties businesses.

               (f)      With respect to any Deposit Account of a Loan Party, the relevant Loan
Party shall cause the depositary institution maintaining such account to enter into a Control
Agreement (in such depositary institution’s form thereof or such other form acceptable to such
depositary institution) in favor of the Lender within thirty (30) days after the funding of the first
Advance, as such date may be extended by the Lender in its reasonable discretion.

      9.5     Lender’s Ability to Perform Obligations on Behalf of Loan Parties with
Respect to the Collateral

. The Lender shall have the right, but not the obligation, to perform on such Loan Party’s behalf
any or all of such Loan Party’s obligations under this Agreement with respect to the Collateral,
when such obligations are due, at the expense, for the account and at the sole risk of the applicable
Loan Party.

       9.6     Filing of Financing Statements

. Each Loan Party irrevocably authorizes the Lender to prepare and file financing statements
provided for by the UCC, including, without limitation, describing such property as “all assets,
whether now owned or hereafter acquired, developed or created” or words of similar effect, to
perfect the Lender’s security interest in the Collateral, in all jurisdictions in which the Lender
believes in its sole opinion that such filing is appropriate. Each Loan Party also irrevocably
authorizes the Lender to file such continuation statements and amendments and to take such other
action as may be required or appropriate, in either case in Lender’s sole judgment, in order to
perfect and to continue the perfection of Lender’s security interests in the Collateral, unless
prohibited by law.

       9.7     No Discharge; Survival of Claims

. Pursuant to Section 1141(d)(4) of the Bankruptcy Code, the Borrowers hereby waive any
discharge of the Obligations with respect to any plan of reorganization that shall not provide for
the indefeasible payment in full in cash of the Obligations under this Agreement.


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10.    WAIVERS; INDEMNIFICATION.

       10.1    Demand; Protest; etc

. To the extent permitted by applicable law or as expressly required pursuant to the terms of this
Agreement, each Loan Party waives demand, protest, notice of protest, notice of default or
dishonor, notice of payment and nonpayment, nonpayment at maturity, release, compromise,
settlement, extension, or renewal of documents, instruments, chattel paper, and guarantees at any
time held by Lender on which such Loan Party may in any way be liable.

       10.2    Lender’s Liability for Collateral

. As long as Lender complies with its obligations, if any, under the UCC, Lender shall not in any
way or manner be liable or responsible for: (i) the safekeeping of the Collateral, (ii) any loss or
damage thereto occurring or arising in any manner or fashion from any cause, (iii) any diminution
in the value thereof, or (iv) any act or default of any carrier, warehouseman, bailee, forwarding
agency, or other Person. All risk of loss, damage, or destruction of the Collateral shall be borne
by the Loan Parties, except any thereof resulting from the gross negligence, bad faith or willful
misconduct of Lender as finally determined by a court of competent jurisdiction.

       10.3    Indemnification

. Each Loan Party shall pay, indemnify, defend, and hold the Lender Related Persons (each, an
“Indemnified Person”) harmless (to the fullest extent permitted by law) from and against any and
all claims, demands, suits, actions, investigations, proceedings, liabilities, fines, costs, penalties,
and actual damages, and all reasonable out-of-pocket fees and disbursements of attorneys, experts,
or consultants and all other costs and expenses actually incurred in connection therewith or in
connection with the enforcement of this indemnification (as and when they are incurred and
irrespective of whether suit is brought), at any time asserted against, imposed upon, or incurred by
any of them (a) in connection with or as a result of or related to the execution and delivery,
enforcement, performance, or administration (including any restructuring or workout with respect
hereto) of this Agreement, any of the other Loan Documents, or the transactions contemplated
hereby or thereby or the monitoring of the Loan Parties’ compliance with the terms of the Loan
Documents, (b) with respect to any investigation, litigation, or proceeding related to this
Agreement, any other Loan Document, or the use of the proceeds of the credit provided hereunder
(irrespective of whether any Indemnified Person is a party thereto), or any act, omission, event, or
circumstance in any manner related thereto, and (c) in connection with or arising out of any
presence or release of Hazardous Materials at, on, under, to or from any Collateral or any
Environmental Actions, Environmental Liabilities or Remedial Actions related in any way to any
Collateral (each and all of the foregoing, the “Indemnified Liabilities”). The foregoing to the
contrary notwithstanding, the Loan Parties shall have no obligation to any Indemnified Person
under this Section 10.3 with respect to any Indemnified Liability that a court of competent
jurisdiction finally determines to have resulted from the gross negligence or willful misconduct of
such Indemnified Person or its officers, directors, employees, attorneys, or agents. This provision
shall survive the termination of this Agreement and the repayment of the Obligations. If any
Indemnified Person makes any payment to any other Indemnified Person with respect to an
Indemnified Liability as to which any Loan Party was required to indemnify the Indemnified



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Person receiving such payment, the Indemnified Person making such payment is entitled to be
indemnified and reimbursed by such Loan Party with respect thereto. WITHOUT LIMITATION
OF THE FOREGOING, THE INDEMNITY ABOVE SHALL APPLY TO EACH
INDEMNIFIED PERSON WITH RESPECT TO INDEMNIFIED LIABILITIES WHICH
IN WHOLE OR IN PART ARE CAUSED BY OR ARISE OUT OF ANY NEGLIGENT
ACT OR OMISSION OF SUCH INDEMNIFIED PERSON.

11.    NOTICES.

        All notices or demands relating to this Agreement or any other Loan Document shall be in
writing and shall be personally delivered or sent by registered or certified mail (postage prepaid,
return receipt requested), overnight courier, or electronic mail (at such email addresses as a party
may designate in accordance herewith). In the case of notices or demands to any party hereunder
or any service of process to any party hereunder, they shall be sent to the respective addresses set
forth below:

               If to any Loan Party:

                                       Granite City Food & Brewery Ltd.
                                       3500 American Blvd W., Suite 450
                                       Bloomington, MN 55431
                                       Attn: Mr. Nathan G. Hjelseth
                                       Telephone: (952) 646-2307
                                       Email address: nhjelseth@gcfb.net


               With a copy, which shall not constitute notice to:

                                       Briggs and Morgan, Professional Association
                                       2200 IDS Center
                                       80 South 8th Street
                                       Minneapolis, MN 55402
                                       Attn: James Jorissen
                                       Telephone: 612-977-8400
                                       Email: JJorissen@Briggs.com

                                       Attn: Brett Anderson
                                       Telephone: 612-977-8400
                                       Email: BAnderson@Briggs.com

               If to Lender:

                                       JMB Capital Partners Lending, LLC
                                       1999 Avenue of the Stars, Suite 2040
                                       Los Angeles, CA 90067
                                       Attn: Vikas Tandon
                                       Telephone: 310-286-2929



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                                       Facsimile: 310-286-6662

               with copies to:

                                       Arent Fox LLP
                                       1301 Avenue of the Americas, 42nd Fl.
                                       New York, NY 10019-6040
                                       Attn: Rob Hirsh
                                       Telephone: 212-457-5430
                                       Email: robert.hirsh@arentfox.com

                                       Attn: Jordana Renert
                                       Telephone: 212-457-5476
                                       Email: jordana.renert@arentfox.com

Any party hereto may change the address at which they are to receive notices hereunder, by notice
in writing in the foregoing manner given to the other party. All notices or demands sent in
accordance with this Section 11, shall be deemed received on the earlier of the date of actual receipt
or three (3) Business Days after the deposit thereof in the mail; provided, that (a) notices sent by
overnight courier service shall be deemed to have been given when received, and (b) notices by
electronic mail shall be deemed received when sent upon confirmation of transmission as
evidenced by a delivery receipt or similar electronic mail function. If any notice, disclosure, or
report is required to be delivered pursuant to the terms of this Agreement on a day that is not a
Business Day, such notice, disclosure, or report shall be deemed to have been required to be
delivered on the immediately following Business Day.

12.    CHOICE OF LAW AND VENUE; JURY TRIAL WAIVER.

           (a)  THE VALIDITY OF THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS (UNLESS EXPRESSLY PROVIDED TO THE CONTRARY IN ANOTHER
LOAN DOCUMENT IN RESPECT OF SUCH OTHER LOAN DOCUMENT), THE
CONSTRUCTION, INTERPRETATION, AND ENFORCEMENT HEREOF AND THEREOF,
AND THE RIGHTS OF THE PARTIES HERETO AND THERETO WITH RESPECT TO ALL
MATTERS ARISING HEREUNDER OR THEREUNDER OR RELATED HERETO OR
THERETO SHALL BE DETERMINED UNDER, GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK.

          (b)  THE PARTIES AGREE THAT ALL ACTIONS OR PROCEEDINGS
ARISING IN CONNECTION WITH THIS AGREEMENT AND THE OTHER LOAN
DOCUMENTS SHALL BE TRIED AND LITIGATED ONLY IN THE BANKRUPTCY COURT
AND, TO THE EXTENT PERMITTED BY APPLICABLE LAW, FEDERAL COURTS
LOCATED IN NEW YORK; PROVIDED, HOWEVER, THAT ANY SUIT SEEKING
ENFORCEMENT AGAINST ANY COLLATERAL OR OTHER PROPERTY MAY BE
BROUGHT, AT LENDER’S OPTION, IN THE COURTS OF ANY JURISDICTION WHERE
LENDER ELECTS TO BRING SUCH ACTION OR WHERE SUCH COLLATERAL OR
OTHER PROPERTY MAY BE FOUND. EACH LOAN PARTY AND LENDER WAIVE, TO
THE EXTENT PERMITTED UNDER APPLICABLE LAW, ANY RIGHT EACH MAY HAVE



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TO ASSERT THE DOCTRINE OF FORUM NON CONVENIENS OR TO OBJECT TO VENUE
TO THE EXTENT ANY PROCEEDING IS BROUGHT IN ACCORDANCE WITH THIS
SECTION 12(b); PROVIDED, FURTHER, HOWEVER, THAT ALL PARTIES HEREBY
AGREE THAT THEY HAVE CONSENTED TO THE JURISDICTION OF THE
BANKRUPTCY COURT AND THAT THE BANKRUPTCY COURT WILL RETAIN
EXCLUSIVE JURISDICTION WITH RESPECT TO ALL DISPUTES SO LONG AS THE
CHAPTER 11 CASE REMAINS PENDING.

           (c)   TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EACH LOAN PARTY AND LENDER HEREBY WAIVE THEIR RESPECTIVE RIGHTS TO
A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT
OF ANY OF THE LOAN DOCUMENTS OR ANY OF THE TRANSACTIONS
CONTEMPLATED THEREIN, INCLUDING CONTRACT CLAIMS, TORT CLAIMS,
BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW OR STATUTORY
CLAIMS. EACH LOAN PARTY AND LENDER REPRESENT THAT EACH SUCH PARTY
HAS REVIEWED THIS WAIVER AND EACH KNOWINGLY AND VOLUNTARILY
WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL
COUNSEL. IN THE EVENT OF LITIGATION, A COPY OF THIS AGREEMENT MAY BE
FILED AS A WRITTEN CONSENT TO A TRIAL BY THE COURT.

13.    AMENDMENTS; WAIVERS; SUCCESSORS; INDEMNIFICATION.

       13.1    Amendments and Waivers

. No amendment, waiver or other modification of any provision of this Agreement or any other
Loan Document, and no consent with respect to any departure by any Loan Party therefrom, shall
be effective unless the same shall be in writing and signed by Lender and Loan Parties that are
party thereto and then any such waiver or consent shall be effective, but only in the specific
instance and for the specific purpose for which given.

       13.2    No Waivers; Cumulative Remedies

. No failure by Lender to exercise any right, remedy, or option under this Agreement or any other
Loan Document, or delay by Lender in exercising the same, will operate as a waiver thereof. No
waiver by Lender will be effective unless it is in writing, and then only to the extent specifically
stated. No waiver by Lender on any occasion shall affect or diminish Lender’s rights thereafter to
require strict performance by Loan Parties of any provision of this Agreement. Lender’s rights
under this Agreement and the other Loan Documents will be cumulative and not exclusive of any
other right or remedy that Lender may have.

       13.3    Successors

. This Agreement shall bind and inure to the benefit of the respective successors and assigns of
each of the parties; provided that no Loan Party may assign this Agreement or any rights or duties
hereunder without Lender’s prior written consent and such consent shall not, unless otherwise
provided in such consent, release any Loan Party from its Obligations. Any assignment by a Loan
Party which is not explicitly permitted hereunder shall be absolutely void ab initio. Lender may
assign all or part of its rights and duties hereunder without consent from any other party. Lender


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may assign this Agreement and the other Loan Documents and its rights and duties hereunder and
thereunder or assign any Advances or Commitment (in whole or in part) to an Affiliate without
notice to or consent of any Loan Party.

14.    GENERAL PROVISIONS.

       14.1    Effectiveness

. This Agreement shall be binding and deemed effective when executed by the Loan Parties and
Lender.

       14.2    Section Headings

. Headings and numbers have been set forth herein for convenience only. Unless the contrary is
compelled by the context, everything contained in each Section applies equally to this entire
Agreement.

       14.3    Interpretation

. Neither this Agreement nor any uncertainty or ambiguity herein shall be construed against Lender
or any Loan Party, whether under any rule of construction or otherwise. On the contrary, this
Agreement has been reviewed by all parties and shall be construed and interpreted according to
the ordinary meaning of the words used so as to accomplish fairly the purposes and intentions of
all parties hereto.

       14.4    Severability of Provisions

. Each provision of this Agreement shall be severable from every other provision of this
Agreement for the purpose of determining the legal enforceability of any specific provision.

       14.5    Debtor-Creditor Relationship

. The relationship between Lender, on the one hand, and each Loan Party, on the other hand, is
solely that of creditor and debtor, as applicable. Lender does not have (and shall not be deemed
to have) any fiduciary relationship or duty to any Loan Party arising out of or in connection with
the Loan Documents or the transactions contemplated thereby, and there is no agency or joint
venture relationship between Lender, on the one hand, and Loan Parties, on the other hand, by
virtue of any Loan Document or any transaction contemplated therein.

       14.6    Counterparts; Electronic Execution

. This Agreement may be executed in any number of counterparts and by different parties on
separate counterparts, each of which, when executed and delivered, shall be deemed to be an
original, and all of which, when taken together, shall constitute but one and the same Agreement.
Delivery of an executed counterpart of this Agreement by facsimile or other electronic method of
transmission shall be equally as effective as delivery of an original executed counterpart of this
Agreement. Any party delivering an executed counterpart of this Agreement by facsimile or other
electronic method of transmission also shall deliver an original executed counterpart of this



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Agreement but the failure to deliver an original executed counterpart shall not affect the validity,
enforceability, and binding effect of this Agreement. The foregoing shall apply to each other Loan
Document mutatis mutandis.

       14.7    Revival and Reinstatement of Obligations

. If the incurrence or payment of the Obligations by Loan Parties or the transfer to Lender of any
property should for any reason subsequently be asserted, or declared, to be void or voidable under
any state or federal law relating to creditors’ rights, including provisions of the Bankruptcy Code
relating to fraudulent conveyances, preferences, or other voidable or recoverable payments of
money or transfers of property (each, a “Voidable Transfer”), and if Lender is required to repay or
restore, in whole or in part, any such Voidable Transfer, or elects to do so upon the reasonable
advice of its counsel, then, as to any such Voidable Transfer, or the amount thereof that Lender is
required or elects to repay or restore, and as to all reasonable and actual out-of-pocket costs,
expenses, and attorneys’ fees of Lender related thereto, the liability of Loan Parties automatically
shall be revived, reinstated, and restored and shall exist as though such Voidable Transfer had
never been made.

       14.8    Lender Expenses

. Notwithstanding the Work Fee, the Borrowers agree to pay any and all Lender Expenses
(exclusive of those covered by the Work Fee) promptly after written demand therefor by Lender
and that such Obligations shall survive payment or satisfaction in full of all other Obligations.

       14.9    Integration

. This Agreement, together with the other Loan Documents, reflects the entire understanding of
the parties with respect to the transactions contemplated hereby and shall not be contradicted or
qualified by any other agreement, oral or written, before the date hereof.

15.    JOINT AND SEVERAL LIABILITY AMONG BORROWERS

       Each Borrower acknowledges, represents and warrants the following:

       15.1    Inducement

. Lender has been induced to make the Advances to Borrowers in part based upon the assurances
by each Borrower that such Borrower desires that the Advances be honored and enforced as
separate obligations of such Borrower, should Lender desire to do so.

       15.2    Combined Liability

. Notwithstanding the foregoing, the Advances and the other Obligations constitute the joint and
several obligations of each and every Borrower, and Lender may at its option enforce the entire
amount of the Advances and the other obligations of any Borrower against any one or more
Borrowers.

       15.3    Separate Exercise of Remedies



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. Lender may exercise remedies against each Borrower and its property separately, whether or not
Lender exercises remedies against any other Borrower or its property. Lender may enforce one or
more Borrower’s Obligations without enforcing any other Borrower’s Obligations. Any failure or
inability of Lender to enforce one or more Borrower’s Obligations shall not in any way limit
Lender’s right to enforce the Obligations of any other Borrower. If Lender forecloses or exercises
similar remedies on any Collateral, then such foreclosure or similar remedy shall be deemed to
reduce the balance of the Advances only to the extent of the cash proceeds actually realized by
Lender from such foreclosure or similar remedy or, if applicable, Lender’s credit bid at such sale,
regardless of the effect of such foreclosure or similar remedy on the Advances secured by such
Collateral under the applicable state law.

                                    [Signature pages follow.]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed and delivered as of the date first above written.

                                         BORROWERS:

                                         GRANITE CITY FOOD & BREWERY, LTD., a
                                         Minnesota corporation

                                         By: ______________________________
                                         Name:____________________________
                                         Title: ______________________________


                                         GRANITE CITY RESTAURANT
                                         OPERATIONS, INC., a Minnesota corporation

                                         By: ______________________________
                                         Name:____________________________
                                         Title: ______________________________


                                         GRANITE CITY OF KANSAS LTD., a Kansas
                                         corporation


                                         By: ______________________________
                                         Name:____________________________
                                         Title: ______________________________


                                         GRANITE CITY OF INDIANA, INC., an
                                         Indiana corporation

                                         By: ______________________________
                                         Name:____________________________
                                         Title: ______________________________


                                         GRANITE CITY—OHIO, INC., an Ohio
                                         corporation

                                         By: ______________________________
                                         Name:____________________________
                                         Title: ______________________________




             [Signature Page to Granite City DIP Loan and Security Agreement]
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                                     GRANITE CITY OF MARYLAND, INC., a
                                     Maryland corporation

                                     By: ______________________________
                                     Name:____________________________
                                     Title: ______________________________


                                     GUARANTORS:

                                     GRANITE CITY--ORLAND PARK, INC., an
                                     Illinois corporation

                                     By: ______________________________
                                     Name:____________________________
                                     Title: ______________________________


                                     GRANITE CITY – ARKANSAS, INC., a
                                     Minnesota corporation

                                     By: ______________________________
                                     Name:____________________________
                                     Title: ______________________________

                                     GRANITE CITY—CREVE COEUR, INC., a
                                     Missouri corporation


                                     By: ______________________________
                                     Name:____________________________
                                     Title: ______________________________


                                     GRANITE CITY—ROCKFORD, INC., an
                                     Illinois corporation

                                     By: ______________________________
                                     Name:____________________________
                                     Title: ______________________________




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                                     GRANITE CITY—PEORIA, INC., an Illinois
                                     corporation


                                     By: ______________________________
                                     Name:____________________________
                                     Title: ______________________________




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                                         LENDER:

                                         JMB CAPITAL PARTNERS LENDING,
                                         LLC


                                         By:
                                         Name: Vikas Tandon
                                         Title: Manager




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                                            EXHIBIT A

                                 Form of Compliance Certificate

                               Date: ____________________, 2019


       This Compliance Certificate (this “Certificate”) is given to JMB Capital Partners Lending
LLC, a California limited liability company (together with its successors and assigns, the
“Lender”), by Granite City Food & Brewery Ltd. a Minnesota corporation, in its capacity as Lead
Borrower, pursuant to Section 5.1 of that certain Senior Secured, Super-Priority
Debtor-In-Possession Loan and Securities Agreement dated as of December __, 2019 (as the same
has been amended through the date hereof, the “Loan Agreement”) among Granite City Food &
Brewery Ltd., the other Borrowers party thereto, their Affiliates party thereto as Guarantors, and
JMB Capital Partners Lending, LLC, as Lender. Capitalized terms used and not defined herein
have the meanings set forth in the Loan Agreement.

The Lead Borrower hereby certifies that:

               (a)     Borrowers are in compliance with the conditions precedent set forth in
Section 3.1 and 3.2 of the Loan Agreement.

                (b)    The representations and warranties of the Loan Parties contained in the
Loan Agreement and in the other Loan Documents are true and correct in all material respects
(except that such materiality qualifier shall not be applicable to any representations and warranties
that already are qualified or modified by materiality in the text thereof) on and as of the date of
such extension of credit, as though made on and as of such date (except to the extent that such
representations and warranties relate solely to an earlier date).

               (c)    No Default or Event of Default shall have occurred and be continuing on
the requested funding date, nor shall either result from the making thereof.

                (d)    The Interim Order or the Final Order, as applicable, has been entered by the
Bankruptcy Court in form and substance satisfactory to Lender in its sole discretion, and remains
in full force and effect on the date hereof and has not been, from the time of the entry of such
order, modified or amended (unless otherwise approved by the Lender), reversed, stayed or subject
to a motion for re-argument or reconsideration, or appealed.

                (e)     No injunction, writ, restraining order, or other order of any nature restricting
or prohibiting, directly or indirectly, has been issued by any Governmental Authority against any
Loan Party or Lender.

                (f)    No action, proceeding, investigation, regulation or legislation has been
instituted or threatened before any Governmental Authority to enjoin, restrain or prohibit, or to
obtain damages in respect of, or which is related to or arises out of the Loan Agreement or any of
the other Loan Documents or the consummation of the transactions contemplated thereby.


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IN WITNESS WHEREOF, the Lead Borrower has caused this Certificate to be executed this
______ day of _____, 2019.

                                       GRANITE CITY FOOD & BREWERY, LTD., a
                                       Minnesota corporation


                                       By: ______________________________
                                       Name:____________________________
                                       Title: ______________________________
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                                EXHIBIT B

                                   Budget

                                See attached.




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                                           EXHIBIT C

Reporting Requirements

        (a)     Financial Reports. Lead Borrower shall furnish to Lender, in a form satisfactory
to Lender, in its sole discretion, as soon as available and in any event within twenty-one (21) days
after the end of each calendar month:

               (i)    unaudited consolidated financial statements for such calendar month and/or
       quarter, as applicable, of the Borrowers consisting of a balance sheet, and related
       statements of income, retained earnings, cash flows and owners’ equity, all of which shall
       be certified on behalf of the Borrowers by an Authorized Person as being in compliance
       with this paragraph (a);

               (ii)   an operating report for Borrowers, including a detailed comparison of the
       actual year-to-date operating results against the Budget; and

               (iii) solely with respect to the last month of each fiscal quarter, a management
       report signed by an Authorized Person of Borrowers, describing in reasonable detail the
       Borrowers’ operations and financial condition for such month.

For the avoidance of doubt, the reports required under sub-sections (a)(i) and (a)(iii) above may
consist of the monthly operating reports as filed in the Chapter 11 Case.

All financial statements shall be prepared, and shall be complete, correct and fairly presenting in
all material respects, in each case in accordance with GAAP consistently applied with prior periods
the financial position and results of operations of the Borrower (provided that interim financial
statements shall not be required to have footnote disclosure and may be subject to normal year-end
adjustments).

        (b)     Other Materials. The Loan Parties shall furnish to Lender, in form and substance
satisfactory to Lender, as soon as available and in any event within five (5) Business Days after
the preparation, receipt or issuance thereof or request therefor by Lender, (A) copies of any reports
and management control letters provided by the Loan Parties’ independent accountants and (B)
such additional information, documents, statements, and other materials as Lender may request
from time to time in its sole discretion.

        (c)     Notices. Lead Borrower or the Loan Parties for itself, promptly, and in any event
within five (5) Business Days after any such Loan Party or any Authorized Person thereof obtains
knowledge thereof, shall notify Lender in writing of:

               (i)   any pending or threatened action, suit, proceeding or investigation
       involving a Loan Party or Subsidiary thereof, or any such Person’s property to the extent
       the amount in controversy exceeds $250,000 in the aggregate or any injunctive relief is
       sought;

              (ii)    (A) the receipt of any notice or request from any Governmental Authority
       regarding any liability or claim equal to or exceeding $250,000 in the aggregate or (B) any

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       material action taken or threatened to be taken by any Governmental Authority (or any
       notice of any of the foregoing);

              (iii) any notice regarding termination by the lessor of any lease of material real
       property (other than any such termination resulting from the scheduled expiration thereof,
       pursuant to the originally agreed upon terms) or of any senior officer, or the loss,
       termination or expiration of any Material Contract to which any Loan Party or its assets
       are bound; and

              (iv)    the filing, recording or assessment of any federal, state, local or foreign tax
       Lien against any Collateral (other than real estate taxes and municipal charges related to
       Collateral consisting of real property) or any Loan Party.

        (d)    Updates. The Loan Parties shall furnish to Lender revisions to the schedules to
any Loan Document to the extent necessary or appropriate; provided, that delivery or receipt
thereof by Lender shall not constitute a waiver by Lender or a cure of any Default or Event of
Default resulting therefrom, or result in an amendment or modification of such schedules.

        (e)     Material Adverse Change. Promptly upon an Authorized Person of any Loan
Party obtaining knowledge of any development or event pertaining to such Loan Party that has
caused, or which could reasonably be expected to cause, a Material Adverse Change with respect
to which notice is not otherwise required to be given pursuant to this Exhibit C, a certificate signed
by an Authorized Person of Lead Borrower or the relevant Loan Party setting forth the details of
such development or event and stating what action the relevant Loan Party has taken or proposes
to take with respect thereto.

        (f)    Management Letters. Promptly after the receipt thereof by any Loan Party, copies
of any management letters and any reports as to material inadequacies in accounting controls
(including reports as to the absence of any such inadequacies) submitted to such Loan Party by its
independent certified public accountants in connection with any audit of such Loan Party made by
such accountants.

       (g)     Other Information. Any other information, including financial statements and
computations, relating to the performance of any Loan Party that Lender may from time to time
request in its sole discretion and which is reasonably capable of being obtained, produced or
generated by such Loan Party.




                                            Exhibit C - 2
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                                            EXHIBIT D

                                       Request for Advance




JMB Capital Partners Lending, LLC                                         Advance Request No. ___
1999 Avenue of the Stars, Suite 2040
Los Angeles, CA 90067
Attention: Vikas Tandon

Ladies and Gentlemen:

       The undersigned, as Lead Borrower, executes and delivers this Request for Advance
(“Request”) in connection with the Senior Secured, Super-Priority Debtor-In-Possession Loan and
Security Agreement, dated as of December __, 2019 (as amended, restated, supplemented,
replaced, renewed or otherwise modified from time to time, the “Loan Agreement”) by and among
Granite City Food & Brewery Ltd., a Minnesota corporation, the other Borrowers party thereto,
their Affiliates party thereto as Guarantors, and JMB Capital Partners Lending, LLC, as Lender.
Capitalized terms used in this Request without definition shall have the same meanings herein as
they have in the Loan Agreement. This Request constitutes a Loan Document.

       Pursuant to Section 2.2 of the Loan Agreement, Borrowers hereby request an Advance in
the amount of ________ Million Dollars ($________) on _________, 2019.

       Lead Borrower hereby represents, warrants to Lender as follows:

       1.      As of this date, each Loan Party is in compliance with all of the terms and
conditions of the Loan Agreement and the other Loan Documents and no default or Event of
Default thereunder exists, nor shall result from the making of the Advance requested hereunder.

       2.       Each Loan Party’s representations and warranties set forth in the Loan Agreement,
the other Loan Documents and any other related document are true and correct in all material
respects (except that such materiality qualifier shall not be applicable to any representations and
warranties that already are qualified or modified by materiality in the text thereof) on and as of the
date hereof, as though made on and as of such date (except to the extent that such representations
and warranties relate solely to an earlier date).

        3.      As of the date of this Request, the sum of the outstanding principal under the
Facility (after giving effect to the Advance and pledge to be made on such date pursuant to this
Request) plus the amount requested in any outstanding but unfunded Request for Advances does
not violate Section 2.1 of the Loan Agreement.

                                     [Signature Page Follows]




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                                   BORROWERS:


                                   GRANITE CITY FOOD & BREWERY, LTD., a
                                   Minnesota corporation


                                   By: ______________________________
                                   Name:____________________________
                                   Title: _____________________________




                    [Signature Page to Request for Advance]
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Schedules

Schedule A-1 – Loan Account

Schedule A-2 – Authorized Persons

Schedule D-1 – Designated Account and Designated Account Bank

Schedule 4.1(a) –Organizational Chart

Schedule 4.1(b) – Borrowers and Equity Ownership

Schedule 4.4 – Existing Prepetition Liens

Schedule 4.5 – Uniform Commercial Code Filing Information

Schedule 4.6 – Litigation

Schedule 4.8 – Existing Indebtedness

Schedule 4.9 – Taxes

Schedule 4.11(b) – Site Leases and Site Lease Defaults

Schedule 4.12 –Maintenance of Properties; Permits

Schedule 9.4(e) – Collateral Locations




                                         [List of Schedules]
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                     EXHIBIT B
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Granite City Food & Brewery
DIP Budget

Week Ending                                        12/24/2019           12/31/2019           1/7/2020           1/14/2020            1/21/2020           1/28/2020            2/4/2020            2/11/2020             2/18/2020            2/25/2020            3/3/2020            3/10/2020            3/17/2020            Post-Petition
Projected Week (FY WEEK)                            Week 1               Week 2              Week 3              Week 4               Week 5              Week 6              Week 7               Week 8                Week 9              Week 10              Week 11             Week 12              Week 13                Period
Budget v. Actual                                    Budget               Budget              Budget              Budget               Budget              Budget              Budget               Budget                Budget               Budget              Budget               Budget               Budget                 Total
    Cash receipts (Sales + 8.122% sales tax)   $       2,539,926 $          2,245,195 $         2,295,105 $         2,295,105 $          2,295,105 $         2,295,105 $         2,239,208 $                  -    $                -    $               -    $              -    $               -    $               -    $      16,204,749
    Wort Sales                                                 -                    -                   -                   -                    -                   -                   -                    -                     -                    -                   -                    -                    -                    -
    Costco/Sam's Gift Card                                50,400              259,200              97,200              23,200               48,300               4,200                   -                    -                     -                    -                   -                    -                    -              482,500
    Other Gift Cards Sold                                300,310               60,350              21,164              18,801               14,452              15,535              13,173                    -                     -                    -                   -                    -                    -              443,785
    Gift cards redeemed                                 (173,849)            (180,069)           (154,766)           (131,609)            (117,056)           (113,387)           (106,372)                   -                     -                    -                   -                    -                    -             (977,108)
    Other                                                (16,444)             (14,536)             (5,000)             (5,000)              (5,000)             (5,000)             (5,000)                   -                     -                    -                   -                    -                    -              (55,980)
Total Cash Receipts from Operations                    2,700,344            2,370,140           2,253,703           2,200,497            2,235,801           2,196,453           2,141,009                    -                     -                    -                   -                    -                    -           16,097,947

    Food & Beverage                                      549,948              566,899             640,184             611,718             540,735              580,984             580,984                    -                     -                    -                   -                    -                    -            4,071,452
    Payroll Related                                       97,134            1,584,180             102,205           1,520,059              98,068            1,550,083             100,005                    -                     -                    -                   -                    -                    -            5,051,735
    Incentive Compensation                                     -                    -                   -                   -                   -                    -                   -                    -                     -                    -                   -                    -                    -                    -
    Rent (includes CAM)                                        -            1,055,732                   -                   -                   -                    -           1,055,732                    -                     -                    -                   -                    -                    -            2,111,464
    Rent - Payment Delayed/settlements                         -                    -                   -                   -                   -                    -                   -                    -                     -                    -                   -                    -                    -                    -
    (Holding)/Repaying Rents in Arrears                        -                    -                   -                   -                   -                    -                   -                    -                     -                    -                   -                    -                    -                    -
    Sales Tax                                            329,557               40,354             266,812             266,812             266,812              266,812             138,131                    -                     -                    -                   -                    -                    -            1,575,290
    Insurance                                             49,377               42,877              64,434              52,819              57,869               52,819              99,532                    -                     -                    -                   -                    -                    -              419,729
    Property Tax                                         110,281              104,744                   -              21,759                   -                    -              69,047                    -                     -                    -                   -                    -                    -              305,831
    Capital Expenditures                                  15,000               15,000              25,000              25,000              25,000               25,000              25,000                    -                     -                    -                   -                    -                    -              155,000
    Great Western Bank                                         -                    -                   -                   -                   -                    -                   -                    -                     -                    -                   -                    -                    -                    -
    Credit Card Fees                                           -                    -             153,315              35,000                   -                    -             137,527                    -                     -                    -                   -                    -                    -              325,842
    Other Operating                                       (8,693)              (8,693)             51,037             (15,719)            (15,719)                 276              45,822                    -                     -                    -                   -                    -                    -               48,310
    Non-Prime                                             42,555               36,251              12,365              33,575              33,575               33,575              75,966                    -                     -                    -                   -                    -                    -              267,863
         Store-Level Direct Operating                    147,995              130,822             173,051             173,051             173,051              173,051             129,826                    -                     -                    -                   -                    -                    -            1,100,848
         Repair & Maintenance                             44,633               39,454              56,846              56,846              56,846               56,846              44,556                    -                     -                    -                   -                    -                    -              356,030
         Utilities                                        77,521               68,526             106,922             106,922             106,922              106,922              87,347                    -                     -                    -                   -                    -                    -              661,082
    Legal Fees                                                 -                    -              22,117                   -                   -                    -                   -                    -                     -                    -                   -                    -                    -               22,117
    Marketing                                              4,827                4,827              40,123              22,376              22,376               23,339              37,331                    -                     -                    -                   -                    -                    -              155,199
    Corp Credit Card                                      90,000                    -                   -                   -              90,000                    -                   -                    -                     -                    -                   -                    -                    -              180,000
    (Holding)/Repaying AP in Arrears                           -                    -                   -                   -                   -                    -                   -                    -                     -                    -                   -                    -                    -                    -
Cash Disbursements from Operations                     1,550,136            3,680,974           1,714,411           2,910,220            1,455,536           2,869,707           2,626,807                    -                     -                    -                   -                    -                    -           16,807,792

Operating Net Cash Flow                                1,150,207           (1,310,834)            539,292            (709,723)            780,265             (673,254)           (485,798)                   -                     -                    -                   -                    -                    -             (709,845)

Chaper 11 Related Cash Flows
   Debtor Bankruptcy Counsel                   $          60,000    $          40,000    $         70,000   $         70,000     $         90,000    $         80,000     $         80,000    $         40,000     $          35,000     $         25,000     $         20,000    $         20,000     $         20,000     $         650,000
   Debtor Investment Bank                                      -                    -              50,000                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                50,000
   Restructuring Advisor                                  37,500               37,500              37,500             37,500               37,500              37,500               37,500              25,000                25,000               25,000               25,000              25,000               25,000               412,500
   Noticing Agent                                         23,220                3,836               3,836              3,836                3,836               3,836                3,836               3,836                 3,836                3,836                3,836               3,836                3,836                69,252
   Court Filing Fee/ US Trustee Fee                            -                    -                   -                  -                    -              60,000                    -                   -                     -                    -                    -                   -                    -                60,000
   DIP Fees/ Interest/ Principal                               -               11,250                   -                  -                    -              37,500                    -                   -                     -                    -                    -                   -                    -                48,750
   Hilco                                                       -                    -                   -                  -                    -                   -              225,000                   -                     -                    -                    -                   -                    -               225,000
   Lender Professionals                                   18,750               18,750              18,750             18,750               18,750              18,750               18,750              18,750                18,750               18,750               18,750              18,750               18,750               243,750
   DIP Lender Professionals                               30,000               30,000              30,000             30,000               30,000              30,000               30,000                   -                     -                    -                    -                   -                    -               210,000
   Creditor Committee                                     20,000               20,000              20,000             20,000               20,000              20,000               20,000              10,000                10,000               10,000               10,000              10,000               10,000               200,000
   Utility Deposits                                      150,000                    -                   -                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -               150,000
   Sale/Financing Success Fee                             25,000                    -              10,000                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                35,000
   KERP/ KEIP                                                  -                    -                   -                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                     -
   Landlord Cure                                               -                    -                   -                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                     -
   Property Tax Cure                                           -                    -                   -                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                     -
   Sale Proceeds                                               -                    -                   -                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                     -
   Other Food Vendor Cure (PACA)                               -                    -                   -                  -                    -                   -                    -                   -                     -                    -                    -                   -                    -                     -

Total Bankruptcy Costs                                   364,470              161,336             240,086            180,086              200,086             287,586              415,086              97,586                92,586               82,586               77,586              77,586               77,586             2,354,252

Net Cash Flows                                           785,737           (1,472,170)            299,206            (889,809)            580,179             (960,840)           (900,884)             (97,586)              (92,586)             (82,586)            (77,586)             (77,586)             (77,586)           (3,064,097)



Beginning Cash Balance                         $       2,209,111    $       5,494,849 $         4,022,679   $       5,321,885 $          4,432,076   $       5,012,255 $         4,051,415 $          3,150,530 $           3,052,944 $          2,960,358 $         2,877,772 $          2,800,186 $          2,722,600    $        2,209,111
  Change in Cash                                         785,737           (1,472,170)            299,206            (889,809)             580,179            (960,840)           (900,884)             (97,586)              (92,586)             (82,586)            (77,586)             (77,586)             (77,586)           (3,064,097)
  DIP Facility Draw / (Repayment)                      2,500,000                    -           1,000,000                   -                    -                   -                   -                    -                     -                    -                   -                    -                    -             3,500,000
Ending Cash Balance                            $       5,494,849    $       4,022,679 $         5,321,885   $       4,432,076 $          5,012,255   $       4,051,415 $         3,150,530 $          3,052,944 $           2,960,358 $          2,877,772 $         2,800,186 $          2,722,600 $          2,645,014    $        2,645,014

Running DIP Balance                                    4,000,000            4,000,000           5,000,000           5,000,000            5,000,000           5,000,000           5,000,000            5,000,000             5,000,000            5,000,000           5,000,000            5,000,000            5,000,000            5,000,000
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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City Food & Brewery Ltd.                             Case No. 19-43756

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City Restaurant Operations, Inc.                     Case No. 19-43757

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City of Indiana, Inc.                                Case No. 19-43758

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                       Joint Administration Pending

Granite City of Maryland, Inc.                               Case No. 19-43760

                        Debtor.                             Chapter 11 Cases
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In re:                                                       Joint Administration Pending

Granite City of Kansas Ltd.                                  Case No. 19-43759

                        Debtor.                             Chapter 11 Cases
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         INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN
      POSTPETITION FINANCING (II) GRANTING SECURITY INTERESTS AND
      SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS; (III) GRANTING
     ADEQUATE PROTECTION TO CERTAIN PREPETITION SECURED CREDIT
      PARTIES; (IV) MODIFYING THE AUTOMATIC STAY; (V) AUTHORIZING



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THE DEBTORS TO ENTER INTO AGREEMENTS WITH JMB CAPITAL PARTNERS
    LENDING, LLC; (VI) AUTHORIZING USE OF CASH COLLATERAL; (VII)
  SCHEDULING A FINAL HEARING AND (VIII) GRANTING RELATED RELIEF

         THIS MATTER having come before the Court upon the motion (the “Motion”)1 of the

above-captioned debtors (the “Debtors” or the “Borrowers”) in the above-captioned chapter 11

cases (the “Chapter 11 Cases”), pursuant to sections 105, 361, 362, 363, 364 and 507 of title 11

of the United States Code, (11 U.S.C. §§ 101 et seq., as amended, the “Bankruptcy Code”), Rules

2002 and 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rules 2002-1 and 4001-2, seeking entry of an interim order (the “Interim Order”) and a

final order (the “Final Order”) granting inter alia:

       i.         authority, pursuant to sections 105, 363, and 364(c) and 364(d) of the Bankruptcy

Code, for each of the Debtors, jointly and severally, to obtain senior secured postpetition financing

(“DIP Facility”) in an aggregate principal amount of up to $5,000,000 (the “Delayed Draw

Commitment”) (of which (x) upon entry of this Interim Order and satisfaction or waiver of the

borrowing conditions set forth in the DIP Loan Documents (as defined below), $4,000,000 (the

“Interim Advance”) shall be made available to the Debtors and may be drawn in a single draw

on the Closing Date and the Additional Term Loan Obligations (as defined below) shall be rolled

up into the DIP Facility and (y) subject to entry of the Final Order, the balance shall be made

available to the Debtors upon entry of the Final Order in amount set forth in the DIP Credit

Agreement (as defined below));

      ii.         authority (a) for the Debtors to enter into that certain Senior Secured, Super-Priority

Debtor-in-Possession Loan and Security Agreement, among the Debtors as Borrowers, the




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  Unless stated otherwise, capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
them in the Motion or the DIP Credit Agreement (as defined below), as applicable.

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Guarantors party thereto, as Guarantors and JMB Capital Partners Lending, LLC, as Lender (the

“DIP Lender”) in substantially the same form as attached hereto as Exhibit 1 (as amended,

restated, supplemented or otherwise modified from time to time in accordance with the terms

thereof, the “DIP Credit Agreement” and, together with any ancillary, collateral or related

documents and agreements, the “DIP Loan Documents”);

     iii.      authority for the Debtors to use the DIP Facility and the proceeds thereof in

accordance with the DIP Loan Documents to (a) fund the postpetition working capital needs of the

Debtors during the pendency of the Chapter 11 Cases, (b) pay fees, costs and expenses of the DIP

Facility on the terms and conditions described in the DIP Loan Documents, (c) roll-up of

outstanding Additional Term Loan Obligations held by the Prepetition Secured Parties that become

the DIP Lender into DIP Obligations (the “Roll-Up Loan”), subject to the rights preserved in

paragraph 16 of this Interim Order, and (d) pay the allowed administrative costs and expenses of

the Chapter 11 Cases, in each case, solely in accordance with the DIP Loan Documents, this

Interim Order and the Final Order;

     iv.       authority for the Debtors to grant to the DIP Lender valid, enforceable, non-

avoidable, automatically and fully perfected security interests, liens and superpriority claims,

including allowed superpriority administrative expense claims pursuant to sections 364(c)(1) and

507(b) of the Bankruptcy Code, subject only to the Carve-Out and liens pursuant to sections

364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code in the Collateral (as defined below)

(and all proceeds thereof), including, without limitation, all property constituting “Cash

Collateral,” as defined in section 363(a) of the Bankruptcy Code, (“Cash Collateral”), to secure

all DIP Obligations (as defined below), as more fully set forth in this Interim Order, subject only

to the Carve-Out (as defined below);



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      v.        authority for the Debtors to grant the Prepetition Secured Parties (as defined below)

valid, enforceable, non-avoidable, automatically and fully perfected security interests, liens and

superpriority claims, including allowed superpriority administrative expense claims pursuant to

section 507(b) of the Bankruptcy Code, subject only to the Carve-Out, and liens pursuant to

sections 361, 362, 363(c)(2) and 363(e) of the Bankruptcy Code in the Collateral to secure any

diminution in value of the Prepetition Collateral, as more fully set forth in this Interim Order,

subject only to the Carve-Out and senior lien and superpriority claims of the DIP Lender;

     vi.        subject to and only effective upon entry of the Final Order, waiver by the Debtors

of all rights to surcharge against the collateral of the DIP Lender and the Prepetition Secured

Parties pursuant to section 506(c) of the Bankruptcy Code;

     vii.       subject to and only effective upon entry of the Final Order, waiver of the equitable

doctrine of marshaling or any other similar doctrine with respect to any collateral of the DIP Lender

and the Prepetition Secured Parties;

    viii.       modification of the automatic stay to the extent hereinafter set forth and waiving

the 14-day stay provisions of Bankruptcy Rules 4001(a)(3) and 6004(h);

     ix.        the scheduling of a final hearing (the “Final Hearing”) on the Motion for January

22, 2020 to consider entry of the Final Order inter alia, authorizing borrowings under the DIP

Facility on a final basis and approving notice procedures with respect thereto; and

      x.        related relief.

         The Court having considered the Motion and the exhibits attached thereto, the evidence

submitted or adduced and the arguments of counsel made at the interim hearing held on December

19, 2019 (the “Interim Hearing”) and having found that due and proper notice (the “Notice”) of

the Motion and the Interim Hearing having been served by the Debtors in accordance with



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Bankruptcy Rule 4001 and 9006 and Local Rule 2002-1 on (1) counsel for the Citizens Secured

Parties; (2) the Office of the United States Trustee for the District of Minnesota; (3) counsel for

the DIP Lender; (4) the parties included on the Debtors’ consolidated list of unsecured creditors;

(5) the Internal Revenue Service; and (6) the United States Attorney for the District of Minnesota;

and the Interim Hearing to consider the interim relief requested in the Motion having been held

and concluded; and all objections, if any, to the interim relief requested in the Motion having been

withdrawn, resolved or overruled by the Court; and it appearing to the Court that granting the

interim relief requested is necessary to avoid potential immediate and irreparable harm to the

Debtors and their estates and otherwise is fair and reasonable and in the best interests of the

Debtors, their estates, and their creditors and equity holders, and is essential for the continued

operation of the Debtors’ businesses and represents a sound exercise of the Debtors’ business

judgment; and after due deliberation and consideration, and for good and sufficient cause

appearing therefor;

         THIS COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW BASED UPON THE MOTION, THE REPRESENTATIONS OF

COUNSEL AND EVIDENCE SUBMITTED DURING THE INTERIM HEARING:2

         A.        Petition Date. On December 16, 2019 (the “Petition Date”), the Debtors filed

voluntary petitions under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Minnesota (the “Court”) commencing these Chapter 11 Cases.

         B.        Debtors in Possession.           The Debtors are continuing in the management and

operation of their businesses and properties as debtors in possession pursuant to sections 1107 and




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     To the extent, any findings of fact constitute conclusions of law, they are adopted as such, and vice versa, pursuant
     to Fed. R. Bankr. P. 7052.

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1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11

Cases.

         C.    Notice. Notice of the Interim Hearing and the relief requested in the Motion has

been provided by the Debtors to certain parties in interest, including on (1) counsel for the Citizens

Secured Parties (as defined below); (2) the Office of the United States Trustee for the District of

Minnesota; (3) counsel for the DIP Lender; (4) the parties included on the Debtors’ consolidated

list of unsecured creditors; (5) the Internal Revenue Service; (6) the United States Attorney for the

District of Minnesota; and (7) any party that has requested notice pursuant to Bankruptcy Rule

2002.

         D.    Jurisdiction and Venue. This Court has core jurisdiction over the persons and

property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. Consideration of the Motion

constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue for the Chapter 11 Cases and

proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         E.    No Credit Available on More Favorable Terms. The Debtors are unable to procure

financing in the form of unsecured credit allowable as an administrative expense under §§ 364(a),

364(b), or 503(b)(1) of the Bankruptcy Code and have been unable to procure the necessary

financing on terms more favorable, taken as a whole, than the financing offered by DIP Lender

pursuant to the DIP Loan Documents.

         F.    Best Interests of Estates. It is in the best interests of the Debtors’ estates and

creditors that the Debtors be allowed to enter into the DIP Facility to obtain postpetition secured

financing from the DIP Lender under the terms and conditions set forth herein and in the DIP Loan

Documents, as such financing is necessary to avoid immediate and irreparable harm to the Debtors’

estates and for the continued operation of the Debtors’ businesses.



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        G.        Good Faith. The extension of credit and financial accommodations under the DIP

Loan Documents are fair, reasonable, in good faith, negotiated at arm’s length, reflect the Debtors’

exercise of prudent business judgment, and are supported by reasonably equivalent value and fair

consideration. Accordingly, the DIP Lender is entitled to the protections of Bankruptcy Code

section 364(e).

        H.        Good Cause. The relief requested in the Motion is necessary, essential and

appropriate, and is in the best interest of and will benefit the Debtors, their creditors and their

estates, as its implementation will, among other things, provide the Debtors with the necessary

liquidity to (1) minimize disruption to the Debtors’ businesses and ongoing operations,

(2) preserve and maximize the value of the Debtors’ estates for the benefit of all the Debtors’

creditors, and (3) avoid potential immediate and irreparable harm to the Debtors, their creditors,

their businesses, their employees, and their assets.

        I.        Necessity of DIP Facility Terms. The terms of the DIP Loan Documents and the

Interim Order assuring that the liens and the various claims, superpriority claims, and other

protections granted in the Interim Order will not be affected by any subsequent reversal or

modification of the Interim Order or any other order, as provided in section 364(e) of the

Bankruptcy Code, which is applicable to the postpetition financing arrangement contemplated in

the DIP Loan Documents, are necessary in order to induce the DIP Lender to provide postpetition

financing to the Debtors.

        J.        Need for Postpetition Financing. The Debtors do not have sufficient and reliable

sources of working capital, including Cash Collateral, to continue to operate their businesses in

the ordinary course of business without the financing requested in the Motion. The Debtors’ ability

to maintain business relationships with their vendors, suppliers and customers, to pay their



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employees, and to otherwise fund their operations is essential to the Debtors’ continued viability

as the Debtors seek to maximize the value of the assets of their estates for the benefit of all creditors

of the Debtors. The ability of the Debtors to obtain sufficient and stable working capital and

liquidity through the proposed postpetition financing arrangements with the DIP Lender as set

forth in the Interim Order and the DIP Loan Documents is vital to the preservation and maintenance

of the going concern value of each Debtor. Accordingly, the Debtors have an immediate need to

obtain the postpetition financing in order to, among other things, permit the orderly continuation

of the operation of their businesses, minimize the disruption of their business operations, and

preserve and maximize the value of the assets of the Debtors’ bankruptcy estates in order to

maximize the recovery to all creditors of the estates.

        K.      Need to Use Cash Collateral. The Debtors need to use Cash Collateral, in order to,

among other things, preserve, maintain and maximize the value of their assets and businesses. The

ability of the Debtors to maintain liquidity through the use of Cash Collateral is vital to the Debtors

and their efforts to maximize the value of their assets. Accordingly, the Debtors have demonstrated

good and sufficient cause for the relief granted herein.

        L.      Sections 506(c) and 552(b). As material inducement to the DIP Lender to agree

to provide the DIP Facility and the Prepetition Secured Parties to agree to the use of Cash

Collateral, and in exchange for agreement by the DIP Lender and the Prepetition Secured Parties

to subordinate their superpriority claims to the Carve-Out, subject to entry of a Final Order, the

DIP Lender and the Prepetition Secured Parties are entitled to a waiver of any “equities of the

case” exception under section 552(b) of the Bankruptcy Code, and (b) subject to entry of a Final

Order, the DIP Lender and the Prepetition Secured Parties are entitled to a waiver of the

provisions of section 506(c) of the Bankruptcy Code.



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        M.     Priming of Prepetition Credit Liens. The priming of the Prepetition Credit Liens

by the DIP Lender under section 364(d)(1) of the Bankruptcy Code, solely to the extent set forth

in the DIP Loan Documents and as further described below, will enable the Debtors to obtain the

DIP Facility and, among other benefits, continue to operate its business for the benefit of its estate

and stakeholder.

        N.     Debtors’ Acknowledgments and Agreements. Without prejudice to the rights of

any creditors’ committee appointed in these chapter 11 cases (the “Committee”) or other parties-

in-interest as and to the extent set forth in Section 4.1.1 of this Interim Order, the Debtors admit,

stipulate, acknowledge and agree that:

               (a)     Prepetition Loan Documents. Prior to the Petition Date, Citizens Bank,
                       N.A. (formerly known as RBS Citizens, N.A.), as Administrative Agent (the
                       “Prepetition Agent”) and as a lender (the “Prepetition Citizens
                       Lenders”), and the other lenders party thereto, including JMB Capital
                       Partners Lending, LLC (“Prepetition JMB Lender and together with the
                       Prepetition Citizens Lenders, the “Prepetition Lenders”) made loans,
                       advances and provided other financial accommodations to the Debtors
                       pursuant to the terms and conditions set forth in: (a) that certain Credit
                       Agreement dated as of May 15, 2014, as amended by the First Amendment
                       to Credit Agreement dated as of September 1, 2016, and the Second
                       Amendment to Credit Agreement dated as of October 23, 2019 (as
                       amended, supplemented or otherwise modified from time to time through
                       the Petition Date, the “Prepetition Credit Agreement”), by and among
                       Granite City Food & Brewery Ltd., as a Borrower and as Borrower
                       Representative, each of the other Borrowers party thereto, the other Loan
                       Parties party thereto, the Prepetition Agent and the Prepetition Lenders; and
                       (b) all other agreements, documents and instruments executed and/or
                       delivered with, to, or in favor of Prepetition Agent or Prepetition Lenders,
                       including, without limitation, the Subordination Agreement, all security
                       agreements, notes, guarantees, mortgages, Uniform Commercial Code
                       financing statements and all other related agreements, documents and
                       instruments executed and/or delivered in connection therewith or related
                       thereto (all of the foregoing, together with the Prepetition Credit
                       Agreement, as all of the same have heretofore been amended,
                       supplemented, modified, extended, renewed, restated and/or replaced at any
                       time prior to the Petition Date, collectively, the “Prepetition Loan
                       Documents”).

               (b)     Prepetition Secured Obligations. As of the Petition Date, the Debtors were
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                   indebted under the Prepetition Loan Documents: (a) to the Prepetition
                   Agent and Prepetition Citizens Lenders (the “Citizens Secured Parties”)
                   (i) in an aggregate outstanding principal amount of not less than $6,000,000
                   plus interest accrued and accruing thereon, together with all costs, fees,
                   expenses (including attorneys’ fees and legal expenses) and other charges
                   accrued, accruing or chargeable with respect thereto (the “Prepetition
                   Revolving Loan Obligations”), (ii) in an aggregate outstanding principal
                   amount of not less than $29,000,000 plus interest accrued and accruing
                   thereon, together with all costs, fees, expenses (including attorneys’ fees
                   and legal expenses) and other charges accrued, accruing or chargeable with
                   respect thereto in outstanding principal balance of a Term Loan (the
                   “Prepetition Term Loan Obligations”), (iii) in an aggregate outstanding
                   principal amount of not less than $5,000,000 plus interest accrued and
                   accruing thereon, together with all costs, fees, expenses (including
                   attorneys’ fees and legal expenses) and other charges accrued, accruing or
                   chargeable with respect thereto (the “Prepetition Development Loan
                   Obligations,” and together with the Prepetition Revolving Loan
                   Obligations and the Prepetition Term Loan Obligations, the “Prepetition
                   Citizens Loan Obligations”), and (b) to the Prepetition Agent and
                   Prepetition JMB Lender in an aggregate outstanding principal amount of
                   not less than $1,500,000 plus interest accrued and accruing thereon,
                   together with all costs, fees, expenses (including attorneys’ fees and legal
                   expenses) and other charges accrued, accruing or chargeable with respect
                   thereto (the “Prepetition Additional Term Loan Obligations” and
                   together with the Prepetition Citizens Loan Obligations, the “Prepetition
                   Secured Obligations”). The Prepetition Secured Obligations constitute
                   allowed, legal, valid, binding, enforceable and non-avoidable obligations of
                   Debtors, and are not subject to any offset, defense, counterclaim, avoidance,
                   recharacterization or subordination pursuant to the Bankruptcy Code or any
                   other applicable law, and Debtors do not possess, shall not assert, hereby
                   forever release, and are forever barred from bringing any claim,
                   counterclaim, setoff or defense of any kind, nature or description which
                   would in any way affect the validity, enforceability and non-avoidability of
                   any of the Prepetition Secured Obligations.

             (c)   Prepetition Collateral. As of the Petition Date, the Prepetition Secured
                   Obligations were secured pursuant to the Prepetition Loan Documents by
                   valid, perfected, enforceable and non-avoidable first-priority security
                   interests and liens (the “Prepetition Citizens Liens”) granted by Debtors
                   to Prepetition Agent, for the benefit of itself and the Prepetition Lenders
                   under the Prepetition Loan Documents, in substantially all of the existing
                   and after-acquired assets of the Debtors and the other Loan Parties as more
                   fully set forth in the Prepetition Loan Documents (the “Prepetition
                   Collateral”), and such security interest is perfected and has priority over all
                   other security interests. The Debtors do not possess and will not assert any
                   claim, counterclaim, setoff or defense of any kind, nature or description
                   which would in any way affect the validity, enforceability and non-
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                      avoidability of any of the Prepetition Agent or Prepetition Lenders’ liens,
                      claims or security in the Prepetition Collateral.

               (d)    Subordination Agreements. Pursuant to the (a) Subordination and
                      Intercreditor Agreement dated September 30, 2015 (the “Great Western
                      Intercreditor Agreement”) between the Debtors, Great Western Bank, a
                      South Dakota banking corporation (“Great Western”) and the Prepetition
                      Agent, the Prepetition Agent agreed to subordinate any lien of the
                      Prepetition Agent to the prior existing liens of Great Western solely with
                      respect to the real property and fixtures located at 1001 102nd Street,
                      Omaha, Nebraska 68114 (the “Great Western Senior Liens”), and (b)
                      Prepetition Credit Agreement and a Subordination Agreement dated as of
                      October 23, 2019 (the “JMB Subordination Agreement”) between the
                      Debtors, the Prepetition Citizens Lenders and the Prepetition JMB Lender,
                      the parties agreed that the payment of the Prepetition Additional Term Loan
                      Obligations to the Prepetition JMB Lender is senior in priority to payment
                      of the Prepetition Citizens Loan Obligations to the Prepetition Citizens
                      Lenders.

               (e)    Proof of Claim. The acknowledgment by Debtors of the Prepetition Secured
                      Obligations and the liens, rights, priorities and protections granted to or in
                      favor of Prepetition Agent and Prepetition Lenders (collectively, the
                      “Prepetition Secured Parties”) in respect of the Prepetition Collateral as
                      set forth herein and in the Prepetition Loan Documents shall be deemed a
                      timely filed proof of claim on behalf of the Prepetition Secured Parties in
                      these Chapter 11 Cases.

        O.     Roll-up Loan. Upon entry of the Interim Order and the occurrence of the Closing

Date (as defined in the DIP Loan Documents), without further action by the Debtors or any other

party, all Additional Term Loan Obligations held by the Prepetition JMB Lender shall be converted

into DIP Obligations. The Roll-Up Loan as provided for under the DIP Facility and this Interim

Order is appropriate and the DIP Lenders would not be willing to provide the DIP Facility or

extend credit to the Debtors thereunder without the inclusion of the Roll-Up Loan. The Roll-Up

Loan is subject to the reservation of rights in paragraph 16 below and will not prejudice any other

party in interest. Notwithstanding any other provisions of this Interim Order, the DIP Loan

Documents or the JMB Subordination Agreement, all rights of the Prepetition JMB Lender shall

be fully preserved.


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        P.       Adequate Protection.    The Prepetition Secured Parties are entitled to receive

adequate protection on account of their interests in the Prepetition Collateral pursuant to sections

361, 362, and 363 of the Bankruptcy Code solely to the extent of any diminution in the value of

their interests in the Prepetition Collateral (including Cash Collateral). As part of the adequate

protection provided by this Interim Order, the Prepetition Secured Parties shall receive, among

other things, replacement liens, superpriority claims and reporting information. The terms of the

Adequate Protection Obligations (as defined in paragraph 13 below) are fair and reasonable, reflect

the Debtors’ prudent exercise of business judgment and are sufficient to allow the Debtors’ use of

the Prepetition Collateral (including the Cash Collateral) and to permit the relief granted in this

Interim Order.

        Q.       Immediate Entry. Sufficient cause exists for immediate entry of this Interim

Order pursuant to Bankruptcy Rule 4001(c)(2).

        Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.       DIP Facility Approval. The DIP Facility, including the DIP Roll-Up Obligations,

is hereby approved. Any objections to the interim relief requested in the Motion that have not

been withdrawn, waived or settled, and all reservations of rights included therein, are hereby

denied and overruled. The Debtors are authorized, pursuant to section 364 of the Bankruptcy

Code, to enter into and be a party to the DIP Facility pursuant to the DIP Loan Documents (with

such changes, if any, as were authorized to be made as amendments to the DIP Loan Documents

in accordance with this Interim Order), to perform under the DIP Loan Documents and such other

and additional documents necessary or desired to implement the DIP Facility or the DIP Loan



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Documents, and to obtain postpetition secured financing from the DIP Lender, to avoid immediate

and irreparable harm to the Debtors’ estates.

        2.     DIP Obligations. The DIP Loan Documents shall constitute and evidence the valid

and binding effect of the Debtors’ obligations under the DIP Facility, which DIP Obligations shall

be legal, valid, and binding obligations of the Debtors party thereto and enforceable against the

Debtors, their estates, any successors thereto, including, without limitation, any trustee appointed

in any of the Debtors’ cases, or in any case under chapter 7 of the Bankruptcy Code upon the

conversion of any such cases, or in any other proceedings superseding or related to any of the

foregoing, any successors thereto, and any party determined to be the beneficial owner of the DIP

Collateral by this Court. The Debtors and their successors shall be jointly and severally liable for

repayment of any funds advanced pursuant to the DIP Loan Documents, together with interest

thereon, at the times and in the amounts set forth in the DIP Loan Documents and all Obligations

as defined and provided for in the DIP Credit Agreement (collectively, the “DIP Obligations”).

No obligation, payment, transfer or grant of security under the DIP Loan Documents or the Interim

Order, with respect to the DIP Facility shall be stayed, restrained, voided, voidable or recoverable

under the Bankruptcy Code or under any applicable non-bankruptcy law, or subject to any defense,

reduction, setoff, recoupment or counterclaim.

        3.     Authorization to Borrow. Upon entry of this Interim Order and during the period

prior to entry of the Final Order, the Debtors are immediately authorized to borrow from the DIP

Lender under the DIP Facility, the Interim Advance of up to $4,000,000, subject to the terms and

conditions set forth in the DIP Loan Documents and this Interim Order. Once repaid, the DIP

Facility Loans incurred may not be re-borrowed.




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        4.     Use of DIP Facility Proceeds. The Debtors shall use advances of credit under the

DIP Facility (the “DIP Facility Loans”) only for the express purposes specifically set forth in this

Interim Order and the DIP Loan Documents. The Debtors are authorized to use the proceeds of

the DIP Facility Loans to (a) fund the postpetition working capital needs of the Debtors during the

pendency of the Chapter 11 Cases, (b) pay fees, costs and expenses of the DIP Facility on the terms

and conditions described in the DIP Loan Documents, (c) roll-up the outstanding Additional Term

Loan Obligations into DIP Obligations, subject to the rights preserved in paragraph 16 of this

Interim Order, and (d) pay the allowed administrative costs and expenses of the Chapter 11 Cases,

in each case, solely in accordance with the DIP Loan Documents (including, but not limited to, the

Budget) and this Interim Order. Notwithstanding anything herein, the extensions of credit under

the DIP Facility shall not constitute Cash Collateral of the Prepetition Secured Parties.

        5.     Roll-up Loan. Upon entry of the Interim Order and the occurrence of the Closing

Date (as defined in the DIP Loan Documents), without further action by the Debtors or any other

party, all Additional Term Loan Obligations will be immediately, automatically, and irrevocably

deemed to have been converted into DIP Roll-Up Obligations, and such DIP Roll-Up Obligations

shall constitute DIP Obligations and shall be entitled to all the priorities, privileges, rights, and

other benefits afforded to the other DIP Obligations under this Interim Order and the DIP Loan

Documents (subject to the rights of the Debtors and other parties in interest pursuant to paragraph

16 of this Interim Order). The conversion of the DIP Roll-Up Obligations as described in this

paragraph 5 shall be authorized as compensation for, in consideration for, as a necessary

inducement for, and on account of the agreement of the DIP Lender to fund amounts under the

DIP Facility and not as payments under, adequate protection for, or otherwise on account of, any

Prepetition Obligations. As used herein, the term “DIP Roll-Up Obligations” shall mean the Roll-



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Up Loan and all interest accrued and accruing thereon after the conversion into DIP Roll-Up

Obligations and all other amounts owing by the respective Debtors in respect thereof after the

conversion into the DIP Roll-Up Obligations.

        6.     Budget and DIP Facility Reporting. Except as otherwise provided herein or

approved by the DIP Lender, the proceeds from the DIP Facility shall be used only in compliance

with the terms of the DIP Loan Documents. The Debtor shall comply with the reporting

requirements and obligations set forth in the DIP Credit Agreement.

        7.     Payment of DIP Facility Fees and Expenses.

               (a)     The (a) Commitment Fee; (b) Funding Fee; (c) Work Fee, which shall serve

as a retainer for the DIP Lender’s counsel; (d) Exit Fee; and (e) Stated Maturity Fee are each

hereby approved and the Debtors are hereby authorized and directed to and shall pay such fees in

accordance with, and on the terms set forth in this Interim Order and the DIP Loan Documents.

               (b)     The Debtors are also hereby authorized and directed to pay upon demand,

all other fees, costs, expenses and other amounts payable under the terms of this Interim Order and

the DIP Loan Documents and all other reasonable fees and out-of-pocket costs and expenses of

the DIP Lender in accordance with the terms of this Interim Order and the DIP Loan Documents

(including, without limitation, the reasonable and documented postpetition fees and out-of-pocket

costs and expenses of Arent Fox LLP as counsel and local counsel to the DIP Lender to the extent

not covered by the portion of the Work Fee paid prior to the Petition Date), subject to receiving a

written invoice therefor. None of such fees, costs, expenses or other amounts shall be subject to

Court approval except as otherwise provided herein or required to be submitted in any particular

format, and no recipient of any such payment shall be required to file with respect thereto any

interim or final fee application with this Court; provided, however, that copies of any such invoices



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shall be provided contemporaneously to the U.S. Trustee, any official committee of unsecured

creditors appointed in these Chapter 11 Cases (the “Committee”) and the Citizens Secured Parties;

provided further, however, that such invoices may be redacted to the extent necessary to delete

any information subject to the attorney-client privilege, any information constituting attorney work

product, or any other confidential information (the “Redactions”), and the provision of such

invoices shall not constitute a waiver of the attorney-client privilege or any benefits of the attorney

work product doctrine. If the U.S. Trustee, the Committee or the Citizens Secured Parties objects

to the reasonableness of the fees and expenses of the DIP Lender, and such objection cannot be

resolved within ten (10) days of receipt of such invoices, the objecting party may file with the

Court and serve on the DIP Lender, an objection to the reasonableness of such fees and expenses

(each, a “Reasonableness Fee Objection”). Without limiting the foregoing, if any party objects

to the Redactions and such objection cannot be resolved within ten (10) days of receipt of such

invoices, the DIP Lender shall file with the Court and serve on the Debtors, the Committee, the

U.S. Trustee and the Citizens Secured Parties a request for Court resolution of the disputes

concerning the propriety of the disputed Redactions (each, a “Redaction Fee Objection,” and

each Reasonableness Fee Objection and Redaction Fee Objection may be referred to herein

generally as a “Fee Objection”). The Debtors shall pay, in accordance with the terms and

conditions of this Interim Order and the Final Order, within ten (10) days after receipt of the

applicable invoice (a) the full amount invoiced if no Fee Objection has been timely filed, and (b)

the undisputed fees, costs, and expenses reflected on any invoice to which a Fee Objection has

been timely filed. All such unpaid fees, costs, expenses and other amounts owed or payable to the

DIP Lender shall be secured by the DIP Collateral and afforded all of the priorities and protections

afforded to the DIP Obligations under this Interim Order, and the DIP Loan Documents.



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        8.     Indemnification.     The Debtors are hereby authorized to and hereby agree to

indemnify and hold harmless the DIP Lender and its affiliates, directors, officers, employees,

agents, attorneys, or any other Person affiliated with or representing the DIP Lender (collectively,

an “Indemnified Party”) from and against: (a) all obligations, demands, claims, damages, losses

and liabilities (including, without limitation, reasonable fees and disbursements of counsel)

(collectively, “Indemnity Claims”) as set forth in the DIP Loan Documents including those

asserted by any other party in connection with the transactions contemplated by the DIP Loan

Documents; and (b) all losses or expenses incurred, or paid by the DIP Lender from, following, or

arising from the transactions contemplated by the DIP Loan Documents (including reasonable and

documented attorneys’ fees and expenses), except for Indemnity Claims and/or losses directly

caused by the DIP Lender’s gross negligence, or willful misconduct or bad faith of the DIP Lender.

In the case of an investigation, litigation or other proceeding to which the indemnity in this

paragraph applies, such indemnity shall be effective whether or not such investigation, litigation

or proceeding is brought by any of the Debtors or any of their respective directors, security holders

or creditors, an Indemnified Party or any other Person or an Indemnified Party is otherwise a party

thereto and whether or not the transactions contemplated hereby are consummated.                   No

Indemnified Party shall have any liability (whether direct or indirect, in contract, tort or otherwise)

to any Debtor or any of its subsidiaries or any shareholders or creditors of the foregoing for or in

connection with the transactions contemplated hereby, except to the extent such liability is

determined by a court of competent jurisdiction in a final non-appealable judgment or order to

have resulted solely from such Indemnified Party’s gross negligence or willful misconduct. All

indemnities of the Indemnified Parties shall constitute DIP Obligations secured by the DIP




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Collateral and afforded all of the priorities and protections afforded to the DIP Obligations under

this Interim Order, the Final Order and the DIP Loan Documents.

        9.     DIP Superpriority Claims. In accordance with section 364(c)(1) of the Bankruptcy

Code, the DIP Obligations shall constitute allowed senior administrative expense claims against

each Debtor and their estates (the “DIP Superpriority Claims”) with priority in payment over

any and all administrative expenses at any time existing or arising, of any kind or nature

whatsoever, including, without limitation, the kinds specified or ordered pursuant to any provision

of the Bankruptcy Code, including, but not limited to, sections 105, 326, 328, 330, 331, 503(b),

506(c) (subject to the entry of the Final Order with respect to section 506(c) only), 507(a), 507(b),

726, 1113 and 1114 of the Bankruptcy Code or otherwise, including those resulting from the

conversion of any of the Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code,

whether or not such expenses or claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment; provided, however, that the DIP Superpriority Claims shall

be subject to and subordinate to only the Carve-Out; provided, further that the DIP Superpriority

Claims shall have recourse to and be payable from all prepetition and postpetition property and

assets of the Debtors and the estates and all DIP Collateral and all proceeds thereof, and (a) any

and all avoidance power claims or causes of action under sections 544, 545, 547, 548 through 551

and 553(b) of the Bankruptcy Code (the “Avoidance Actions”) and the proceeds thereof, (b)

prepetition tort claims, including claims against the Debtors’ current and former directors and

officers (if any) and the proceeds thereof; and (c) any deposit in connection with a proposed Sale

(whether terminated or otherwise) that becomes property of the Debtors’ estates (a “Sale Deposit”)

subject, however, only to the senior lien rights of a stalking horse purchaser and such stalking

horse bid protections as may be approved by this Court.



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        10.    DIP Liens.

               (a)    Effective immediately as of the entry of this Interim Order, as security for

the DIP Obligations, the DIP Lender is granted continuing, valid, binding, enforceable, non-

avoidable, and automatically and properly perfected security interests in and liens (collectively,

the “DIP Liens”) on all DIP Collateral as collateral security for the prompt and complete

performance and payment when due (whether at the Stated Maturity Date (i.e. March 31, 2020),

by acceleration, or otherwise) of the DIP Obligations.       The term “DIP Collateral” means

collectively all prepetition and postpetition real property and all prepetition and postpetition

tangible and intangible personal property of each Borrower, in each case wherever located and

whether now owned or hereafter acquired, including, but not limited to, all accounts, contracts

rights, chattel paper, cash, general intangibles, investment property, machinery, equipment, goods,

inventory, furniture, fixtures, letter of credit rights, books and records, deposit accounts,

documents, instruments, commercial tort claims, leases and leaseholds and rents, avoidance

actions under section 549 and related recoveries under section 550 of the Bankruptcy Code,

together with all proceeds of each of the following, including insurance proceeds (as each such

term above is defined in the UCC, to the extent applicable), and, subject to Final Order, including

the proceeds and recoveries from Avoidance Actions (the “Avoidance Action Proceeds”).

               (b)    Subject to the entry of the Final Order, to the fullest extent permitted by the

Bankruptcy Code or applicable law, and except as otherwise set forth herein, any provision of any

lease other than a real property lease, loan document, easement, use agreement, proffer, covenant,

license, contract, organizational document, or other instrument or agreement that requires the

consent or the payment of any fees or obligations to any entity in order for any of the Debtors to

pledge, grant, mortgage, sell, assign, or otherwise transfer any fee or leasehold interest or the



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proceeds thereof or other DIP Collateral, shall have no force or effect with respect to the DIP Liens

on such leasehold interests or other applicable DIP Collateral or the proceeds of any assignment

and/or sale thereof by any Debtor, in favor of the DIP Lender in accordance with the terms of the

DIP Loan Documents, or this Interim Order.

    11.      Priority of DIP Liens.

                (a)     To secure the DIP Obligations, immediately upon and effective as of entry

of this Interim Order, the DIP Lender, is hereby granted on a final basis, continuing, valid, binding,

enforceable, non-avoidable, and automatically and properly perfected first priority DIP Liens in

the DIP Collateral as follows, in each case subject to the Carve-Out:

                (i)     Liens Priming the Prepetition Citizens Liens. Pursuant to section 364(d)(1)
                of the Bankruptcy Code, valid, binding, continuing, enforceable, non-avoidable
                automatically and fully perfected first priority senior priming liens and security
                interests in all DIP Collateral, regardless of where located, which senior priming
                liens and security interests in favor of the DIP Lender shall be senior to all
                Prepetition Citizens Liens. For the avoidance of doubt, as a result of the priming
                of the Prepetition Citizens Liens pursuant to this Interim Order, the DIP Lender
                shall have a first priority senior priming lien and security interest in, among other
                things, (A) all of the assets of Debtors and its debtor and non-debtor Subsidiaries,
                including, but not limited to, the “Collateral” as defined in the Prepetition Credit
                Agreement, and (B) the Debtors’ prepetition and postpetition commercial tort
                claims, including but not limited to all claims and causes of action (i) against the
                Debtors’ officers and directors, and (ii) all other prepetition tort claims, and the
                proceeds thereof (regardless of whether such proceeds arise from damages to the
                Prepetition Collateral);

                (ii)    Liens on Unencumbered Property. Pursuant to section 364(c)(2) of the
                Bankruptcy Code, valid, binding, continuing, enforceable, non-avoidable
                automatically and fully perfected first priority liens on and security interests in all
                DIP Collateral that is not otherwise subject to any valid, enforceable, and non-
                avoidable liens on and security interests in the DIP Collateral that (A) were
                perfected prior to the Petition Date (or perfected on or after the Petition Date to the
                extent permitted by Section 546(b) of the Bankruptcy Code), (B) are not subject to
                avoidance, disallowance, or subordination pursuant to the Bankruptcy Code or
                applicable non-bankruptcy law, and (C) are senior in priority to the DIP Liens
                under applicable law and after giving effect to any lien release, subordination or
                inter-creditor agreements, including the Great Western Senior Liens (each a



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                   “Permitted Prior Lien”); provided, however, that the DIP Liens shall have priority
                   over all Prepetition Citizens Liens; and

                   (iii) Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the
                   Bankruptcy Code, valid, enforceable, non-avoidable automatically and fully
                   perfected junior liens on and security interests in all DIP Collateral (other than as
                   set forth in clauses (i) and (ii)) subordinate only to the Permitted Prior Liens.

             (b)      Except as expressly set forth herein, the DIP Liens and the DIP Superpriority

Claims shall not be made junior to or pari passu with (1) any lien, security interest or claim

heretofore or hereinafter granted in any of the Chapter 11 Cases or any successor cases, and shall

be valid and enforceable against the Debtors, their estates, any trustee or any other estate

representative appointed or elected in the Chapter 11 Cases or any successor cases and/or upon the

dismissal or conversion of any of the Chapter 11 Cases or any successor cases, (2) any lien that is

avoided and preserved for the benefit of the Debtors and their estates under section 551 of the

Bankruptcy Code or otherwise, (3) any intercompany or affiliate lien or claim, and (4) subject to

entry of the Final Order, any liens arising after the Petition Date excluding any liens or security

interests granted in favor of any federal, state, municipal or other governmental unit, commission,

or board for any liability of the Debtors.

    12.      Use of Cash Collateral. The Debtors are authorized to use Cash Collateral to fund the

postpetition working capital needs of the Debtors during the pendency of the Chapter 11 Cases

that are not funded with the DIP Facility Loans and to pay the allowed administrative costs and

expenses of the Chapter 11 Cases not funded by the DIP Facility Loans, each solely in accordance

with the Budget and this Interim Order, provided that the Debtors’ variance from the line items on

the Budget shall be no more than: 20% of the line items set forth in the Budget for the first week

after the Petition Date, 15% of the line items set forth in the Budget for the second week of the

Budget after the Petition Date, and thereafter, 10% of the average of the line items set forth in the



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Budget for the prior four week period. The initial Budget is attached hereto as Exhibit 2. The

Debtors shall: (a) commencing on the first Wednesday to occur after the entry of this Interim Order

and on the Wednesday of each week thereafter, prepare and deliver to the DIP Lender and the

Citizens Secured Parties (x) a report showing actual cash receipts and disbursements for the line

items set forth in the Budget for the preceding Wednesday through the following Tuesday and (y)

a written explanation of all material variances; and (b) update and roll-forward the proposed

Budget no less frequently than every four (4) weeks or at such other interval as agreed to by the

DIP Lender and the Citizens Secured Parties, each such amended Budget shall be delivered no

later than Wednesday of each week for the week immediately prior. Each proposed Budget shall

only become a Budget for the use of Cash Collateral and DIP Obligations as set forth in this Interim

Order when it is agreed upon by the Debtors and DIP Lender, in consultation with the Prepetition

Secured Parties, provided, however, any modifications to the Case Professionals’ fees and

expenses in the Budget shall require the consent of the Prepetition Secured Parties. After the

payment in full of the DIP Obligations, each proposed Budget shall only become a Budget for the

use of Cash Collateral as set forth in this Interim Order when it is agreed upon by the Debtors and

the Prepetition Secured Parties. The Debtors’ use of Cash Collateral shall automatically terminate

upon the occurrence of an Event of Default (as defined below).

        13.    Adequate Protection of Prepetition Secured Parties.       The Prepetition Secured

Parties are entitled, pursuant to sections 361, 362, 363(c)(2), 363(e) and 507 of the Bankruptcy

Code, to adequate protection of their interests in all the Prepetition Collateral, including Cash

Collateral, in an amount equal to the aggregate diminution in value of the Prepetition Secured

Parties’ interests in the Prepetition Collateral (including Cash Collateral) from and after the

Petition Date, if any, for any reasons provided under the Bankruptcy Code. In consideration for



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the foregoing, the Prepetition Secured Parties, are hereby granted the following in the amount of

such diminution (collectively, the “Adequate Protection Obligations”):

               (a)     Adequate Protection Liens. The Prepetition Agent, on behalf of itself and

the Prepetition Lenders, is hereby granted (effective and perfected upon the date of this Interim

Order and without the necessity of any mortgages, security agreements, pledge agreements,

financing statement or other agreements), in the amount equal to the aggregate diminution in value

of the interests in the Prepetition Collateral (including Cash Collateral) from and after the Petition

Date, if any, for any reasons provided under the Bankruptcy Code (the “Adequate Protection

Claim”), a valid, perfected replacement security interest in and lien on all prepetition and

postpetition property and assets of the Debtors and the estates, including the DIP Collateral and all

proceeds thereof (the “Adequate Protection Collateral”), subordinate only to (A) the DIP Liens

and any liens to which the DIP Liens are junior and (B) the Carve-Out (the “Adequate Protection

Liens”).

               (b)     507(b) Claims. The Prepetition Agent, on behalf of itself and the Prepetition

Lenders, is hereby granted, an allowed superpriority administrative expense claim as provided in

section 507(b) of the Bankruptcy Code in the amount of the Adequate Protection Claim with,

except as set forth in this Interim Order, priority in payment over any and all administrative

expenses of the kind specified or ordered pursuant to any provision of the Bankruptcy Code (the

“507(b) Claims”); which 507(b) Claims shall have recourse to and be payable from the Adequate

Protection Collateral. The 507(b) Claims shall, in all instances, be subject and subordinate only

to (A) the Carve-Out and (B) the DIP Superpriority Claims. The Prepetition Secured Parties shall

not receive or retain any payments, property or other amounts in respect of the 507(b) Claims

unless and until the DIP Obligations (other than contingent indemnification obligations as to which



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no claim has been asserted) have indefeasibly been paid in cash in full and all DIP Commitments

have been terminated.

               (c)      Citizens Secured Parties Information. As additional adequate protection of

the Citizens Secured Parties’ security interests in the Prepetition Collateral, the Debtors shall

contemporaneously provide the Citizens Secured Parties with any reporting provided to the DIP

Lender under the DIP Credit Agreement.

               (d)      Citizens Secured Parties Fees. The Debtors are also hereby authorized and

directed to pay upon demand, all reasonable fees and out-of-pocket costs and expenses of the

Citizens Secured Parties which amount shall not exceed the aggregate amount per month as set

forth in the Budget, in accordance with the terms of this Interim Order and the Prepetition Loan

Documents (including, without limitation, the reasonable and documented postpetition fees and

out-of-pocket costs and expenses of counsel and financial advisors to the Citizens Secured Parties),

subject to receiving a written invoice therefor. None of such fees, costs, expenses or other amounts

shall be subject to Court approval except as otherwise provided herein or required to be submitted

in any particular format, and no recipient of any such payment shall be required to file with respect

thereto any interim or final fee application with this Court; provided, however, that copies of any

such invoices shall be provided contemporaneously to the U.S. Trustee, the Committee and the

DIP Lender; provided further, however, that such invoices may include the Redactions and the

provision of such invoices shall not constitute a waiver of the attorney-client privilege or any

benefits of the attorney work product doctrine. If the U.S. Trustee, the Committee or the DIP

Lender objects to the reasonableness of the fees and expenses of the Citizens Secured Parties, and

such objection cannot be resolved within ten (10) days of receipt of such invoices, the objecting

party may file with the Court and serve on the Citizens Secured Parties, a Reasonableness



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Objection. Without limiting the foregoing, if any party objects to the Redactions and such

objection cannot be resolved within ten (10) days of receipt of such invoices, the Citizens Secured

Parties shall file with the Court and serve on the Debtors, the Committee, the U.S. Trustee and the

DIP Lender a request for Court resolution a Redaction Fee Objection. The Debtors shall pay, in

accordance with the terms and conditions of this Interim Order and the Final Order, within ten (10)

days after receipt of the applicable invoice (a) the full amount invoiced if no Fee Objection has

been timely filed, and (b) the undisputed fees, costs, and expenses reflected on any invoice to

which a Fee Objection has been timely filed. All such unpaid fees, costs, expenses and other

amounts owed or payable to the Citizens Secured Parties shall be secured by the Collateral and

afforded all of the priorities and protections afforded to the Adequate Protection Obligations under

this Interim Order.

        14.    Carve-Out.

               (a)     Carve-Out. As used in this Interim Order, the term “Carve-Out” means,

collectively, the sum of: (i) all fees required to be paid to the Clerk of the Court and to the U.S.

Trustee pursuant to 28 U.S.C. §1930(a) and section 31 U.S.C. § 3717; (ii) the reasonable fees and

expenses up to $15,000 incurred by a trustee under section 726(b) of the Bankruptcy Code; and

(iii) the aggregate amount of unpaid, but funded into the Escrow per the terms below, fees and

expenses of the Debtors and the Committee (which order has not been reversed, vacated or stayed

unless such stay is no longer effective) under sections 327(a), 328 or 1103(a) of the Bankruptcy

Code (the “Case Professionals”), to the extent such fees and expenses are allowed and payable

pursuant to an order of the Court (which order has not been reversed, vacated or stayed) (“Allowed

Professional Fees”), and $2,500 of the aggregate unpaid out-of-pocket expenses allowed by the

Court and incurred by the members of the Committee in the performance of their duties (but



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excluding fees and expenses of third party professionals employed by such members)

(“Committee Expenses”), which amount under this clause (iii) shall not exceed the sum of: (x)

an aggregate amount per week limited to the amount set forth in the Budget for Allowed

Professional Fees and Committee Expenses incurred prior to the delivery of a Carve-Out Trigger

Notice and escrowed each month with counsel for Debtors, provided (i) the Maturity Date has not

occurred or (ii) Event of Default has not occurred or continuing (the “Pre Carve-Out Notice

Trigger Cap”) plus (y) $75,000 for Allowed Professional Fees and Committee Expenses incurred

from and after the delivery of the Carve-Out Trigger Notice (defined below), less any outstanding

amount of retainers received by the Case Professionals prior to the Petition Date (the “Post Carve-

Out Notice Cap” together, with the Pre Carve-Out Notice Trigger Cap, the “Carve-Out Cap”).

Each month, Debtors shall pay the amount of the fees and expenses incurred by the Case

Professionals (so long as such amounts are equal to or less than the amounts set forth in the Budget

for such month), into the client trust account maintained by the Debtors’ counsel (the “Escrow”).

Once such fees and expenses are deemed Allowed Professional Fees they shall be distributed to

the respective recipients from the Escrow. No portion of the Carve-Out or any Cash Collateral

may be used in violation of this Interim Order. Nothing in this Interim Order or otherwise shall

be construed to increase the Carve-Out if actual (i) Allowed Professional Fees of any Case

Professional or (ii) Committee Expenses are higher in fact than Carve-Out Cap amount.

               (b)     Carve-Out Trigger Notice. As used herein, the term “Carve-Out Trigger

Notice” means a written notice provided by the DIP Lender or the Prepetition Secured Parties to

the Debtors, counsel to the Committee, and the U.S. Trustee that the Post Carve-Out Notice Trigger

Cap is invoked, which notice may be delivered following the occurrence and during the

continuance of an Event of Default and/or acceleration of the DIP Obligations under the DIP Loan



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Documents, provided the Prepetition Secured Parties may only deliver such notice when an Event

of Default occurs under paragraph 25(b) below. Upon delivery of the Carve-Out Trigger Notice

to the Debtors (the “Termination Declaration Date”), the Debtors shall provide notice by email

and facsimile to all Case Professionals, at the email addresses and facsimile numbers set forth in

each Professional’s notice of appearance filed with the Bankruptcy Court (or, if there is no such

notice of appearance, at such Professional’s last known email address and facsimile number)

within one (1) day after the Debtors’ receipt of a Carve-Out Trigger Notice informing them that

such Carve-Out Trigger Notice has been received and further advising them that the Debtors’

ability to pay such Case Professionals is subject to and limited by the Post Carve-Out Notice

Trigger Cap.

               (c)    Payment of Allowed Professional Fees Prior to Termination Declaration

Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

               (d)    Payment of Carve-Out on or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve-Out on a dollar-

for-dollar basis. Any funding of the Carve-Out by funds from the DIP Facility Loans shall be

added to, and made a part of, the DIP Obligations secured by the DIP Collateral and shall be

otherwise entitled to the protections granted under this Interim Order, the DIP Loan Documents,

the Bankruptcy Code and applicable law.

               (e)    Objection Rights. Nothing contained herein is intended to constitute, nor

shall be construed as consent to the allowance of any Case Professional’s fees, costs and expenses

by any party and shall not affect the rights of the Debtors, the DIP Lender, the Citizens Secured



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Parties or any other party in interest to object to the allowance and/or payment of any such amounts

incurred or requested.

        15.    Limitations on Use of DIP Proceeds, Cash Collateral and Carve-Out. The DIP

Facility, the DIP Collateral, the Prepetition Collateral, the Adequate Protection Collateral, the Cash

Collateral and the Carve-Out may not be used in connection with: (a) preventing, hindering, or

delaying any of the DIP Lender or the Prepetition Secured Parties’ enforcement or realization upon

any of the DIP Collateral, Adequate Protection Collateral or Prepetition Collateral; (b) using or

seeking to use Cash Collateral without the permission of the DIP Lender and the Prepetition

Secured Parties or selling or otherwise disposing of DIP Collateral without the consent of the DIP

Lender or as permitted by the DIP Loan Documents; (c) after payment in full of the DIP

Obligations, selling or otherwise disposing of Adequate Protection Collateral without the consent

of the Prepetition Secured Parties; (d) using or seeking to use any insurance proceeds constituting

DIP Collateral without the consent of the DIP Lender and the Prepetition Secured Parties; (e)

seeking to amend or modify any of the rights granted to the DIP Lender or the Prepetition Secured

Parties under this Interim Order, the DIP Loan Documents, or the Prepetition Loan Documents,

including seeking to use Cash Collateral, Adequate Protection Collateral and/or DIP Collateral on

a contested basis; (f) litigating, objecting to, challenging or contesting in any manner in any way

the DIP Liens, DIP Obligations, DIP Superpriority Claims, the Prepetition Secured Obligations,

DIP Collateral (including Cash Collateral) or, as the case may be, Prepetition Collateral, the

Adequate Protection Obligations,       the Adequate Protection Claims, the 507(b) Claims, the

Adequate Protection Collateral (including Cash Collateral), the Adequate Protection Liens or any

other claims, held by or on behalf of any of the DIP Lender or the Prepetition Secured Parties,

respectively; (g) asserting, commencing or prosecuting any claims or causes of action whatsoever,



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including, without limitation, Avoidance Actions or applicable state law equivalents or actions to

recover or disgorge payments, against any of the DIP Lender, the Prepetition Secured Parties, or

any of their respective affiliates, agents, attorneys, advisors, professionals, officers, directors and

employees; (h) litigating, objecting to, challenging, or contesting in any manner, or raising any

defenses to, the validity, extent, amount, perfection, priority, or enforceability of any of the DIP

Obligations, the DIP Liens, the Prepetition Secured Obligations, the Prepetition Citizens Liens,

the Adequate Protection Liens or any other liens or interests of any of the DIP Lender or the

Prepetition Secured Parties; or (i) seeking to subordinate, recharacterize, disallow or avoid the DIP

Obligations, the Adequate Protection Obligations or the Prepetition Secured Obligations;

provided, however, that the Carve Out and such collateral proceeds and loans under the DIP Loan

Documents may be used for allowed fees and expenses, in an amount not to exceed $10,000 in the

aggregate (the “Investigation Budget Amount”), incurred solely by a Committee (if appointed),

in investigating (but not prosecuting or challenging) the validity, enforceability, perfection,

priority or extent of the Prepetition Citizens Liens within thirty (30) calendar days following

appointment of the Committee. Notwithstanding anything to the contrary, any fees, expenses or

costs incurred by the Committee or its professionals in excess of the Investigation Budget Amount

or in excess of the amount budgeted for Committee’s Case Professionals set forth in the Budget

shall not constitute an allowable administrative expense claim, including for purposes of section

1129(a)(9)(A) of the Bankruptcy Code.

    16.      Effect of Stipulation on Third Parties.

                 (a)      Generally. The admissions, stipulations, agreements, releases, and waivers

set forth in this Interim Order (collectively, the “Prepetition Lien and Claim Matters”) are and

shall be binding on the Debtors, any subsequent trustee, responsible person, examiner with



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expanded powers, any other estate representative, and all creditors and parties in interest and all

of their successors in interest and assigns, including, without limitation, a Committee (if

appointed), unless, and solely to the extent that, a party in interest that has sought and obtained

standing and the requisite authority to commence a Challenge (as defined below) (other than the

Debtors, as to which any Challenge is irrevocably waived and relinquished) (i) has timely filed the

appropriate pleadings, and timely commenced the appropriate proceeding required under the

Bankruptcy Code and Bankruptcy Rules, including, without limitation, as required pursuant to Part

VII of the Bankruptcy Rules (in each case subject to the limitations set forth in this paragraph 16

of this Interim Order) challenging the Prepetition Lien and Claim Matters (each such proceeding

or appropriate pleading commencing a proceeding or other contested matter, a “Challenge”) by

no later than (1) thirty (30) days from the date of formation of a Committee (if appointed), or (2)

forty-five (45) days following the entry of the Interim Order for any other party in interest with

requisite standing (each the “Challenge Deadline”), as such applicable date may be extended in

writing from time to time in the sole discretion of the Prepetition Secured Parties, or by this Court

for good cause shown pursuant to an application filed by a party in interest prior to the expiration

of the Challenge Deadline, and (ii) this Court enters judgment in favor of the plaintiff or movant

in any such timely and properly commenced Challenge proceeding and any such judgment has

become a final judgment that is not subject to any further review or appeal.

               (b)     Binding Effect. To the extent no Challenge is timely and properly

commenced by the Challenge Deadline, or to the extent such proceeding does not result in a final

and non-appealable judgment or order of this Court that is inconsistent with the Prepetition Lien

and Claim Matters, then, without further notice, motion, or application to, order of, or hearing

before, this Court and without the need or requirement to file any proof of claim, the Prepetition



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Lien and Claim Matters shall, pursuant to this Interim Order, become binding, conclusive, and

final on any person, entity, or party in interest in the Chapter 11 Cases, and their successors and

assigns, and in any successor case for all purposes and shall not be subject to challenge or objection

by any party in interest, including, without limitation, a trustee, responsible individual, examiner

with expanded powers, or other representative of the Debtors’ estates. Notwithstanding anything

to the contrary herein, if any such proceeding is properly and timely commenced, the Prepetition

Lien and Claim Matters shall nonetheless remain binding on all other parties in interest and

preclusive as provided in subparagraph (a) above except to the extent that any of such Prepetition

Lien and Claim Matters is expressly the subject of a timely and properly filed Challenge, which

Challenge is successful as set forth in a final judgment as provided in subparagraph (a) above, and

only as to plaintiffs or movants that have complied with the terms hereof. To the extent any such

Challenge proceeding is timely and properly commenced, the Prepetition Secured Parties shall be

entitled to payment of the reasonable related costs and expenses, including, but not limited to

reasonable attorneys’ fees, incurred under the Prepetition Loan Documents in defending

themselves in any such proceeding as adequate protection. Upon a successful Challenge brought

pursuant to this paragraph 16, the Court may fashion any appropriate remedy.

        17.    Bankruptcy Code Sections 506(c) and 552(b) Waivers. Subject to entry of a Final

Order, without limiting the Carve-Out, the Debtors irrevocably waive and shall be prohibited from

asserting (i) any surcharge claim, under section 506(c) of the Bankruptcy Code or otherwise, for

any costs and expenses incurred in connection with the preservation, protection or enhancement

of, or realization by the DIP Lender upon the DIP Collateral or by the Prepetition Secured Parties

upon the Adequate Protection Collateral and no costs or expenses of administration that have been

or may be incurred in any of the Chapter 11 Cases at any time shall be charged against the DIP



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Lender, the Prepetition Secured Parties or their respective claims or liens (including any claims or

liens granted pursuant to this Interim Order), and (ii) the “equities of the case” exception under

section 552(b) of the Bankruptcy Code in connection with the DIP Facility and the use of Cash

Collateral.

        18.    Application of Proceeds. Subject to the entry of the Final Order, in no event shall

the DIP Lender, with respect to the DIP Collateral, or the Prepetition Secured Parties, with respect

to the Adequate Protection Collateral, be subject to the equitable doctrine of “marshaling” or any

other similar doctrine, and all proceeds of such DIP Collateral and Adequate Protection Collateral

shall be received and used in accordance with this Interim Order.

        19.    Disposition of Collateral. The Debtors shall not sell, transfer, lease, encumber or

otherwise dispose of any portion of the DIP Collateral, other than in the ordinary course of business

or in connection with the payments contemplated under this Interim Order, without the prior

written consent of the DIP Lender (and no such consent shall be implied from any other action,

inaction or acquiescence by the DIP Lender or from any order of this Court); provided for the

avoidance of doubt the Debtors shall comply with Section 6.4 of the DIP Credit Agreement.

Notwithstanding anything otherwise provided herein, 100% of any net cash proceeds of any sale

of DIP Collateral outside of the ordinary course of business shall, subject to the satisfaction of the

Carve-Out and the lien priorities outlined in paragraph 11 herein, be used to immediately satisfy

the DIP Obligations. Following payment in full of the DIP Obligations, the Debtors shall not sell,

transfer, lease, encumber or otherwise dispose of any portion of the Adequate Protection

Collateral, other than in the ordinary course of business or in connection with the payments

contemplated under this Interim Order, without the prior written consent of the Prepetition Secured

Parties (and no such consent shall be implied from any other action, inaction or acquiescence by



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the Prepetition Secured Parties or from any order of this Court). Notwithstanding anything

otherwise provided herein, following payment in full of the DIP Obligations, 100% of any net cash

proceeds of any sale of Adequate Protection Collateral outside of the ordinary course of business

shall, subject to the satisfaction of the Carve-Out and the lien priorities outlined in paragraph 11

herein, be used to immediately satisfy the Adequate Protection Obligations and next to satisfy the

Prepetition Secured Obligations.

        20.     Restrictions on Granting Postpetition Liens. Other than the Carve-Out or as

otherwise provided in this Interim Order, the Final Order or the DIP Loan Documents, no claim

or lien having a priority superior or pari passu with those granted by this Interim Order to the

Prepetition Secured Parties and the DIP Lender shall be granted or permitted by any order of this

Court in the Chapter 11 Cases heretofore or hereafter, and the Debtors will not grant any such

mortgages, security interests or liens in the DIP Collateral (or any portion thereof) or the Adequate

Protection Collateral (or any portion thereof) or to any other parties pursuant to section 364(d) of

the Bankruptcy Code or otherwise, while (i) any portion of the DIP Facility, any DIP Facility

Loans or any other DIP Obligations, are outstanding, (ii) the DIP Lender has any Commitment

under the DIP Loan Documents or (iii) the Prepetition Secured Obligations and/or the Adequate

Protection Obligations are outstanding. For avoidance of doubt, there shall be no restriction and

this paragraph shall not apply to and excludes any liens or security interests granted in favor of

any federal, state, municipal or other governmental unit, commission, board or court for any

liability of the Debtors.

        21.     Automatic Effectiveness of Liens. The DIP Liens and the Adequate Protection

Liens shall not be subject to a challenge and shall attach and become valid, perfected, binding,

enforceable, non-avoidable and effective by operation of law as of the date of the entry of this



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Interim Order on a final basis, without any further action by the Debtors, the DIP Lender or the

Prepetition Secured Parties, respectively, and without the necessity of execution by the Debtors or

the filing or recordation, of any financing statements, security agreements, deposit control

agreements, vehicle lien applications, mortgages, filings with a governmental unit (including,

without limitation, the U.S. Patent and Trademark Office or the Library of Congress), or other

documents or the taking of any other actions. All DIP Collateral shall be free and clear of other

liens, claims and encumbrances, except as provided in the DIP Loan Documents, and this Interim

Order. All Adequate Protection Collateral shall be free and clear of other liens, claims and

encumbrances, except as provided in this Interim Order. If the DIP Lender or the Prepetition

Secured Parties hereafter requests that the Debtors execute and deliver to such party financing

statements, security agreements, pledge agreements, control agreements, collateral assignments,

mortgages, or other instruments and documents considered by the DIP Lender or the Prepetition

Secured Parties to be reasonably necessary or desirable to further evidence the perfection of the

DIP Liens or the Adequate Protection Liens, as applicable, the Debtors are hereby authorized and

directed to execute and deliver such financing statements, security agreements, pledge agreements,

control agreements, mortgages, collateral assignments, instruments, and documents, and the DIP

Lender and/or the Prepetition Secured Parties, as appropriate, are hereby authorized to file or

record such documents in its discretion without seeking modification of the automatic stay under

section 362 of the Bankruptcy Code, in which event all such documents shall be deemed to have

been filed or recorded at the time and on the date of the entry of this Interim Order; provided,

however, no such filing or recordation shall be necessary or required in order to create or perfect

the DIP Liens or the Adequate Protection Liens. The DIP Lender and the Prepetition Secured

Parties, in their respective sole discretion, may file a photocopy of this Interim Order as a financing



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statement with any filing or recording office or with any registry of deeds or similar office, in

addition to, or in lieu of, such financing statements, notices of liens or similar statements.3

           22.      Protection Under Section 364(e) of the Bankruptcy Code. The DIP Lender and the

Prepetition Secured Parties have acted in good faith in connection with this Interim Order and their

reliance on this Interim Order is in good faith. The reversal or modification on appeal of the

authorizations under section 364 of the Bankruptcy Code contained in this Interim Order does not

affect the validity of any DIP Obligation or the DIP Liens, or the Adequate Protection Liens

whether or not the DIP Lender or Prepetition Secured Parties (as applicable) knew of the pendency

of the appeal, unless such authorization and incurrence of DIP Obligations and DIP Lien and

advance of the DIP Facility Loan under 364 of the Bankruptcy Code in this Interim Order and the

Final Order, were stayed pending appeal.

           23.      Reservation of Rights of the DIP Lender and the Prepetition Secured Parties.

Notwithstanding any other provision of this Interim Order to the contrary, the entry of this Interim

Order is without prejudice to, and does not constitute a waiver of, expressly or implicitly, or

otherwise impair: (i) any of the rights of the DIP Lender or the Prepetition Secured Parties under

the Bankruptcy Code or under non-bankruptcy law, including, without limitation, the right of any

of such parties to (a) request modification of the automatic stay of section 362 of the Bankruptcy

Code, (b) request dismissal of any of these Chapter 11 Cases, conversion of any of these Chapter

11 Cases to cases under chapter 7, or appointment of a chapter 11 trustee or examiner with

expanded powers in any of these Chapter 11 Cases, (c) seek to propose, subject to the provisions

of section 1121 of the Bankruptcy Code, a chapter 11 plan or plans; or (ii) any other rights, claims,

or privileges (whether legal or equitable or otherwise) of the DIP Lender or the Prepetition Secured


3
    The provisions of section 1146(a) of the Bankruptcy Code do not apply herein.


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Parties. The delay in or failure of the DIP Lender or the Prepetition Secured Parties to seek relief

or otherwise exercise their respective rights and remedies shall not constitute a waiver of any of

the DIP Lender’s or the Prepetition Secured Parties’ rights and remedies.

        24.    Right to Credit Bid. Pursuant to section 363(k) of the Bankruptcy Code, unless the

Court orders otherwise for cause as provided under section 363(k) of the Bankruptcy Code, the

DIP Lender shall have the right to credit bid the total of the DIP Obligations for any or all of the

DIP Collateral at a sale, lease or other disposition of such DIP Collateral outside the ordinary

course of business (including any auction or similar sales), whether pursuant to a plan of

reorganization or a motion pursuant to section 363 of the Bankruptcy Code or otherwise (which

credit bid rights under section 363(k) of the Bankruptcy Code or otherwise shall not be impaired

in any manner). Pursuant to section 363(k) of the Bankruptcy Code, unless the Court orders

otherwise for cause as provided under section 363(k) of the Bankruptcy Code, the Prepetition

Secured Parties shall have the right to credit bid the total of the Prepetition Secured Obligations

and the Adequate Protection Obligations for any or all of the Adequate Protection Collateral and

the Prepetition Collateral at a sale, lease or other disposition of such Adequate Protection Collateral

and/or Prepetition Collateral outside the ordinary course of business (including any auction or

similar sales), whether pursuant to a plan of reorganization or a motion pursuant to section 363 of

the Bankruptcy Code or otherwise (which credit bid rights under section 363(k) of the Bankruptcy

Code or otherwise shall not be impaired in any manner), provided, however any such credit bid

submitted by the Prepetition Secured Parties must include either (i) provisions for the satisfaction

of any secured claims of the DIP Lender that are senior to the secured claim that forms the basis

of the credit bid or (ii) evidence that the DIP Lender has affirmatively consented to any other

treatment of its senior secured claim. A credit bid may be applied only to reduce the cash



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consideration with respect to those assets in which the party submitting such credit bid holds a

perfected security interest. The DIP Lender and the Prepetition Secured Parties shall each be

considered a “Qualified Bidder” with respect to their rights to acquire all or any of the assets by

credit bid.

      25.           Remedies and Notice Upon the Occurrence of Maturity Date or Event of Default.

              (a)      Prior to payment in full of the DIP Obligations, upon prior written notice by the

DIP Lender to counsel for the Debtors, counsel for the Committee, counsel to the Citizens Secured

Parties, and the U.S. Trustee of the occurrence of an Event of Default (each as defined in the DIP

Loan Documents and incorporated herein by reference) and without further order of the Court, the

DIP Lender may (i) declare the DIP Obligations to be immediately due and payable; (ii) terminate

the DIP Lender’s commitment under the DIP Facility (other than the Carve-Out) or use of Cash

Collateral; (iii) charge default rate interest; and/or (iv) upon five (5) business days’ notice to

counsel to the Debtors, counsel to the Committee and the U.S. Trustee, exercise all default-related

rights and remedies against the DIP Collateral, without further order of or application or motion

to the Bankruptcy Court, and without restriction or restraint by any stay under sections 362 and

105 of the Bankruptcy Code or otherwise, provided however, that during the five (5) business day

notice period, any party in interest shall have the right to file a pleading in opposition to the DIP

Lender’s exercise of rights and remedies including the delivery of the Carve-Out Trigger Notice;

provided further that, unless otherwise ordered by the Court the only issue that may be raised by

any party in such pleading shall be whether in fact, an Event of Default has occurred and is

continuing; but provided further that, if an Event of Default occurs as a result of the Debtors’

failure to indefeasibly satisfy the DIP Obligations by the Stated Maturity Date (as defined in the




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DIP Loan Documents), the above referenced five (5) day notice period shall not apply and the

Debtors and all other interested parties shall not have any challenge rights.

             (b) Following the payment in full of the DIP Obligations, an “Event of Default” shall

occur hereunder on the earliest to occur of: (i) the effective date of a chapter 11 plan for each of

the Debtors; (ii) the entry of an order by this Court terminating the use of Cash Collateral; (iii) the

conversion of any of the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code; (iv)

the appointment of a trustee or examiner or other representative with expanded powers for the

Debtors; (v) the dismissal of the Chapter 11 Cases; (vi) the Debtors’ failure to perform any of their

obligations under this Interim Order or their failure to comply with any of the terms or conditions

of this Interim Order; provided that no Event of Default shall have occurred under this subsection

(vi) until the Prepetition Secured Parties has provided two business days’ written notice of any

such purported failure to perform to the Debtors, (vii) modification (without the express written

consent of the Prepetition Secured Parties), reversal or vacatur of this Interim Order; (viii) the

filing of a chapter 11 plan that does not provide for the indefeasible payment in full in cash of all

amounts due and owing under the Prepetition Loan Documents and all of the Adequate Protection

Obligations on the effective date of such plan, or that provides for the impairment of the Prepetition

Secured Parties’ claims or liens; (ix) the Court entering an order granting relief from the automatic

stay imposed by section 362 of the Bankruptcy Code to any entity other than Citizens Secured

Parties, with respect to the Adequate Protection Collateral and/or the Prepetition Collateral having

a value in excess of $150,000 without the written consent of the Prepetition Secured Parties, which

consent may not be unreasonably withheld; (x) a filing by any Debtor of any motion, pleading,

application or adversary proceeding challenging the amount, validity, enforceability, perfection,

priority or extent of the Prepetition Credit Liens, the Adequate Protection Liens, or asserting any



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other claims, counterclaims, causes of action, objections, contests or defenses against the

Prepetition Credit Obligations, the Prepetition Collateral, the Prepetition Citizens Liens, the

Adequate Protection Liens, and/or the 507(a) Claims; (xi) a filing of a motion for bidding

procedures or a motion for the sale of any or all of a Debtors’ assets that has not been made in

consultation with the Prepetition Secured Parties; or (xii) the Debtors’ failure to preserve or impair

the right of the Prepetition Secured Parties to credit bid on any sale of the Adequate Protection

Collateral and/or the Prepetition Collateral. Upon the occurrence of an Event of Default under this

subparagraph (b), the Citizens Secured Parties may file a motion for relief from the automatic stay

upon fourteen (14) days’ notice to exercise all default-related rights and remedies against the

Adequate Protection Collateral and/or the Prepetition Collateral, without further order of or

application or motion to the Bankruptcy Court, and without restriction or restraint by any stay

under sections 362 and 105 of the Bankruptcy Code or otherwise, provided however, the only issue

that may be raised by any party in opposition to such motion for relief from the automatic stay

shall be whether in fact, an Event of Default has occurred and is continuing.

        26.    Modification of Stay. Subject to the terms set forth herein, the automatic stay

imposed under section 362(a) of the Bankruptcy Code is hereby modified as necessary to

effectuate all of the terms, rights, benefits, privileges, remedies and provisions of this Interim

Order, and the DIP Loan Documents including without limitation, to permit the DIP Lender to

exercise all rights and remedies provided for in the DIP Loan Documents and take any and all

actions provided therein, in each case, without further notice, application to, order of or hearing

before this Court, including those set forth in paragraph 25 of this Interim Order.

        27.    Survival of DIP Liens, DIP Superpriority Claims, Adequate Protection Liens,

Adequate Protection Obligations and Other Rights. If, in accordance with section 364(e) of the



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Bankruptcy Code, this Interim Order does not become a final non-appealable order, if a trustee

terminates this Interim Order, or if any of the provisions of this Interim Order are hereafter

modified, amended, vacated or stayed by subsequent order of this Court or any other court, such

termination or subsequent order shall not affect the priority, validity, enforceability or

effectiveness of (or subordination to the Carve-Out of) any lien, security interests or any other

benefit or claim authorized hereby with respect to any DIP Obligations or Adequate Protection

Obligations incurred prior to the effective date of such termination or subsequent order. All such

liens, security interests, claims and other benefits shall be governed in all respects by the original

provisions of this Interim Order, and the DIP Lender and Citizens Secured Parties shall be entitled

to all the rights, remedies, privileges and benefits granted herein, including the liens and priorities

granted herein, with respect to any DIP Loan and Adequate Protection Obligations, subject to the

Carve-Out.

         28.   Survival of this Interim Order.

               (a)     The provisions of this Interim Order and any actions taken pursuant hereto

shall survive the entry of any order: (i) confirming any plan of reorganization in any of the Chapter

11 Cases; (ii) converting any of the Chapter 11 Cases to a chapter 7 case; or (iii) dismissing any

of the Chapter 11 Cases, and the terms and provisions of this Interim Order as well as the DIP

Superpriority Claims, the DIP Liens in DIP Collateral granted pursuant to this Interim Order and

the DIP Loan Documents, the Adequate Protection Liens, the 507(a) Claims, and the Adequate

Protection Obligations shall continue in full force and effect notwithstanding the entry of any such

order.

               (b)     The DIP Liens and the DIP Superpriority Claims shall maintain their

priority as provided by this Interim Order and the DIP Loan Documents, and to the maximum



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extent permitted by law, until all of the DIP Obligations are indefeasibly paid in full in cash and

discharged or otherwise treated under a plan of reorganization, which is reasonably acceptable to

the DIP Lender. In no event shall any plan of reorganization be allowed to alter the terms of

repayment of any of the DIP Obligations from those set forth in the DIP Loan Documents unless

agreed to by and among the Debtors and the DIP Lender.

        29.    Modifications of DIP Loan Documents. The Debtors and the DIP Lender are

hereby authorized to implement, in accordance with the terms of the DIP Loan Documents, any

non-material modifications of the DIP Loan Documents without further notice, motion or

application to, order of or hearing before, this Court. Any material modification or amendment to

the DIP Loan Documents shall only be permitted pursuant to an order of this Court, after being

submitted to this Court upon five (5) days’ notice to the U.S. Trustee, Citizens Secured Parties,

and counsel to the Committee; provided, that any forbearance from, or waiver of, (i) a breach by

the Debtors of a covenant representation or any other agreement or (ii) a default or an Event of

Default, in each case under the DIP Loan Documents shall not require an order of this Court. In

the event of any inconsistency between this Interim Order and the DIP Credit Agreement, this

Interim Order shall control.

        30.    Insurance Policies. Upon entry of this Interim Order, on each insurance policy

maintained by the Debtors which in any way relates to the DIP Collateral: (i) the DIP Lender shall

be, and shall be deemed to be, without any further action by or notice to any person, named as

additional insureds; and (ii) the DIP Lender shall be and shall be deemed to be, without any further

action by or notice to any person, named as loss payee for DIP Collateral on which the DIP Lien

holds a first priority lien. The Debtors are hereby authorized on a final basis, to and shall take any

actions necessary to have the DIP Lender be added as an additional insured and loss payee on each



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insurance policy maintained by the Debtors consistent with this Interim Order and DIP Credit

Agreement which in any way relates to the DIP Collateral.

        31.    Financial Information. The Debtors shall deliver to the DIP Lender and the Citizens

Secured Parties such financial and other information concerning the business and affairs of the

Debtors and any of the DIP Collateral and the Adequate Protection Collateral as may be required

pursuant to the DIP Loan Documents, the Prepetition Loan Documents and/or as the DIP Lender

or the Citizens Secured Parties shall reasonably request from time to time. The Debtors shall allow

the DIP Lender and the Citizens Secured Parties access to the premises in accordance with the

terms of the DIP Loan Documents and the Prepetition Loan Documents for the purpose of enabling

such parties to inspect and audit the DIP Collateral, the Adequate Protection Collateral and the

Debtors’ books and records.

        32.    Proofs of Claim. Notwithstanding any order entered by the Bankruptcy Court in

relation to the establishment of a bar date in the Chapter 11 Cases to the contrary, or otherwise,

the DIP Lender and the Prepetition Secured Parties shall not be required to file proofs of claim in

the Chapter 11 Cases for any claim allowed herein.




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         33.   Immediate Effect of Order. The terms and conditions of this Interim Order shall

be effective and immediately enforceable upon its entry by the Clerk of the Court notwithstanding

any potential application of Bankruptcy Rule 6004(h) or otherwise. Furthermore, to the extent

applicable, the notice requirements and/or stays imposed by Bankruptcy Rules 4001(a)(3),

6003(b), and 6004(a) are hereby waived for good and sufficient cause. The requirements of

Bankruptcy Rules 4001, 6003, and 6004, in each case to the extent applicable, are satisfied by the

contents of the Motion.


Dated:
                                             William J. Fisher
                                             United States Bankruptcy Judge




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                                    Exhibit 1

                              DIP Credit Agreement




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                                      Exhibit 2

                                  Approved Budget




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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City Food & Brewery Ltd.                              Case No. 19-43756

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City Restaurant Operations, Inc.                      Case No. 19-43757

                        Debtor.                             Chapter 11 Cases
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In re:                                                        Joint Administration Pending

Granite City of Indiana, Inc.                                 Case No. 19-43758

                        Debtor.                             Chapter 11 Cases
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In re:                                                        Joint Administration Pending

Granite City of Maryland, Inc.                                Case No. 19-43760

                        Debtor.                             Chapter 11 Cases
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In re:                                                        Joint Administration Pending

Granite City of Kansas Ltd.                                   Case No. 19-43759

                        Debtor.                             Chapter 11 Cases
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   DEBTORS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
    INTERIM AND FINAL ORDERS (I) GRANTING EXPEDITED HEARING, (II)
     APPROVING POSTPETITION FINANCING, (III) GRANTING LIENS AND
    PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS, (IV)
    AUTHORIZING USE OF CASH COLLATERAL, (V) GRANTING ADEQUATE
   PROTECTION, (VI) MODIFYING AUTOMATIC STAY, AND (VII) GRANTING
                              RELATED RELIEF
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         The above-named Debtors (collectively, the “Debtors”), by and through their undersigned

counsel, submit this memorandum of law in support of the accompanying motion in the above-

entitled matter and in accordance with Local Rule 9013-2(a). The relief requested in the Motion

should be granted to allow Debtors to continue operating their business.

                                   FACTUAL BACKGROUND

         The supporting facts are set forth in the verified Motion. All capitalized terms used herein

and not otherwise defined shall have the meanings ascribed to them in the motion.

                                        LEGAL ANALYSIS

I.       THE DEBTORS’ REQUEST FOR EXPEDITED RELIEF SHOULD BE GRANTED.

         The Debtors request expedited relief. Bankruptcy Rule 9006(c) provides that the Court may

reduce the notice period “for cause shown.” Cause exists here to grant the Motion on an expedited

basis. As described in the Motion, the liquidity to be provided under the DIP Financing is essential

to the Debtors’ continued operations and the success of the Debtors’ efforts to maximize the value

of the estates, and is needed on the most urgent basis possible. Without the proceeds of the DIP

Financing, the Debtors will be unable to effectuate an orderly sale process to the prejudice of their

creditors, their employees, and other stakeholders. Accordingly, the expedited relief requested is

necessary to avoid immediate and irreparable harm.

II.      THE DEBTORS SHOULD BE AUTHORIZED TO OBTAIN THE DIP FINANCING
         UNDER SECTION 364 OF THE BANKRUPTCY CODE

         Section 364 of the Bankruptcy Code authorizes a debtor in possession to obtain postpetition

financing and to grant superpriority administrative status and liens on its property. Specifically,

Section 364(c) provides as follows:

         If the trustee is unable to obtain unsecured credit allowable under section 503(b)(1)
         of this title as an administrative expense, the court, after notice and a hearing, may
         authorize the obtaining of credit or the incurring of debt:

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                (1) with priority over any or all administrative expenses of the kind
       specified in section 503(b) or 507(b) of [the Bankruptcy Code]; [or]
                (2) secured by a lien on property of the estate that is not otherwise subject
       to a lien; or
                (3) secured by a junior lien on property of the estate that is subject to a lien[.]

11 U.S.C. § 364(c). Further, § 364(d) provides:

       (1) The court, after notice and a hearing, may authorize the obtaining of credit or
       the incurring of debt secured by a senior or equal lien on property of the estate only
       if:
               (A)     the trustee is unable to obtain such credit otherwise; and
               (B)     there is adequate protection of the interest of the holder of the lien
       on the property of the estate on which such senior or equal lien is proposed to be
       granted.
       (2) In any hearing under this subsection, the trustee has the burden of proof on the
       issue of adequate protection.

11 U.S.C. § 364(d).

       Provided that an agreement to obtain secured credit is consistent with the Bankruptcy Code

and its underlying policies, courts afford debtors considerable deference in exercising sound

business judgment to obtain such credit. See, e.g., In re Barbara K. Enters., Inc., No. 08-11474,

2008 WL 2439649, at *14 (Bankr. S.D.N.Y. June 16, 2008) (explaining that courts defer to a

debtor’s business judgment “so long as a request for financing does not ‘leverage the bankruptcy

process’ and unfairly cede control of the reorganization to one party in interest.”); In re Ames Dep’t

Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s

discretion under section 364 [of the Bankruptcy Code] is to be utilized on grounds that permit [a

debtor’s] reasonable business judgment to be exercised so long as the financing agreement does

not contain terms that leverage the bankruptcy process and powers or its purpose is not so much

to benefit the estate as it is to benefit a party-in-interest.”); In re Farmland Indus., Inc., 294 B.R.

855, 881 (Bankr. W.D. Mo. 2003) (noting that approval of post petition financing requires, inter

alia, an exercise of “sound and reasonable business judgment”).



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       Further, in determining whether the Debtors have exercised sound business judgment in

deciding to enter into the DIP Loan Documents, this Court may appropriately take into

consideration non-economic benefits to the Debtors accompanying the proposed postpetition

facility. For example, in In re ION Media Networks, Inc., the Bankruptcy Court for the Southern

District of New York held that:

       Although all parties, including the Debtors and the Committee, are naturally
       motivated to obtain financing on the best possible terms, a business decision to
       obtain credit from a particular lender is almost never based purely on economic
       terms. Relevant features of the financing must be evaluated, including non-
       economic elements such as the timing and certainty of closing, the impact on
       creditor constituencies and the likelihood of a successful reorganization. This is
       particularly true in a bankruptcy setting where cooperation and established
       allegiances with creditor groups can be a vital part of building support for a
       restructuring that ultimately may lead to a confirmable reorganization plan. That
       which helps foster consensus may be preferable to a notionally better transaction
       that carries the risk of promoting unwanted conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).

       Here, given all the facts and circumstances present in these cases, the Debtors have satisfied

the necessary conditions under §§ 364(c) and (d) of the Bankruptcy Code for authority to enter

into the DIP financing. The Debtors exercised proper business judgment in securing the DIP

Financing on terms that are fair and reasonable and the best available to them in the current market.

The Debtors could not obtain credit on an unsecured or administrative expense basis, and the

Debtors have provided the Prepetition Secured Parties with adequate protection against any

potential diminution in value of their interests. Moreover, JMB and Citizens have consented to

both the terms of the DIP Financing and the adequate protection proposed in connection therewith.

For all the reasons discussed below, therefore, the Court should grant the Debtors’ request to enter

into the DIP Financing pursuant to §§ 364(c) and (d) of the Bankruptcy Code.




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       A.      The Debtors Exercised Sound and Reasonable Business Judgment in Deciding
               to Enter into the DIP Financing

       Based on the facts of these Cases, the DIP Financing represents a proper exercise of the

Debtors’ business judgment. Bankruptcy courts routinely defer to the debtors’ business judgment

on most business decisions, including decisions about whether and how to borrow money. Grp. Of

Institutional Investors v. Chi., Milwaukee, St. Paull & Pac. R.R., 318 U.S. 523, 550 (1943); In re

Farmland Indus., Inc. at 882) (“Business judgments should be left to the board room and not to

this Court.”) (quoting In re Simasko Prod. Co., 47 B.R. 444, 449 (Bankr. D. Colo. 1985)); In re

Lifeguard Indus., Inc., 37 B.R. 3, 17 (Bankr. S.D. Ohio 1983). “More exacting scrutiny would

slow the administration of the debtors’ estate and increase its cost, interfere with the Bankruptcy

Code’s provision for private control of administration of the estate, and threaten the court’s ability

to control a case impartially.” Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311

(5th Cir. 1985).

       In general, a bankruptcy court defers to a debtor’s business judgment regarding the need

for, and the proposed use of, funds, unless the debtor’s decision improperly leverages the

bankruptcy process or its purpose is not so much to benefit the estate as it is to benefit a party in

interest. See Ames Dep’t Stores, 115 B.R. at 40; see also In re Curlew Valley Assocs., 14 B.R. 506,

511-13 (Bankr. D. Utah 1981). Courts generally will not second-guess a debtor’s business

decisions when those decisions involve “a business judgment made in good faith, upon a

reasonable basis, and within the scope of [its] authority under the [Bankruptcy] Code.” Id. at 513-

14 (footnote omitted).

       To determine whether the business judgment test is met, “the court ‘is required to examine

whether a reasonable business person would make a similar decision under similar

circumstances.’” In re Dura Auto. Sys. Inc., No. 06-11202 (KJC), 2007 Bankr. LEXIS 2764, at


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*272 (Bankr. D. Del. Aug. 15, 2007) (quoting In re Exide Techs., Inc., 340 B.R. 222, 239 (Bankr.

D. Del. 2006)).

        Here, the Debtors have exercised sound business judgment in determining that the DIP

financing is appropriate. The Debtors are not able to operate with cash collateral as the sole source

of funding. The Debtors and their advisors analyzed whether projected cash collateral would

suffice to fund operations during the case, and concluded that DIP Financing is necessary. The

Debtors considered such factors as the uncertainty inherent in estimating the timing of receipts and

disbursements and the need for continued periodic incremental liquidity. In consideration of these

factors, the Debtors concluded that the benefits and certainty provided by using DIP Financing

outweighed the risks associated with attempting to finance the operations solely with cash

collateral.

        With the assistance of their advisors, the Debtors concluded that the DIP Financing

represents the best terms available in the current market. The Debtors were unable to find

alternative DIP Financing on better terms. See Lynch Decl. ¶¶74-80. Given the need for financing,

the Debtors’ decision is therefore sound and reasonable under the circumstances.

        Furthermore, the Prepetition Secured Parties have consented to the terms of the DIP

Financing and their treatment thereunder on the terms set forth in the DIP Orders. Their consent

to the financing and support for the process are important considerations when planning a

successful chapter 11 case. Rather than engaging in a costly and distracting dispute with the

Prepetition Secured Parties regarding the use of cash collateral or a priming lien, the Debtors are

free to concentrate on operating their business, running a comprehensive sale process, and

maximizing the value of the estate.

        The DIP Financing will send a strong signal to the Debtors’ employees, vendors, and other

parties in interest regarding the viability of the Debtors’ process. Accordingly, if approved, the
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DIP Financing will preserve and enhance the value of the Debtors’ estates. As such, entry into the

DIP Financing is a sound exercise of the Debtors’ business judgment.

       B.      The Debtors Meet the Conditions Necessary Under Section 364(c) to Obtain
               Postpetition Financing on a Senior Secured and Superpriority Basis

       Section 364(c) of the Bankruptcy Code authorizes a debtor to obtain postpetition financing

on a secured or superpriority basis, or both, where the Court finds, after notice and a hearing, that

the debtors are “unable to obtain unsecured credit allowable under section 503(b)(1) of the

[Bankruptcy Code]. . . .” 11 U.S.C. § 364(c).

       Courts have articulated a three-part test to determine whether a debtor is entitled to obtain

financing under § 364(c) of the Bankruptcy Code. Specifically, courts look to whether:

       (a)    the debtor is unable to obtain unsecured credit under section 364(b), i.e., by
       allowing a lender only an administrative expense claim;
       (b)    the credit transaction is necessary to preserve the assets of the estate; and
       (c)    the terms of the transaction are fair, reasonable, and adequate, given the
       circumstances of the debtor-borrower and the proposed lender.

In re Ames Dep’t Stores, Inc., 115 B.R. at 37-39; accord In re St. Mary Hosp., 86 B.R. 893, 401

(Bankr. E.D. Pa. 1988); In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987).

       In order to satisfy this test, a debtor need only demonstrate “by a good faith effort that

credit was not available” to the debtor on an unsecured or administrative expense basis. Bray v.

Shenandoah Fed. Savs. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986);

accord In re Ames Dep’t Stores, Inc., 115 B.R. at 37 (debtor must show that it has made reasonable

efforts to seek other sources of financing under sections 364(a) and (b) of the Bankruptcy Code);

In re Crouse Grp., Inc., 71 B.R. at 549 (secured credit under section 364(c)(2) of the Bankruptcy

Code is authorized, after notice and hearing, upon showing that unsecured credit cannot be

obtained). “The statute imposes no duty to seek credit from every possible lender before

concluding that such credit is unavailable.” Id.; see also Pearl-Phil GMT (Far East) Ltd. V. Caldor


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Corp., 266 B.R. 575, 584 (S.D.N.Y. 2001) (superpriority administrative expenses authorized

where debtor could not obtain credit as an administrative expense). This is especially true when

time is of the essence. In re Reading Tube Indus., 72 B.R. 329, 332 (Bankr. E.D. Pa. 1987). When

few lenders are likely to be able and willing to extend the necessary credit, “it would be unrealistic

and unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re

Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom., Anchor Savs. Bank

FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also Ames Dep’t Stores, 115

B.R. at 40 (approving financing facility and holding that the debtor made reasonable efforts to

satisfy the standards of § 364(c) by approaching four lending institutions and selecting the most

favorable of the two offers it received).

       As laid out in the Lynch Declaration, the Debtors made reasonable efforts to secure the

best possible postpetition financing under the circumstances. Because of the Debtors’ urgent need

for liquidity and the challenging state of the hospitality industry (Restaurants Unlimited, Kona

Grill, Perkins and Marie Calender’s, and Houlihan’s have all filed bankruptcy in 2019), the

Debtors were unable to solicit any viable proposals that authorized financing on an unsecured or

administrative expense basis. To the contrary, the Debtors’ negotiations made clear that the

Debtors’ only viable option was to obtain financing from JMB on the terms provided in the DIP

Loan Documents. See Lynch Decl. ¶¶ 74-80.

       The Court should therefore authorize the Debtors to provide the DIP Lender superpriority

administrative expense status for any obligations arising under the DIP Credit Agreement as

provided for in § 364(c)(1) of the Bankruptcy Code, subordinate only to the DIP Liens, the DIP

Carve-Out and Permitted Prepetition Liens.




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       C.      The Debtors Should Be Authorized to Obtain Postpetition Financing Secured
               by Liens That are Senior to the Liens Securing the Prepetition Secured Debt

       In addition to authorizing financing under Section 364(c) of the Bankruptcy Code, a court

may also authorize a debtor to obtain postpetition credit secured by a lien that is senior in priority

to existing liens on encumbered property if the debtor cannot otherwise obtain such credit and the

interests of existing lien holders are adequately protected or consent is obtained. See 11 U.S.C. §

364(d)(1).

       When determining whether to authorize a debtor to obtain credit secured by a lien that is

senior or equal to a prepetition lien as authorized by section 364(d) of the Bankruptcy Code, courts

focus on whether the transaction will enhance the value of the debtor’s assets. Courts consider a

number of factors, including, without limitation:

      Whether alternative financing is available on any other basis (i.e., whether any other
       proposals are before the court);
      Whether the proposed financing is necessary to preserve estate assets and is necessary,
       essential, and appropriate for continued operation of the debtor’s business;
      Whether the terms of the proposed financing are reasonable and adequate given the
       circumstances of both the debtor and proposed lender(s); and
      Whether the proposed financing agreement was negotiated in good faith and at arm’s length
       and entry therein is an exercise of sound and reasonable business judgment and in the best
       interest of the debtor’s estate and its creditors.

See, e.g., Ames Dep’t Stores, 115 B.R. at 37-39; Bland v. Farmworker Creditors, 308 B.R. 109,

113-14 (S.D. Ga. 2003); Farmland Indus., 294 B.R. at 862-79; Barbara K. Enters., 2008 WL

2439649, at *10.

       The DIP Financing satisfies each of these factors. First, as described above, despite

significant efforts, the Debtors were unable to obtain alternative DIP financing. The agreement

before the court reflects the most favorable terms on which the Debtors were able to obtain

financing. The Debtors are not able to obtain financing on equal or better terms than the terms




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provided by the DIP Lender, or any other source, without granting liens senior in priority to those

securing the prepetition obligations.

         Second, the Debtors urgently need the funds to be provided under the DIP Financing to

preserve the value of their estates for the benefit of all creditors and other parties in interest.

Without the DIP Financing, the Debtors will be unable to operate and conduct a responsible sale

process. Providing the Debtors with the liquidity necessary to preserve their going concern value

through the pendency of these Cases is in the best interests of all stakeholders.

         Third, the terms of the DIP Financing are reasonable and adequate to support the Debtors’

necessary activities through the pendency of these Cases. The interest rates and fees under the DIP

Financing are market rates in comparison to the interest rates and fees in other recent hospitality

cases.

         Fourth, as described in greater detail above and in the Lynch Declaration, the Debtors and

the DIP Lender negotiated the DIP Loan Documents in good faith and at arms’ length, and the

Debtors’ entry into the DIP Loan Documents is an exercise of their sound business judgment. The

DIP Financing is on the most favorable terms available to the Debtors under current market

conditions and the Debtors’ financial condition. In light of all these factors, the Debtors should be

authorized to secure the DIP Financing with first priority senior priming liens.

         D.     The Interests of the Prepetition Secured Parties are Adequately Protected

         The DIP Financing adequately protects the interests of Citizens Bank and other Prepetition

Secured Parties. Furthermore, Citizens Bank has consented to the DIP Financing on the terms set

forth in the DIP Orders. The interests of Citizens Bank are protected by (i) the Adequate Protection

Liens (as defined in the DIP Orders) to secure the prepetition secured obligations; (ii) superpriority

claims to the extent that the Adequate Protection Liens do not adequately protect against any

diminution in value of Citizens Bank’s Prepetition Collateral; and (iii) contemporaneous access to
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all post-petition financial reporting provided to the DIP Lender under the DIP Credit Agreement.

Other Prepetition Secured Parties are protected through carve-outs and through designation as

Permitted Prior Liens.

       A debtor may obtain post-petition credit “secured by a senior or equal lien on property of

the estate that is subject to a lien only if” the debtor, among other things, provides “adequate

protection” to those parties whose liens are primed. See 11 U.S.C. § 364(d)(1)(B). What constitutes

adequate protection is decided on a case-by-case basis, and adequate protection may be provided

in various forms, including payment of adequate protection fees, payment of interest or granting

of replacement liens or administrative claims. See, e.g., In re Martin, 761 F.2d 472, 474 (8th Cir.

1985) (“[S]uch matters ‘are [to be] left to case-by-case interpretation and development.’”) quoting

H.R. Rep. No. 595, 95th Cong., 2d Sess. 339, reprinted in 1978 U.S. Code Cong. & Ad. News

5963, 6295); In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“the determination of

adequate protection is a fact-specific inquiry . . . left to the vagaries of each case”); In re Realty

Sw. Assocs., 140 B.R. 360 (Bankr. S.D.N.Y. 1992); In re Beker Indus. Corp., 58 B.R. 725, 736

(Bankr. S.D.N.Y. 1986) (the application of adequate protection “is left to the vagaries of each case,

but its focus is protection of the secured creditor from diminution in the value of its collateral

during the reorganization process”) (citation omitted).

       The critical purpose of adequate protection is to guard against the diminution of a secured

creditor’s collateral during the period when such collateral is being used by the debtor in

possession. See Martin, 761 F.2d at 474; In re Johnson, 90 B.R. 973, 978 (Bankr. D. Minn. 1988)

(holding that secured creditor is not impaired and is not entitled to receive adequate protection

payments where value of collateral does not decline); 495 Cent. Park, 136 B.R. at 631 (“The goal

of adequate protection is to safeguard the secured creditor from diminution in the value of its



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interest during the chapter 11 reorganization.”); In re Beker Indus. Corp., 58 B.R. at 736; In re

Hubbard Power & Light, 202 B.R. 680, 685 (Bankr. E.D.N.Y. 1996).

        Further, courts in this district and others have approved similar forms of adequate

protection for prepetition secured creditors. See, e.g., In re Duke and King Acquisition Corp., No.

10-38652 (GFK) (Bankr. D. Minn. Jan. 24, 2011) [ECF No. 138] (authorizing replacement liens

to prepetition secured creditors for the use of cash collateral); In re Otter Tail AG Enters., LLC,

2009 Bankr. LEXIS 5352, at *10-11 (Bankr. D. Minn. Nov. 20, 2009) (granting, inter alia,

adequate protection liens for the use of cash collateral); In re Schwing America, Inc., No. 09-36760

(NCD) (Bankr. D. Minn. Oct. 2, 2009) [ECF No. 15] (granting replacement liens in connection

with authorizing postpetition financing on an interim basis); In re Polaroid Corp., No. 08-46617

(GFK) (Bankr. D. Minn. Jan. 27, 2009) [ECF No. 70] (authorizing replacement liens to prepetition

secured creditors for the use of cash collateral); In re Premium Protein Prods., LLC, 2009 Bankr.

LEXIS 5285, at *26-27 (Bankr. D. Neb. Nov. 18, 2009) (granting adequate protection liens and

superpriority claims pursuant to 507(b) to prepetition lenders); In re AMF Bowling Worldwide,

Inc., No. 12-36495 (KRH) Bankr. E.D. Va. Dec. 12, 2012) (granting, inter alia, first and second

lien adequate protection liens); In re Patriot Coal Corp., No. 12-12900 (SCC) (Bankr. S.D.N.Y.

Aug. 3, 2012) [ECF No. 275] (granting, inter alia, DIP liens, adequate protection liens and

superpriority claims to secure DIP obligations); In re NewPage Corp., No. 11-12804 (KG) (Bankr.

D. Del. Oct. 5, 2011).

        Accordingly, the Court should find that the adequate protection provided to Citizens Bank

is fair and reasonable, and satisfies the requirements of section 364(d)(1)(B) of the Bankruptcy

Code.




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        E.      The Roll-Up of the Prepetition Additional Term Loan Obligations Should be
                Approved

        Upon entry of the Interim Order and the occurrence of the Closing Date (as defined in the

DIP Loan Documents), obligations for an Additional Term Loan granted by the DIP Lender to the

Debtors prepetition will be immediately, automatically, and irrevocably deemed to have been

converted into DIP Roll-Up Obligations, and such DIP Roll-Up Obligations shall constitute DIP

Obligations and shall be entitled to all the priorities, privileges, rights, and other benefits afforded

to the other DIP Obligations. This “Roll-Up” is necessary, as the DIP Lender is not willing to

provide the DIP Facility unless the prepetition Additional Term Loan is granted all the same

protections as the postpetition DIP Facility.

        Taking into account the nature of this proposed transaction, the Debtors carefully

considered its terms, including the “Roll-UP” obligation and determined it was appropriate and in

in the best interest of the estaes. The prepetition Additional Term Loan was provided by the DIP

Lender prepetition, and used to fund operations and prepare for an orderly chapter 11 process,

including providing the Debtors will a runway to implement a lengthy marketing process and

prepare other first day pleadings. The DIP Financing is essential to a successful chapter 11 process,

and the prepetition DIP Lender is the only viable source of this crucial financing. The Debtors

submit that the roll-up is appropriate and in the best interests of their estates.

        Moreover, such roll-ups of prepetition debt are often approved at the outset of a chapter 11

case. See, e.g., In re Patriot Coal Corp., No. 12-12900 (ALG) (Bankr. S.D.N.Y. July 11, 2012);

In re Eastman Kodak Co., No. 12-10202 (ALG) (Bankr. S.D.N.Y. Jan. 20, 2012); In re NewPage

Corp., No. 11-12804 (KG) (Bankr. D. Del. Oct 5, 2011); In re The Great Atl. & Pac. Tea Co., No.

10-24549 (RDD) (Bankr. S.D.N.Y. Jan. 11, 2011); In re Bear Island Paper Co., L.L.C., No. 10-

31202 (DOT) (Bankr. E.D. Va. Feb. 26, 2010); In re Calpine Corp., No. 05-60200 (BRL) (Bankr.


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S.D.N.Y. 2007); In re Rowe Cos., No. 06-11142 (KRH) (Bankr. E.D. Va. Oct. 16, 2006). Given

the exigent need for liquidity here, this Court can and should authorize the Roll-Up transaction.

III.    THE DEBTORS             SHOULD         BE    AUTHORIZED           TO     USE     THE      CASH
        COLLATERAL

        Section 363(c) of the Bankruptcy Code governs a debtor’s use of a secured creditor’s cash

collateral. Specifically, that provision provides, in pertinent part, that: “The trustee may not use,

sell, or lease cash collateral . . . unless—

                (A)     each entity that has an interest in such cash collateral
                consents; or
                (B)     the court, after notice and a hearing, authorizes such use,
                sale, or lease in accordance with the provisions of [section 363].

11 U.S.C. § 363(c)(2). Further, section 363(e) provides that “on request of an entity that has an

interest in property . . . proposed to be used, sold or leased, by the trustee, the court, with or without

a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e).

        The Debtors have satisfied the requirements of sections 363(c)(2) and (e), and should be

authorized to use the Cash Collateral. First, as explained above, the DIP Lender and Citizens Bank

have consented to the use of its Cash Collateral on the terms set forth in the DIP Orders. Second,

as described above, the Debtors are providing the Prepetition Secured Parties with (i) the Adequate

Protection Liens (as defined in the DIP Orders) to secure the prepetition secured obligations; (ii)

superpriority claims to the extent that the Adequate Protection Liens do not adequately protect

against any diminution in value of Citizens Bank’s Prepetition Collateral; (iii) contemporaneous

access to all post-petition financial reporting provided to the DIP Lender under the DIP Credit

Agreement; and (iv) carve-outs and designation as Permitted Prior Liens for other prepetition

Secured Lenders.



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IV.     THE DEBTORS SHOULD BE AUTHORIZED TO PAY THE FEES IN
        CONNECTION WITH THE DIP FINANCING

        The Debtors have agreed, subject to Court approval, to pay certain fees to the DIP Lender

in connection with the DIP financing. Specifically, the Debtors will pay a 1% Commitment Fee, a

2% Funding Fee, a 3% Exit fee, and a $50,000.00 non-refundable work fee. The fees the Debtors

have agreed to pay to the DIP Lender and other obligations under the DIP Credit Agreement

represent the most favorable terms on which the DIP Lender would agree to make the DIP

Financing Available. The fees are in line with market rates and other DIP facilities approved in

recent hospitality cases. The fees are also lower than what had been offered by other potential

lenders in connection with the Debtors’ efforts to locate such financing prepetition. The Debtors

considered the fees when determining in their sound business judgment that the DIP Loan

Documents constituted the best terms on which the Debtors could obtain the postpetition financing

necessary to continue their operations and prosecute these Cases, and paying these fees in order to

obtain the DIP Financing is in the best interests of the Debtors’ estates and creditors and other

parties in interest.

V.      THE SCOPE OF THE DIP CARVE-OUT IS APPROPRIATE

        The DIP Financing subjects the security interests and administrative expense claims of the

DIP Lender to the DIP Carve-Out. Such carve-outs for professional fees have been found to be

reasonable and necessary to ensure that a debtor’s estate and any statutory committee can retain

assistance from their professionals in certain circumstances during an event of default under the

terms of the debtor’s postpetition financing. See Ames, 115 B.R. at 40. The DIP Financing does

not directly or indirectly deprive the Debtors’ estates or other parties in interest of possible rights

and powers by restricting the services for which professionals may be paid in these cases. Id. at 38

(observing that courts insist on carve-outs for professionals representing parties-in-interest because


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“[a]bsent such protection, the collective rights and expectations of all parties-in-interest are sorely

prejudiced”). Additionally, the DIP Carve-Out protects against administrative insolvency during

the course of these Cases by ensuring that assets remain for the payment of U.S. Trustee fees and

professional fees of the Debtors and the Creditors’ Committee notwithstanding the grant of

superpriority claims and the DIP Liens and Adequate Protection Liens.

       Courts in this district and others routinely approve of carve-outs agreed to by the debtors

and their DIP financing lenders. See, e.g., In re Genmar Holdings, Inc., No. 09-43537 (Bankr. D.

Minn. June 4, 2009) [ECF No. 23]; In re US Fidelis, Inc., 2010 Bankr. LEXIS 5837, at *18 (Bankr.

E.D. Mo. 28, 2010); In re Trilogy Dev. Co., 2009 Bankr. LEXIS 5178, at *18-19 (Bankr. W.D.

Mo. July 14, 2009); In re AMF Bowling Worldwide, Inc., No. 12-36495 (KRH) (Bankr. E.D. Va.

Dec. 18, 2012); In re The Great Atl. & Pac. Tea Co., No. 10-24549 (RDD) (Bankr. S.D.N.Y. Jan.

11, 2011). This Court should do so as well.

VI.    THE DIP LENDER AND PREPETITION SECURED PARTIES SHOULD BE
       DEEMED TO HAVE ACTED IN GOOD FAITH UNDER SECTION 364(e)

       Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect on

loans extended to a debtor, and its right in any lien securing those loans, even if the authority of

the debtor to obtain such loans or grant such liens is later reversed or modified on appeal. Section

364(e) of the Bankruptcy Code provides that:

       The reversal or modification on appeal of an authorization under this section [364
       of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
       section of a priority or a lien, does not affect the validity of any debt so incurred, or
       any priority or lien so granted, to an entity that extended such credit in good faith,
       whether or not such entity knew of the pendency of the appeal, unless such
       authorization and the incurring of such debt, or the granting of such priority or lien,
       were stayed pending appeal.

11 U.S.C. § 364(e).




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       As explained in detail herein and in the Lynch Declaration, the DIP Loan Documents and

proposed DIP Orders are the result of the Debtors’ reasonable and informed determination that the

DIP Lender offered the most favorable terms on which to obtain needed postpetition financing,

and of arm’s-length, good faith negotiations between the Debtors, the DIP Lender, and the

Prepetition Secured Parties. The terms and conditions of the DIP Loan Documents are fair and

reasonable, the adequate protection provided to the Prepetition Secured Parties is fair and

reasonable, and the proceeds of the DIP Financing will be used only for purposes that are

permissible under the Bankruptcy Code. Further, no consideration is being provided to any party

to the DIP Loan Documents other than as described herein. Accordingly, the Court should find

that the DIP Lender and Prepetition Secured Parties are “good faith” lenders within the meaning

of section 364(e) of the Bankruptcy Code, and are entitled to all of the protections afforded by that

section.

VII.   MODIFICATION OF THE AUTOMATIC STAY IS WARRANTED

       The DIP Loan Documents contemplate that the automatic stay arising under section 362 of

the Bankruptcy Code shall be vacated or modified to the extent necessary to permit the DIP Lender

to exercise, upon the occurrence and during the continuation of any Event of Default, all rights

and remedies provided for in the DIP Credit Agreement, and to take various other actions without

further order of or application to the Court, subject to a required notice period. Specifically, the

proposed interim order provides that the DIP Lender must provide five (5) business days’ notice

to counsel to the Debtors, counsel to the Committee, and the U.S.Trustee before the DIP Lender

may exercise any default-related rights and remedies against the DIP Collateral and that during the

five (5) business day notice period any party in interest may file a pleading in opposition to the

DIP Lender’s exercise of rights and remedies based on the sole issue of whether an Event of

Default has occurred and is continuing.
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       Stay modification provisions of this sort are ordinary features of DIP financing and, in the

Debtors’ business judgment, are reasonable under the circumstances. See, e.g., In re Premium

Protein Prods., LLC, 2009 Bankr. LEXIS 5285, at *31-32 (Bankr. D. Neb. Nov. 18, 2009); In re

Trilogy Dev. Co., 2009 Bankr. LEXIS 5178, at *19 (Bankr. W.D. Mo. July 14, 2009); In re AMF

Bowling Worldwide, Inc., No. 12-36495 (KRH) (Banbkr. E.D. Va. Dec. 18, 2012); In re Patriot

Coal Corp., No. 12-12900 (SCC) (Bankr. S.D.N.Y. Aug. 3, 2012); In re Eastman Kodak Co., No.

12-10202 (ALG) (Bankr. S.D.N.Y. Feb. 16, 2012); In re Roomstore, Inc., No. 11-37790 (KLP)

(Bankr. E.D. Va. Jan. 5, 2012); In re The Great Atl. & Pac Tea Co., No. 10-24549 (RDD) (Bankr.

S.D.N.Y. Jan. 11, 2011); In re Canal Corp. f/k/a Chesapeake Corp., No. 08-36642 (DOT) (Bankr.

E.D. Va. Feb. 3, 2009); In re Circuit City Stores, Inc., No. 08-35653 (KRH) (Bankr. E.D. Va. Dec.

23, 2008).

VIII. THE DEBTORS REQUIRE IMMEDIATE ACCESS TO THE DIP FINANCING

       The Court may grant interim relief in respect of a motion filed pursuant to section 363(c)

or 364 of the Bankruptcy Code where, as here, interim relief is “necessary to avoid immediate and

irreparable harm to the estate pending a final hearing.” Fed. R. Bankr. P. 4001(b)(2), (c)(2). In

examining requests for interim relief under this rule, courts generally apply the same business

judgment standard applicable to other business decisions. See Ames Dep’t Stores, 115 B.R. at 36.

       The Debtors and their estates will suffer immediate and irreparable harm if the interim

relief requested herein, including authorizing the Debtors to borrow up to $5 million under the DIP

Financing, is not granted promptly after the Petition Date. Further, the Debtors anticipate that the

commencement of these cases will significantly and immediately increase the demands on their

free cash as a result of, among other things, the costs of administering these cases and addressing

key constituents’ concerns regarding the Debtors’ financial health and ability to continue

operations in light of these cases. Accordingly, the Debtors have an immediate need for access to
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liquidity to, among other things, continue the operation of their businesses, maintain their

relationships with customers, meet payroll, pay capital expenditures, procure goods and services

from vendors and suppliers and otherwise satisfy their working capital and operational needs, all

of which is required to preserve and maintain the Debtors’ enterprise value for the benefit of all

parties in interest.

        The importance of a debtor’s ability to secure postpetition financing to prevent immediate

and irreparable harm to its estate has been repeatedly recognized in this district and others in

similar circumstances. See, e.g, In re Genmar Holdings, Inc., No. 09-43537 (Bankr. D. Minn. June

4, 2009) [ECF No. 23] (approving DIP loan with granting of senior lien); In re US Fidelis, Inc.,

2010 Bankr. LEXIS 5837, at *10 (Bankr. E.D. Mo. May 28, 2010) (authorizing secured

postpeititon financing on a superpriority basis); In re Premium Protein Prods., LLC, 2009 Bankr.

LEXIS 5285, at *6-9 (Bankr. D. Neb. Nov. 18, 2009) (authorizing debtor to incur postpetition

secured indebtedness on an interim basis); In re Trilogy Dev. Co., 2009 Bankr. LEXIS 5178, at *7

(Bankr. W.d. Mo. July 14, 2009) (authorizing postpetition secured financing with superpriority

DIP liens priming prepetition secured construction loan); In re Va. United Methodist Homes of

Williamsburg, Inc., No. 13-31098 (KRH) (Bankr. E.D. Va. Mar. 6, 2013) (approving postpetition

financing on an interim basis); In re AMF Bowling Worldwide, Inc, No. 12-36495 (KRH)

(Bankr.E.D. Va. Nov.. 14, 2012); In re Patriot Coal Corp., No. 12-12900 (ALG) (Bankr. S.D.N.Y.

July 12, 2012); In re Eastman Kodak Co., No. 12-10202 (ALG) (Bankr. S.D.N.Y. Jan. 20, 2012);

In re Roomstore, Inc., No. 11-37790 (KLP) (Bankr. E.D. Va. Dec. 14, 2011); In re Bear Island

Paper Co., L.L.C., No. 10-31202 (DOT) (Bankr. E.D. Va. Feb. 26, 2010); In re Lyondell Chem.

Co., No. 09-10023 (REG) (Bankr. S.D.N.Y. Jan. 8, 2009). Likewise, for the reasons set forth

above, prompt entry of the Interim Order is necessary to avert immediate and irreparable harm to



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the Debtors’ estates and is consistent with, and warranted under, Bankruptcy Rules 4001(b)(2) and

(c)(2).

                                           CONCLUSION

          For the foregoing reasons, the Debtors respectfully request that the Court grant the relief

requested in this Motion.

                                                        BRIGGS AND MORGAN, P.A.

                                                           /e/ James M. Jorissen
     Dated: December 17, 2019                           By: _________________________
                                                        James M. Jorissen, #262833
                                                        Karl J. Johnson, #391211
                                                        2200 IDS Center
                                                        80 South Eighth Street
                                                        Minneapolis, MN 55402
                                                        Telephone: 612-977-8400
                                                        Facsimile: 612-977-8650
                                                        jjorissen@briggs.com
                                                        kjohnson@briggs.com

                                                        PROPOSED COUNSEL FOR THE
                                                        DEBTORS




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                    UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City Food & Brewery Ltd.                              Case No. 19-43756

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City Restaurant Operations, Inc.                      Case No. 19-43757

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City of Indiana, Inc.                                 Case No. 19-43758

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City of Maryland, Inc.                                Case No. 19-43760

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________

In re:                                                        Joint Administration Pending

Granite City of Kansas Ltd.                                   Case No. 19-43759

                        Debtor.                             Chapter 11 Cases
______________________________________________________________________________


         INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN
      POSTPETITION FINANCING (II) GRANTING SECURITY INTERESTS AND
      SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS; (III) GRANTING
     ADEQUATE PROTECTION TO CERTAIN PREPETITION SECURED CREDIT
      PARTIES; (IV) MODIFYING THE AUTOMATIC STAY; (V) AUTHORIZING



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THE DEBTORS TO ENTER INTO AGREEMENTS WITH JMB CAPITAL PARTNERS
    LENDING, LLC; (VI) AUTHORIZING USE OF CASH COLLATERAL; (VII)
  SCHEDULING A FINAL HEARING AND (VIII) GRANTING RELATED RELIEF

         THIS MATTER having come before the Court upon the motion (the “Motion”)1 of the

above-captioned debtors (the “Debtors” or the “Borrowers”) in the above-captioned chapter 11

cases (the “Chapter 11 Cases”), pursuant to sections 105, 361, 362, 363, 364 and 507 of title 11

of the United States Code, (11 U.S.C. §§ 101 et seq., as amended, the “Bankruptcy Code”), Rules

2002 and 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rules 2002-1 and 4001-2, seeking entry of an interim order (the “Interim Order”) and a

final order (the “Final Order”) granting inter alia:

       i.         authority, pursuant to sections 105, 363, and 364(c) and 364(d) of the Bankruptcy

Code, for each of the Debtors, jointly and severally, to obtain senior secured postpetition financing

(“DIP Facility”) in an aggregate principal amount of up to $5,000,000 (the “Delayed Draw

Commitment”) (of which (x) upon entry of this Interim Order and satisfaction or waiver of the

borrowing conditions set forth in the DIP Loan Documents (as defined below), $4,000,000 (the

“Interim Advance”) shall be made available to the Debtors and may be drawn in a single draw

on the Closing Date and the Additional Term Loan Obligations (as defined below) shall be rolled

up into the DIP Facility and (y) subject to entry of the Final Order, the balance shall be made

available to the Debtors upon entry of the Final Order in amount set forth in the DIP Credit

Agreement (as defined below));

      ii.         authority (a) for the Debtors to enter into that certain Senior Secured, Super-Priority

Debtor-in-Possession Loan and Security Agreement, among the Debtors as Borrowers, the




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  Unless stated otherwise, capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
them in the Motion or the DIP Credit Agreement (as defined below), as applicable.

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Guarantors party thereto, as Guarantors and JMB Capital Partners Lending, LLC, as Lender (the

“DIP Lender”) in substantially the same form as attached hereto as Exhibit 1 (as amended,

restated, supplemented or otherwise modified from time to time in accordance with the terms

thereof, the “DIP Credit Agreement” and, together with any ancillary, collateral or related

documents and agreements, the “DIP Loan Documents”);

     iii.      authority for the Debtors to use the DIP Facility and the proceeds thereof in

accordance with the DIP Loan Documents to (a) fund the postpetition working capital needs of the

Debtors during the pendency of the Chapter 11 Cases, (b) pay fees, costs and expenses of the DIP

Facility on the terms and conditions described in the DIP Loan Documents, (c) roll-up of

outstanding Additional Term Loan Obligations held by the Prepetition Secured Parties that become

the DIP Lender into DIP Obligations (the “Roll-Up Loan”), subject to the rights preserved in

paragraph 16 of this Interim Order, and (d) pay the allowed administrative costs and expenses of

the Chapter 11 Cases, in each case, solely in accordance with the DIP Loan Documents, this

Interim Order and the Final Order;

     iv.       authority for the Debtors to grant to the DIP Lender valid, enforceable, non-

avoidable, automatically and fully perfected security interests, liens and superpriority claims,

including allowed superpriority administrative expense claims pursuant to sections 364(c)(1) and

507(b) of the Bankruptcy Code, subject only to the Carve-Out and liens pursuant to sections

364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code in the Collateral (as defined below)

(and all proceeds thereof), including, without limitation, all property constituting “Cash

Collateral,” as defined in section 363(a) of the Bankruptcy Code, (“Cash Collateral”), to secure

all DIP Obligations (as defined below), as more fully set forth in this Interim Order, subject only

to the Carve-Out (as defined below);



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      v.        authority for the Debtors to grant the Prepetition Secured Parties (as defined below)

valid, enforceable, non-avoidable, automatically and fully perfected security interests, liens and

superpriority claims, including allowed superpriority administrative expense claims pursuant to

section 507(b) of the Bankruptcy Code, subject only to the Carve-Out, and liens pursuant to

sections 361, 362, 363(c)(2) and 363(e) of the Bankruptcy Code in the Collateral to secure any

diminution in value of the Prepetition Collateral, as more fully set forth in this Interim Order,

subject only to the Carve-Out and senior lien and superpriority claims of the DIP Lender;

     vi.        subject to and only effective upon entry of the Final Order, waiver by the Debtors

of all rights to surcharge against the collateral of the DIP Lender and the Prepetition Secured

Parties pursuant to section 506(c) of the Bankruptcy Code;

     vii.       subject to and only effective upon entry of the Final Order, waiver of the equitable

doctrine of marshaling or any other similar doctrine with respect to any collateral of the DIP Lender

and the Prepetition Secured Parties;

    viii.       modification of the automatic stay to the extent hereinafter set forth and waiving

the 14-day stay provisions of Bankruptcy Rules 4001(a)(3) and 6004(h);

     ix.        the scheduling of a final hearing (the “Final Hearing”) on the Motion for January

22, 2020 to consider entry of the Final Order inter alia, authorizing borrowings under the DIP

Facility on a final basis and approving notice procedures with respect thereto; and

      x.        related relief.

         The Court having considered the Motion and the exhibits attached thereto, the evidence

submitted or adduced and the arguments of counsel made at the interim hearing held on December

19, 2019 (the “Interim Hearing”) and having found that due and proper notice (the “Notice”) of

the Motion and the Interim Hearing having been served by the Debtors in accordance with



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Bankruptcy Rule 4001 and 9006 and Local Rule 2002-1 on (1) counsel for the Citizens Secured

Parties; (2) the Office of the United States Trustee for the District of Minnesota; (3) counsel for

the DIP Lender; (4) the parties included on the Debtors’ consolidated list of unsecured creditors;

(5) the Internal Revenue Service; and (6) the United States Attorney for the District of Minnesota;

and the Interim Hearing to consider the interim relief requested in the Motion having been held

and concluded; and all objections, if any, to the interim relief requested in the Motion having been

withdrawn, resolved or overruled by the Court; and it appearing to the Court that granting the

interim relief requested is necessary to avoid potential immediate and irreparable harm to the

Debtors and their estates and otherwise is fair and reasonable and in the best interests of the

Debtors, their estates, and their creditors and equity holders, and is essential for the continued

operation of the Debtors’ businesses and represents a sound exercise of the Debtors’ business

judgment; and after due deliberation and consideration, and for good and sufficient cause

appearing therefor;

         THIS COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW BASED UPON THE MOTION, THE REPRESENTATIONS OF

COUNSEL AND EVIDENCE SUBMITTED DURING THE INTERIM HEARING:2

         A.        Petition Date. On December 16, 2019 (the “Petition Date”), the Debtors filed

voluntary petitions under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Minnesota (the “Court”) commencing these Chapter 11 Cases.

         B.        Debtors in Possession.           The Debtors are continuing in the management and

operation of their businesses and properties as debtors in possession pursuant to sections 1107 and




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     To the extent, any findings of fact constitute conclusions of law, they are adopted as such, and vice versa, pursuant
     to Fed. R. Bankr. P. 7052.

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1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11

Cases.

         C.    Notice. Notice of the Interim Hearing and the relief requested in the Motion has

been provided by the Debtors to certain parties in interest, including on (1) counsel for the Citizens

Secured Parties (as defined below); (2) the Office of the United States Trustee for the District of

Minnesota; (3) counsel for the DIP Lender; (4) the parties included on the Debtors’ consolidated

list of unsecured creditors; (5) the Internal Revenue Service; (6) the United States Attorney for the

District of Minnesota; and (7) any party that has requested notice pursuant to Bankruptcy Rule

2002.

         D.    Jurisdiction and Venue. This Court has core jurisdiction over the persons and

property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. Consideration of the Motion

constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue for the Chapter 11 Cases and

proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         E.    No Credit Available on More Favorable Terms. The Debtors are unable to procure

financing in the form of unsecured credit allowable as an administrative expense under §§ 364(a),

364(b), or 503(b)(1) of the Bankruptcy Code and have been unable to procure the necessary

financing on terms more favorable, taken as a whole, than the financing offered by DIP Lender

pursuant to the DIP Loan Documents.

         F.    Best Interests of Estates. It is in the best interests of the Debtors’ estates and

creditors that the Debtors be allowed to enter into the DIP Facility to obtain postpetition secured

financing from the DIP Lender under the terms and conditions set forth herein and in the DIP Loan

Documents, as such financing is necessary to avoid immediate and irreparable harm to the Debtors’

estates and for the continued operation of the Debtors’ businesses.



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        G.        Good Faith. The extension of credit and financial accommodations under the DIP

Loan Documents are fair, reasonable, in good faith, negotiated at arm’s length, reflect the Debtors’

exercise of prudent business judgment, and are supported by reasonably equivalent value and fair

consideration. Accordingly, the DIP Lender is entitled to the protections of Bankruptcy Code

section 364(e).

        H.        Good Cause. The relief requested in the Motion is necessary, essential and

appropriate, and is in the best interest of and will benefit the Debtors, their creditors and their

estates, as its implementation will, among other things, provide the Debtors with the necessary

liquidity to (1) minimize disruption to the Debtors’ businesses and ongoing operations,

(2) preserve and maximize the value of the Debtors’ estates for the benefit of all the Debtors’

creditors, and (3) avoid potential immediate and irreparable harm to the Debtors, their creditors,

their businesses, their employees, and their assets.

        I.        Necessity of DIP Facility Terms. The terms of the DIP Loan Documents and the

Interim Order assuring that the liens and the various claims, superpriority claims, and other

protections granted in the Interim Order will not be affected by any subsequent reversal or

modification of the Interim Order or any other order, as provided in section 364(e) of the

Bankruptcy Code, which is applicable to the postpetition financing arrangement contemplated in

the DIP Loan Documents, are necessary in order to induce the DIP Lender to provide postpetition

financing to the Debtors.

        J.        Need for Postpetition Financing. The Debtors do not have sufficient and reliable

sources of working capital, including Cash Collateral, to continue to operate their businesses in

the ordinary course of business without the financing requested in the Motion. The Debtors’ ability

to maintain business relationships with their vendors, suppliers and customers, to pay their



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employees, and to otherwise fund their operations is essential to the Debtors’ continued viability

as the Debtors seek to maximize the value of the assets of their estates for the benefit of all creditors

of the Debtors. The ability of the Debtors to obtain sufficient and stable working capital and

liquidity through the proposed postpetition financing arrangements with the DIP Lender as set

forth in the Interim Order and the DIP Loan Documents is vital to the preservation and maintenance

of the going concern value of each Debtor. Accordingly, the Debtors have an immediate need to

obtain the postpetition financing in order to, among other things, permit the orderly continuation

of the operation of their businesses, minimize the disruption of their business operations, and

preserve and maximize the value of the assets of the Debtors’ bankruptcy estates in order to

maximize the recovery to all creditors of the estates.

        K.      Need to Use Cash Collateral. The Debtors need to use Cash Collateral, in order to,

among other things, preserve, maintain and maximize the value of their assets and businesses. The

ability of the Debtors to maintain liquidity through the use of Cash Collateral is vital to the Debtors

and their efforts to maximize the value of their assets. Accordingly, the Debtors have demonstrated

good and sufficient cause for the relief granted herein.

        L.      Sections 506(c) and 552(b). As material inducement to the DIP Lender to agree

to provide the DIP Facility and the Prepetition Secured Parties to agree to the use of Cash

Collateral, and in exchange for agreement by the DIP Lender and the Prepetition Secured Parties

to subordinate their superpriority claims to the Carve-Out, subject to entry of a Final Order, the

DIP Lender and the Prepetition Secured Parties are entitled to a waiver of any “equities of the

case” exception under section 552(b) of the Bankruptcy Code, and (b) subject to entry of a Final

Order, the DIP Lender and the Prepetition Secured Parties are entitled to a waiver of the

provisions of section 506(c) of the Bankruptcy Code.



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        M.     Priming of Prepetition Credit Liens. The priming of the Prepetition Credit Liens

by the DIP Lender under section 364(d)(1) of the Bankruptcy Code, solely to the extent set forth

in the DIP Loan Documents and as further described below, will enable the Debtors to obtain the

DIP Facility and, among other benefits, continue to operate its business for the benefit of its estate

and stakeholder.

        N.     Debtors’ Acknowledgments and Agreements. Without prejudice to the rights of

any creditors’ committee appointed in these chapter 11 cases (the “Committee”) or other parties-

in-interest as and to the extent set forth in Section 4.1.1 of this Interim Order, the Debtors admit,

stipulate, acknowledge and agree that:

               (a)     Prepetition Loan Documents. Prior to the Petition Date, Citizens Bank,
                       N.A. (formerly known as RBS Citizens, N.A.), as Administrative Agent (the
                       “Prepetition Agent”) and as a lender (the “Prepetition Citizens
                       Lenders”), and the other lenders party thereto, including JMB Capital
                       Partners Lending, LLC (“Prepetition JMB Lender and together with the
                       Prepetition Citizens Lenders, the “Prepetition Lenders”) made loans,
                       advances and provided other financial accommodations to the Debtors
                       pursuant to the terms and conditions set forth in: (a) that certain Credit
                       Agreement dated as of May 15, 2014, as amended by the First Amendment
                       to Credit Agreement dated as of September 1, 2016, and the Second
                       Amendment to Credit Agreement dated as of October 23, 2019 (as
                       amended, supplemented or otherwise modified from time to time through
                       the Petition Date, the “Prepetition Credit Agreement”), by and among
                       Granite City Food & Brewery Ltd., as a Borrower and as Borrower
                       Representative, each of the other Borrowers party thereto, the other Loan
                       Parties party thereto, the Prepetition Agent and the Prepetition Lenders; and
                       (b) all other agreements, documents and instruments executed and/or
                       delivered with, to, or in favor of Prepetition Agent or Prepetition Lenders,
                       including, without limitation, the Subordination Agreement, all security
                       agreements, notes, guarantees, mortgages, Uniform Commercial Code
                       financing statements and all other related agreements, documents and
                       instruments executed and/or delivered in connection therewith or related
                       thereto (all of the foregoing, together with the Prepetition Credit
                       Agreement, as all of the same have heretofore been amended,
                       supplemented, modified, extended, renewed, restated and/or replaced at any
                       time prior to the Petition Date, collectively, the “Prepetition Loan
                       Documents”).

               (b)     Prepetition Secured Obligations. As of the Petition Date, the Debtors were
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                   indebted under the Prepetition Loan Documents: (a) to the Prepetition
                   Agent and Prepetition Citizens Lenders (the “Citizens Secured Parties”)
                   (i) in an aggregate outstanding principal amount of not less than $6,000,000
                   plus interest accrued and accruing thereon, together with all costs, fees,
                   expenses (including attorneys’ fees and legal expenses) and other charges
                   accrued, accruing or chargeable with respect thereto (the “Prepetition
                   Revolving Loan Obligations”), (ii) in an aggregate outstanding principal
                   amount of not less than $29,000,000 plus interest accrued and accruing
                   thereon, together with all costs, fees, expenses (including attorneys’ fees
                   and legal expenses) and other charges accrued, accruing or chargeable with
                   respect thereto in outstanding principal balance of a Term Loan (the
                   “Prepetition Term Loan Obligations”), (iii) in an aggregate outstanding
                   principal amount of not less than $5,000,000 plus interest accrued and
                   accruing thereon, together with all costs, fees, expenses (including
                   attorneys’ fees and legal expenses) and other charges accrued, accruing or
                   chargeable with respect thereto (the “Prepetition Development Loan
                   Obligations,” and together with the Prepetition Revolving Loan
                   Obligations and the Prepetition Term Loan Obligations, the “Prepetition
                   Citizens Loan Obligations”), and (b) to the Prepetition Agent and
                   Prepetition JMB Lender in an aggregate outstanding principal amount of
                   not less than $1,500,000 plus interest accrued and accruing thereon,
                   together with all costs, fees, expenses (including attorneys’ fees and legal
                   expenses) and other charges accrued, accruing or chargeable with respect
                   thereto (the “Prepetition Additional Term Loan Obligations” and
                   together with the Prepetition Citizens Loan Obligations, the “Prepetition
                   Secured Obligations”). The Prepetition Secured Obligations constitute
                   allowed, legal, valid, binding, enforceable and non-avoidable obligations of
                   Debtors, and are not subject to any offset, defense, counterclaim, avoidance,
                   recharacterization or subordination pursuant to the Bankruptcy Code or any
                   other applicable law, and Debtors do not possess, shall not assert, hereby
                   forever release, and are forever barred from bringing any claim,
                   counterclaim, setoff or defense of any kind, nature or description which
                   would in any way affect the validity, enforceability and non-avoidability of
                   any of the Prepetition Secured Obligations.

             (c)   Prepetition Collateral. As of the Petition Date, the Prepetition Secured
                   Obligations were secured pursuant to the Prepetition Loan Documents by
                   valid, perfected, enforceable and non-avoidable first-priority security
                   interests and liens (the “Prepetition Citizens Liens”) granted by Debtors
                   to Prepetition Agent, for the benefit of itself and the Prepetition Lenders
                   under the Prepetition Loan Documents, in substantially all of the existing
                   and after-acquired assets of the Debtors and the other Loan Parties as more
                   fully set forth in the Prepetition Loan Documents (the “Prepetition
                   Collateral”), and such security interest is perfected and has priority over all
                   other security interests. The Debtors do not possess and will not assert any
                   claim, counterclaim, setoff or defense of any kind, nature or description
                   which would in any way affect the validity, enforceability and non-
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                      avoidability of any of the Prepetition Agent or Prepetition Lenders’ liens,
                      claims or security in the Prepetition Collateral.

               (d)    Subordination Agreements. Pursuant to the (a) Subordination and
                      Intercreditor Agreement dated September 30, 2015 (the “Great Western
                      Intercreditor Agreement”) between the Debtors, Great Western Bank, a
                      South Dakota banking corporation (“Great Western”) and the Prepetition
                      Agent, the Prepetition Agent agreed to subordinate any lien of the
                      Prepetition Agent to the prior existing liens of Great Western solely with
                      respect to the real property and fixtures located at 1001 102nd Street,
                      Omaha, Nebraska 68114 (the “Great Western Senior Liens”), and (b)
                      Prepetition Credit Agreement and a Subordination Agreement dated as of
                      October 23, 2019 (the “JMB Subordination Agreement”) between the
                      Debtors, the Prepetition Citizens Lenders and the Prepetition JMB Lender,
                      the parties agreed that the payment of the Prepetition Additional Term Loan
                      Obligations to the Prepetition JMB Lender is senior in priority to payment
                      of the Prepetition Citizens Loan Obligations to the Prepetition Citizens
                      Lenders.

               (e)    Proof of Claim. The acknowledgment by Debtors of the Prepetition Secured
                      Obligations and the liens, rights, priorities and protections granted to or in
                      favor of Prepetition Agent and Prepetition Lenders (collectively, the
                      “Prepetition Secured Parties”) in respect of the Prepetition Collateral as
                      set forth herein and in the Prepetition Loan Documents shall be deemed a
                      timely filed proof of claim on behalf of the Prepetition Secured Parties in
                      these Chapter 11 Cases.

        O.     Roll-up Loan. Upon entry of the Interim Order and the occurrence of the Closing

Date (as defined in the DIP Loan Documents), without further action by the Debtors or any other

party, all Additional Term Loan Obligations held by the Prepetition JMB Lender shall be converted

into DIP Obligations. The Roll-Up Loan as provided for under the DIP Facility and this Interim

Order is appropriate and the DIP Lenders would not be willing to provide the DIP Facility or

extend credit to the Debtors thereunder without the inclusion of the Roll-Up Loan. The Roll-Up

Loan is subject to the reservation of rights in paragraph 16 below and will not prejudice any other

party in interest. Notwithstanding any other provisions of this Interim Order, the DIP Loan

Documents or the JMB Subordination Agreement, all rights of the Prepetition JMB Lender shall

be fully preserved.


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        P.       Adequate Protection.    The Prepetition Secured Parties are entitled to receive

adequate protection on account of their interests in the Prepetition Collateral pursuant to sections

361, 362, and 363 of the Bankruptcy Code solely to the extent of any diminution in the value of

their interests in the Prepetition Collateral (including Cash Collateral). As part of the adequate

protection provided by this Interim Order, the Prepetition Secured Parties shall receive, among

other things, replacement liens, superpriority claims and reporting information. The terms of the

Adequate Protection Obligations (as defined in paragraph 13 below) are fair and reasonable, reflect

the Debtors’ prudent exercise of business judgment and are sufficient to allow the Debtors’ use of

the Prepetition Collateral (including the Cash Collateral) and to permit the relief granted in this

Interim Order.

        Q.       Immediate Entry. Sufficient cause exists for immediate entry of this Interim

Order pursuant to Bankruptcy Rule 4001(c)(2).

        Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.       DIP Facility Approval. The DIP Facility, including the DIP Roll-Up Obligations,

is hereby approved. Any objections to the interim relief requested in the Motion that have not

been withdrawn, waived or settled, and all reservations of rights included therein, are hereby

denied and overruled. The Debtors are authorized, pursuant to section 364 of the Bankruptcy

Code, to enter into and be a party to the DIP Facility pursuant to the DIP Loan Documents (with

such changes, if any, as were authorized to be made as amendments to the DIP Loan Documents

in accordance with this Interim Order), to perform under the DIP Loan Documents and such other

and additional documents necessary or desired to implement the DIP Facility or the DIP Loan



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Documents, and to obtain postpetition secured financing from the DIP Lender, to avoid immediate

and irreparable harm to the Debtors’ estates.

        2.     DIP Obligations. The DIP Loan Documents shall constitute and evidence the valid

and binding effect of the Debtors’ obligations under the DIP Facility, which DIP Obligations shall

be legal, valid, and binding obligations of the Debtors party thereto and enforceable against the

Debtors, their estates, any successors thereto, including, without limitation, any trustee appointed

in any of the Debtors’ cases, or in any case under chapter 7 of the Bankruptcy Code upon the

conversion of any such cases, or in any other proceedings superseding or related to any of the

foregoing, any successors thereto, and any party determined to be the beneficial owner of the DIP

Collateral by this Court. The Debtors and their successors shall be jointly and severally liable for

repayment of any funds advanced pursuant to the DIP Loan Documents, together with interest

thereon, at the times and in the amounts set forth in the DIP Loan Documents and all Obligations

as defined and provided for in the DIP Credit Agreement (collectively, the “DIP Obligations”).

No obligation, payment, transfer or grant of security under the DIP Loan Documents or the Interim

Order, with respect to the DIP Facility shall be stayed, restrained, voided, voidable or recoverable

under the Bankruptcy Code or under any applicable non-bankruptcy law, or subject to any defense,

reduction, setoff, recoupment or counterclaim.

        3.     Authorization to Borrow. Upon entry of this Interim Order and during the period

prior to entry of the Final Order, the Debtors are immediately authorized to borrow from the DIP

Lender under the DIP Facility, the Interim Advance of up to $4,000,000, subject to the terms and

conditions set forth in the DIP Loan Documents and this Interim Order. Once repaid, the DIP

Facility Loans incurred may not be re-borrowed.




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        4.     Use of DIP Facility Proceeds. The Debtors shall use advances of credit under the

DIP Facility (the “DIP Facility Loans”) only for the express purposes specifically set forth in this

Interim Order and the DIP Loan Documents. The Debtors are authorized to use the proceeds of

the DIP Facility Loans to (a) fund the postpetition working capital needs of the Debtors during the

pendency of the Chapter 11 Cases, (b) pay fees, costs and expenses of the DIP Facility on the terms

and conditions described in the DIP Loan Documents, (c) roll-up the outstanding Additional Term

Loan Obligations into DIP Obligations, subject to the rights preserved in paragraph 16 of this

Interim Order, and (d) pay the allowed administrative costs and expenses of the Chapter 11 Cases,

in each case, solely in accordance with the DIP Loan Documents (including, but not limited to, the

Budget) and this Interim Order. Notwithstanding anything herein, the extensions of credit under

the DIP Facility shall not constitute Cash Collateral of the Prepetition Secured Parties.

        5.     Roll-up Loan. Upon entry of the Interim Order and the occurrence of the Closing

Date (as defined in the DIP Loan Documents), without further action by the Debtors or any other

party, all Additional Term Loan Obligations will be immediately, automatically, and irrevocably

deemed to have been converted into DIP Roll-Up Obligations, and such DIP Roll-Up Obligations

shall constitute DIP Obligations and shall be entitled to all the priorities, privileges, rights, and

other benefits afforded to the other DIP Obligations under this Interim Order and the DIP Loan

Documents (subject to the rights of the Debtors and other parties in interest pursuant to paragraph

16 of this Interim Order). The conversion of the DIP Roll-Up Obligations as described in this

paragraph 5 shall be authorized as compensation for, in consideration for, as a necessary

inducement for, and on account of the agreement of the DIP Lender to fund amounts under the

DIP Facility and not as payments under, adequate protection for, or otherwise on account of, any

Prepetition Obligations. As used herein, the term “DIP Roll-Up Obligations” shall mean the Roll-



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Up Loan and all interest accrued and accruing thereon after the conversion into DIP Roll-Up

Obligations and all other amounts owing by the respective Debtors in respect thereof after the

conversion into the DIP Roll-Up Obligations.

        6.     Budget and DIP Facility Reporting. Except as otherwise provided herein or

approved by the DIP Lender, the proceeds from the DIP Facility shall be used only in compliance

with the terms of the DIP Loan Documents. The Debtor shall comply with the reporting

requirements and obligations set forth in the DIP Credit Agreement.

        7.     Payment of DIP Facility Fees and Expenses.

               (a)     The (a) Commitment Fee; (b) Funding Fee; (c) Work Fee, which shall serve

as a retainer for the DIP Lender’s counsel; (d) Exit Fee; and (e) Stated Maturity Fee are each

hereby approved and the Debtors are hereby authorized and directed to and shall pay such fees in

accordance with, and on the terms set forth in this Interim Order and the DIP Loan Documents.

               (b)     The Debtors are also hereby authorized and directed to pay upon demand,

all other fees, costs, expenses and other amounts payable under the terms of this Interim Order and

the DIP Loan Documents and all other reasonable fees and out-of-pocket costs and expenses of

the DIP Lender in accordance with the terms of this Interim Order and the DIP Loan Documents

(including, without limitation, the reasonable and documented postpetition fees and out-of-pocket

costs and expenses of Arent Fox LLP as counsel and local counsel to the DIP Lender to the extent

not covered by the portion of the Work Fee paid prior to the Petition Date), subject to receiving a

written invoice therefor. None of such fees, costs, expenses or other amounts shall be subject to

Court approval except as otherwise provided herein or required to be submitted in any particular

format, and no recipient of any such payment shall be required to file with respect thereto any

interim or final fee application with this Court; provided, however, that copies of any such invoices



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shall be provided contemporaneously to the U.S. Trustee, any official committee of unsecured

creditors appointed in these Chapter 11 Cases (the “Committee”) and the Citizens Secured Parties;

provided further, however, that such invoices may be redacted to the extent necessary to delete

any information subject to the attorney-client privilege, any information constituting attorney work

product, or any other confidential information (the “Redactions”), and the provision of such

invoices shall not constitute a waiver of the attorney-client privilege or any benefits of the attorney

work product doctrine. If the U.S. Trustee, the Committee or the Citizens Secured Parties objects

to the reasonableness of the fees and expenses of the DIP Lender, and such objection cannot be

resolved within ten (10) days of receipt of such invoices, the objecting party may file with the

Court and serve on the DIP Lender, an objection to the reasonableness of such fees and expenses

(each, a “Reasonableness Fee Objection”). Without limiting the foregoing, if any party objects

to the Redactions and such objection cannot be resolved within ten (10) days of receipt of such

invoices, the DIP Lender shall file with the Court and serve on the Debtors, the Committee, the

U.S. Trustee and the Citizens Secured Parties a request for Court resolution of the disputes

concerning the propriety of the disputed Redactions (each, a “Redaction Fee Objection,” and

each Reasonableness Fee Objection and Redaction Fee Objection may be referred to herein

generally as a “Fee Objection”). The Debtors shall pay, in accordance with the terms and

conditions of this Interim Order and the Final Order, within ten (10) days after receipt of the

applicable invoice (a) the full amount invoiced if no Fee Objection has been timely filed, and (b)

the undisputed fees, costs, and expenses reflected on any invoice to which a Fee Objection has

been timely filed. All such unpaid fees, costs, expenses and other amounts owed or payable to the

DIP Lender shall be secured by the DIP Collateral and afforded all of the priorities and protections

afforded to the DIP Obligations under this Interim Order, and the DIP Loan Documents.



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        8.     Indemnification.     The Debtors are hereby authorized to and hereby agree to

indemnify and hold harmless the DIP Lender and its affiliates, directors, officers, employees,

agents, attorneys, or any other Person affiliated with or representing the DIP Lender (collectively,

an “Indemnified Party”) from and against: (a) all obligations, demands, claims, damages, losses

and liabilities (including, without limitation, reasonable fees and disbursements of counsel)

(collectively, “Indemnity Claims”) as set forth in the DIP Loan Documents including those

asserted by any other party in connection with the transactions contemplated by the DIP Loan

Documents; and (b) all losses or expenses incurred, or paid by the DIP Lender from, following, or

arising from the transactions contemplated by the DIP Loan Documents (including reasonable and

documented attorneys’ fees and expenses), except for Indemnity Claims and/or losses directly

caused by the DIP Lender’s gross negligence, or willful misconduct or bad faith of the DIP Lender.

In the case of an investigation, litigation or other proceeding to which the indemnity in this

paragraph applies, such indemnity shall be effective whether or not such investigation, litigation

or proceeding is brought by any of the Debtors or any of their respective directors, security holders

or creditors, an Indemnified Party or any other Person or an Indemnified Party is otherwise a party

thereto and whether or not the transactions contemplated hereby are consummated.                   No

Indemnified Party shall have any liability (whether direct or indirect, in contract, tort or otherwise)

to any Debtor or any of its subsidiaries or any shareholders or creditors of the foregoing for or in

connection with the transactions contemplated hereby, except to the extent such liability is

determined by a court of competent jurisdiction in a final non-appealable judgment or order to

have resulted solely from such Indemnified Party’s gross negligence or willful misconduct. All

indemnities of the Indemnified Parties shall constitute DIP Obligations secured by the DIP




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Collateral and afforded all of the priorities and protections afforded to the DIP Obligations under

this Interim Order, the Final Order and the DIP Loan Documents.

        9.     DIP Superpriority Claims. In accordance with section 364(c)(1) of the Bankruptcy

Code, the DIP Obligations shall constitute allowed senior administrative expense claims against

each Debtor and their estates (the “DIP Superpriority Claims”) with priority in payment over

any and all administrative expenses at any time existing or arising, of any kind or nature

whatsoever, including, without limitation, the kinds specified or ordered pursuant to any provision

of the Bankruptcy Code, including, but not limited to, sections 105, 326, 328, 330, 331, 503(b),

506(c) (subject to the entry of the Final Order with respect to section 506(c) only), 507(a), 507(b),

726, 1113 and 1114 of the Bankruptcy Code or otherwise, including those resulting from the

conversion of any of the Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code,

whether or not such expenses or claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment; provided, however, that the DIP Superpriority Claims shall

be subject to and subordinate to only the Carve-Out; provided, further that the DIP Superpriority

Claims shall have recourse to and be payable from all prepetition and postpetition property and

assets of the Debtors and the estates and all DIP Collateral and all proceeds thereof, and (a) any

and all avoidance power claims or causes of action under sections 544, 545, 547, 548 through 551

and 553(b) of the Bankruptcy Code (the “Avoidance Actions”) and the proceeds thereof, (b)

prepetition tort claims, including claims against the Debtors’ current and former directors and

officers (if any) and the proceeds thereof; and (c) any deposit in connection with a proposed Sale

(whether terminated or otherwise) that becomes property of the Debtors’ estates (a “Sale Deposit”)

subject, however, only to the senior lien rights of a stalking horse purchaser and such stalking

horse bid protections as may be approved by this Court.



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        10.    DIP Liens.

               (a)    Effective immediately as of the entry of this Interim Order, as security for

the DIP Obligations, the DIP Lender is granted continuing, valid, binding, enforceable, non-

avoidable, and automatically and properly perfected security interests in and liens (collectively,

the “DIP Liens”) on all DIP Collateral as collateral security for the prompt and complete

performance and payment when due (whether at the Stated Maturity Date (i.e. March 31, 2020),

by acceleration, or otherwise) of the DIP Obligations.       The term “DIP Collateral” means

collectively all prepetition and postpetition real property and all prepetition and postpetition

tangible and intangible personal property of each Borrower, in each case wherever located and

whether now owned or hereafter acquired, including, but not limited to, all accounts, contracts

rights, chattel paper, cash, general intangibles, investment property, machinery, equipment, goods,

inventory, furniture, fixtures, letter of credit rights, books and records, deposit accounts,

documents, instruments, commercial tort claims, leases and leaseholds and rents, avoidance

actions under section 549 and related recoveries under section 550 of the Bankruptcy Code,

together with all proceeds of each of the following, including insurance proceeds (as each such

term above is defined in the UCC, to the extent applicable), and, subject to Final Order, including

the proceeds and recoveries from Avoidance Actions (the “Avoidance Action Proceeds”).

               (b)    Subject to the entry of the Final Order, to the fullest extent permitted by the

Bankruptcy Code or applicable law, and except as otherwise set forth herein, any provision of any

lease other than a real property lease, loan document, easement, use agreement, proffer, covenant,

license, contract, organizational document, or other instrument or agreement that requires the

consent or the payment of any fees or obligations to any entity in order for any of the Debtors to

pledge, grant, mortgage, sell, assign, or otherwise transfer any fee or leasehold interest or the



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proceeds thereof or other DIP Collateral, shall have no force or effect with respect to the DIP Liens

on such leasehold interests or other applicable DIP Collateral or the proceeds of any assignment

and/or sale thereof by any Debtor, in favor of the DIP Lender in accordance with the terms of the

DIP Loan Documents, or this Interim Order.

    11.      Priority of DIP Liens.

                (a)     To secure the DIP Obligations, immediately upon and effective as of entry

of this Interim Order, the DIP Lender, is hereby granted on a final basis, continuing, valid, binding,

enforceable, non-avoidable, and automatically and properly perfected first priority DIP Liens in

the DIP Collateral as follows, in each case subject to the Carve-Out:

                (i)     Liens Priming the Prepetition Citizens Liens. Pursuant to section 364(d)(1)
                of the Bankruptcy Code, valid, binding, continuing, enforceable, non-avoidable
                automatically and fully perfected first priority senior priming liens and security
                interests in all DIP Collateral, regardless of where located, which senior priming
                liens and security interests in favor of the DIP Lender shall be senior to all
                Prepetition Citizens Liens. For the avoidance of doubt, as a result of the priming
                of the Prepetition Citizens Liens pursuant to this Interim Order, the DIP Lender
                shall have a first priority senior priming lien and security interest in, among other
                things, (A) all of the assets of Debtors and its debtor and non-debtor Subsidiaries,
                including, but not limited to, the “Collateral” as defined in the Prepetition Credit
                Agreement, and (B) the Debtors’ prepetition and postpetition commercial tort
                claims, including but not limited to all claims and causes of action (i) against the
                Debtors’ officers and directors, and (ii) all other prepetition tort claims, and the
                proceeds thereof (regardless of whether such proceeds arise from damages to the
                Prepetition Collateral);

                (ii)    Liens on Unencumbered Property. Pursuant to section 364(c)(2) of the
                Bankruptcy Code, valid, binding, continuing, enforceable, non-avoidable
                automatically and fully perfected first priority liens on and security interests in all
                DIP Collateral that is not otherwise subject to any valid, enforceable, and non-
                avoidable liens on and security interests in the DIP Collateral that (A) were
                perfected prior to the Petition Date (or perfected on or after the Petition Date to the
                extent permitted by Section 546(b) of the Bankruptcy Code), (B) are not subject to
                avoidance, disallowance, or subordination pursuant to the Bankruptcy Code or
                applicable non-bankruptcy law, and (C) are senior in priority to the DIP Liens
                under applicable law and after giving effect to any lien release, subordination or
                inter-creditor agreements, including the Great Western Senior Liens (each a



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                   “Permitted Prior Lien”); provided, however, that the DIP Liens shall have priority
                   over all Prepetition Citizens Liens; and

                   (iii) Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the
                   Bankruptcy Code, valid, enforceable, non-avoidable automatically and fully
                   perfected junior liens on and security interests in all DIP Collateral (other than as
                   set forth in clauses (i) and (ii)) subordinate only to the Permitted Prior Liens.

             (b)      Except as expressly set forth herein, the DIP Liens and the DIP Superpriority

Claims shall not be made junior to or pari passu with (1) any lien, security interest or claim

heretofore or hereinafter granted in any of the Chapter 11 Cases or any successor cases, and shall

be valid and enforceable against the Debtors, their estates, any trustee or any other estate

representative appointed or elected in the Chapter 11 Cases or any successor cases and/or upon the

dismissal or conversion of any of the Chapter 11 Cases or any successor cases, (2) any lien that is

avoided and preserved for the benefit of the Debtors and their estates under section 551 of the

Bankruptcy Code or otherwise, (3) any intercompany or affiliate lien or claim, and (4) subject to

entry of the Final Order, any liens arising after the Petition Date excluding any liens or security

interests granted in favor of any federal, state, municipal or other governmental unit, commission,

or board for any liability of the Debtors.

    12.      Use of Cash Collateral. The Debtors are authorized to use Cash Collateral to fund the

postpetition working capital needs of the Debtors during the pendency of the Chapter 11 Cases

that are not funded with the DIP Facility Loans and to pay the allowed administrative costs and

expenses of the Chapter 11 Cases not funded by the DIP Facility Loans, each solely in accordance

with the Budget and this Interim Order, provided that the Debtors’ variance from the line items on

the Budget shall be no more than: 20% of the line items set forth in the Budget for the first week

after the Petition Date, 15% of the line items set forth in the Budget for the second week of the

Budget after the Petition Date, and thereafter, 10% of the average of the line items set forth in the



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Budget for the prior four week period. The initial Budget is attached hereto as Exhibit 2. The

Debtors shall: (a) commencing on the first Wednesday to occur after the entry of this Interim Order

and on the Wednesday of each week thereafter, prepare and deliver to the DIP Lender and the

Citizens Secured Parties (x) a report showing actual cash receipts and disbursements for the line

items set forth in the Budget for the preceding Wednesday through the following Tuesday and (y)

a written explanation of all material variances; and (b) update and roll-forward the proposed

Budget no less frequently than every four (4) weeks or at such other interval as agreed to by the

DIP Lender and the Citizens Secured Parties, each such amended Budget shall be delivered no

later than Wednesday of each week for the week immediately prior. Each proposed Budget shall

only become a Budget for the use of Cash Collateral and DIP Obligations as set forth in this Interim

Order when it is agreed upon by the Debtors and DIP Lender, in consultation with the Prepetition

Secured Parties, provided, however, any modifications to the Case Professionals’ fees and

expenses in the Budget shall require the consent of the Prepetition Secured Parties. After the

payment in full of the DIP Obligations, each proposed Budget shall only become a Budget for the

use of Cash Collateral as set forth in this Interim Order when it is agreed upon by the Debtors and

the Prepetition Secured Parties. The Debtors’ use of Cash Collateral shall automatically terminate

upon the occurrence of an Event of Default (as defined below).

        13.    Adequate Protection of Prepetition Secured Parties.       The Prepetition Secured

Parties are entitled, pursuant to sections 361, 362, 363(c)(2), 363(e) and 507 of the Bankruptcy

Code, to adequate protection of their interests in all the Prepetition Collateral, including Cash

Collateral, in an amount equal to the aggregate diminution in value of the Prepetition Secured

Parties’ interests in the Prepetition Collateral (including Cash Collateral) from and after the

Petition Date, if any, for any reasons provided under the Bankruptcy Code. In consideration for



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the foregoing, the Prepetition Secured Parties, are hereby granted the following in the amount of

such diminution (collectively, the “Adequate Protection Obligations”):

               (a)     Adequate Protection Liens. The Prepetition Agent, on behalf of itself and

the Prepetition Lenders, is hereby granted (effective and perfected upon the date of this Interim

Order and without the necessity of any mortgages, security agreements, pledge agreements,

financing statement or other agreements), in the amount equal to the aggregate diminution in value

of the interests in the Prepetition Collateral (including Cash Collateral) from and after the Petition

Date, if any, for any reasons provided under the Bankruptcy Code (the “Adequate Protection

Claim”), a valid, perfected replacement security interest in and lien on all prepetition and

postpetition property and assets of the Debtors and the estates, including the DIP Collateral and all

proceeds thereof (the “Adequate Protection Collateral”), subordinate only to (A) the DIP Liens

and any liens to which the DIP Liens are junior and (B) the Carve-Out (the “Adequate Protection

Liens”).

               (b)     507(b) Claims. The Prepetition Agent, on behalf of itself and the Prepetition

Lenders, is hereby granted, an allowed superpriority administrative expense claim as provided in

section 507(b) of the Bankruptcy Code in the amount of the Adequate Protection Claim with,

except as set forth in this Interim Order, priority in payment over any and all administrative

expenses of the kind specified or ordered pursuant to any provision of the Bankruptcy Code (the

“507(b) Claims”); which 507(b) Claims shall have recourse to and be payable from the Adequate

Protection Collateral. The 507(b) Claims shall, in all instances, be subject and subordinate only

to (A) the Carve-Out and (B) the DIP Superpriority Claims. The Prepetition Secured Parties shall

not receive or retain any payments, property or other amounts in respect of the 507(b) Claims

unless and until the DIP Obligations (other than contingent indemnification obligations as to which



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no claim has been asserted) have indefeasibly been paid in cash in full and all DIP Commitments

have been terminated.

               (c)      Citizens Secured Parties Information. As additional adequate protection of

the Citizens Secured Parties’ security interests in the Prepetition Collateral, the Debtors shall

contemporaneously provide the Citizens Secured Parties with any reporting provided to the DIP

Lender under the DIP Credit Agreement.

               (d)      Citizens Secured Parties Fees. The Debtors are also hereby authorized and

directed to pay upon demand, all reasonable fees and out-of-pocket costs and expenses of the

Citizens Secured Parties which amount shall not exceed the aggregate amount per month as set

forth in the Budget, in accordance with the terms of this Interim Order and the Prepetition Loan

Documents (including, without limitation, the reasonable and documented postpetition fees and

out-of-pocket costs and expenses of counsel and financial advisors to the Citizens Secured Parties),

subject to receiving a written invoice therefor. None of such fees, costs, expenses or other amounts

shall be subject to Court approval except as otherwise provided herein or required to be submitted

in any particular format, and no recipient of any such payment shall be required to file with respect

thereto any interim or final fee application with this Court; provided, however, that copies of any

such invoices shall be provided contemporaneously to the U.S. Trustee, the Committee and the

DIP Lender; provided further, however, that such invoices may include the Redactions and the

provision of such invoices shall not constitute a waiver of the attorney-client privilege or any

benefits of the attorney work product doctrine. If the U.S. Trustee, the Committee or the DIP

Lender objects to the reasonableness of the fees and expenses of the Citizens Secured Parties, and

such objection cannot be resolved within ten (10) days of receipt of such invoices, the objecting

party may file with the Court and serve on the Citizens Secured Parties, a Reasonableness



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Objection. Without limiting the foregoing, if any party objects to the Redactions and such

objection cannot be resolved within ten (10) days of receipt of such invoices, the Citizens Secured

Parties shall file with the Court and serve on the Debtors, the Committee, the U.S. Trustee and the

DIP Lender a request for Court resolution a Redaction Fee Objection. The Debtors shall pay, in

accordance with the terms and conditions of this Interim Order and the Final Order, within ten (10)

days after receipt of the applicable invoice (a) the full amount invoiced if no Fee Objection has

been timely filed, and (b) the undisputed fees, costs, and expenses reflected on any invoice to

which a Fee Objection has been timely filed. All such unpaid fees, costs, expenses and other

amounts owed or payable to the Citizens Secured Parties shall be secured by the Collateral and

afforded all of the priorities and protections afforded to the Adequate Protection Obligations under

this Interim Order.

        14.    Carve-Out.

               (a)     Carve-Out. As used in this Interim Order, the term “Carve-Out” means,

collectively, the sum of: (i) all fees required to be paid to the Clerk of the Court and to the U.S.

Trustee pursuant to 28 U.S.C. §1930(a) and section 31 U.S.C. § 3717; (ii) the reasonable fees and

expenses up to $15,000 incurred by a trustee under section 726(b) of the Bankruptcy Code; and

(iii) the aggregate amount of unpaid, but funded into the Escrow per the terms below, fees and

expenses of the Debtors and the Committee (which order has not been reversed, vacated or stayed

unless such stay is no longer effective) under sections 327(a), 328 or 1103(a) of the Bankruptcy

Code (the “Case Professionals”), to the extent such fees and expenses are allowed and payable

pursuant to an order of the Court (which order has not been reversed, vacated or stayed) (“Allowed

Professional Fees”), and $2,500 of the aggregate unpaid out-of-pocket expenses allowed by the

Court and incurred by the members of the Committee in the performance of their duties (but



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excluding fees and expenses of third party professionals employed by such members)

(“Committee Expenses”), which amount under this clause (iii) shall not exceed the sum of: (x)

an aggregate amount per week limited to the amount set forth in the Budget for Allowed

Professional Fees and Committee Expenses incurred prior to the delivery of a Carve-Out Trigger

Notice and escrowed each month with counsel for Debtors, provided (i) the Maturity Date has not

occurred or (ii) Event of Default has not occurred or continuing (the “Pre Carve-Out Notice

Trigger Cap”) plus (y) $75,000 for Allowed Professional Fees and Committee Expenses incurred

from and after the delivery of the Carve-Out Trigger Notice (defined below), less any outstanding

amount of retainers received by the Case Professionals prior to the Petition Date (the “Post Carve-

Out Notice Cap” together, with the Pre Carve-Out Notice Trigger Cap, the “Carve-Out Cap”).

Each month, Debtors shall pay the amount of the fees and expenses incurred by the Case

Professionals (so long as such amounts are equal to or less than the amounts set forth in the Budget

for such month), into the client trust account maintained by the Debtors’ counsel (the “Escrow”).

Once such fees and expenses are deemed Allowed Professional Fees they shall be distributed to

the respective recipients from the Escrow. No portion of the Carve-Out or any Cash Collateral

may be used in violation of this Interim Order. Nothing in this Interim Order or otherwise shall

be construed to increase the Carve-Out if actual (i) Allowed Professional Fees of any Case

Professional or (ii) Committee Expenses are higher in fact than Carve-Out Cap amount.

               (b)     Carve-Out Trigger Notice. As used herein, the term “Carve-Out Trigger

Notice” means a written notice provided by the DIP Lender or the Prepetition Secured Parties to

the Debtors, counsel to the Committee, and the U.S. Trustee that the Post Carve-Out Notice Trigger

Cap is invoked, which notice may be delivered following the occurrence and during the

continuance of an Event of Default and/or acceleration of the DIP Obligations under the DIP Loan



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Documents, provided the Prepetition Secured Parties may only deliver such notice when an Event

of Default occurs under paragraph 25(b) below. Upon delivery of the Carve-Out Trigger Notice

to the Debtors (the “Termination Declaration Date”), the Debtors shall provide notice by email

and facsimile to all Case Professionals, at the email addresses and facsimile numbers set forth in

each Professional’s notice of appearance filed with the Bankruptcy Court (or, if there is no such

notice of appearance, at such Professional’s last known email address and facsimile number)

within one (1) day after the Debtors’ receipt of a Carve-Out Trigger Notice informing them that

such Carve-Out Trigger Notice has been received and further advising them that the Debtors’

ability to pay such Case Professionals is subject to and limited by the Post Carve-Out Notice

Trigger Cap.

               (c)    Payment of Allowed Professional Fees Prior to Termination Declaration

Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

               (d)    Payment of Carve-Out on or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve-Out on a dollar-

for-dollar basis. Any funding of the Carve-Out by funds from the DIP Facility Loans shall be

added to, and made a part of, the DIP Obligations secured by the DIP Collateral and shall be

otherwise entitled to the protections granted under this Interim Order, the DIP Loan Documents,

the Bankruptcy Code and applicable law.

               (e)    Objection Rights. Nothing contained herein is intended to constitute, nor

shall be construed as consent to the allowance of any Case Professional’s fees, costs and expenses

by any party and shall not affect the rights of the Debtors, the DIP Lender, the Citizens Secured



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Parties or any other party in interest to object to the allowance and/or payment of any such amounts

incurred or requested.

        15.    Limitations on Use of DIP Proceeds, Cash Collateral and Carve-Out. The DIP

Facility, the DIP Collateral, the Prepetition Collateral, the Adequate Protection Collateral, the Cash

Collateral and the Carve-Out may not be used in connection with: (a) preventing, hindering, or

delaying any of the DIP Lender or the Prepetition Secured Parties’ enforcement or realization upon

any of the DIP Collateral, Adequate Protection Collateral or Prepetition Collateral; (b) using or

seeking to use Cash Collateral without the permission of the DIP Lender and the Prepetition

Secured Parties or selling or otherwise disposing of DIP Collateral without the consent of the DIP

Lender or as permitted by the DIP Loan Documents; (c) after payment in full of the DIP

Obligations, selling or otherwise disposing of Adequate Protection Collateral without the consent

of the Prepetition Secured Parties; (d) using or seeking to use any insurance proceeds constituting

DIP Collateral without the consent of the DIP Lender and the Prepetition Secured Parties; (e)

seeking to amend or modify any of the rights granted to the DIP Lender or the Prepetition Secured

Parties under this Interim Order, the DIP Loan Documents, or the Prepetition Loan Documents,

including seeking to use Cash Collateral, Adequate Protection Collateral and/or DIP Collateral on

a contested basis; (f) litigating, objecting to, challenging or contesting in any manner in any way

the DIP Liens, DIP Obligations, DIP Superpriority Claims, the Prepetition Secured Obligations,

DIP Collateral (including Cash Collateral) or, as the case may be, Prepetition Collateral, the

Adequate Protection Obligations,       the Adequate Protection Claims, the 507(b) Claims, the

Adequate Protection Collateral (including Cash Collateral), the Adequate Protection Liens or any

other claims, held by or on behalf of any of the DIP Lender or the Prepetition Secured Parties,

respectively; (g) asserting, commencing or prosecuting any claims or causes of action whatsoever,



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including, without limitation, Avoidance Actions or applicable state law equivalents or actions to

recover or disgorge payments, against any of the DIP Lender, the Prepetition Secured Parties, or

any of their respective affiliates, agents, attorneys, advisors, professionals, officers, directors and

employees; (h) litigating, objecting to, challenging, or contesting in any manner, or raising any

defenses to, the validity, extent, amount, perfection, priority, or enforceability of any of the DIP

Obligations, the DIP Liens, the Prepetition Secured Obligations, the Prepetition Citizens Liens,

the Adequate Protection Liens or any other liens or interests of any of the DIP Lender or the

Prepetition Secured Parties; or (i) seeking to subordinate, recharacterize, disallow or avoid the DIP

Obligations, the Adequate Protection Obligations or the Prepetition Secured Obligations;

provided, however, that the Carve Out and such collateral proceeds and loans under the DIP Loan

Documents may be used for allowed fees and expenses, in an amount not to exceed $10,000 in the

aggregate (the “Investigation Budget Amount”), incurred solely by a Committee (if appointed),

in investigating (but not prosecuting or challenging) the validity, enforceability, perfection,

priority or extent of the Prepetition Citizens Liens within thirty (30) calendar days following

appointment of the Committee. Notwithstanding anything to the contrary, any fees, expenses or

costs incurred by the Committee or its professionals in excess of the Investigation Budget Amount

or in excess of the amount budgeted for Committee’s Case Professionals set forth in the Budget

shall not constitute an allowable administrative expense claim, including for purposes of section

1129(a)(9)(A) of the Bankruptcy Code.

    16.      Effect of Stipulation on Third Parties.

                 (a)      Generally. The admissions, stipulations, agreements, releases, and waivers

set forth in this Interim Order (collectively, the “Prepetition Lien and Claim Matters”) are and

shall be binding on the Debtors, any subsequent trustee, responsible person, examiner with



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expanded powers, any other estate representative, and all creditors and parties in interest and all

of their successors in interest and assigns, including, without limitation, a Committee (if

appointed), unless, and solely to the extent that, a party in interest that has sought and obtained

standing and the requisite authority to commence a Challenge (as defined below) (other than the

Debtors, as to which any Challenge is irrevocably waived and relinquished) (i) has timely filed the

appropriate pleadings, and timely commenced the appropriate proceeding required under the

Bankruptcy Code and Bankruptcy Rules, including, without limitation, as required pursuant to Part

VII of the Bankruptcy Rules (in each case subject to the limitations set forth in this paragraph 16

of this Interim Order) challenging the Prepetition Lien and Claim Matters (each such proceeding

or appropriate pleading commencing a proceeding or other contested matter, a “Challenge”) by

no later than (1) thirty (30) days from the date of formation of a Committee (if appointed), or (2)

forty-five (45) days following the entry of the Interim Order for any other party in interest with

requisite standing (each the “Challenge Deadline”), as such applicable date may be extended in

writing from time to time in the sole discretion of the Prepetition Secured Parties, or by this Court

for good cause shown pursuant to an application filed by a party in interest prior to the expiration

of the Challenge Deadline, and (ii) this Court enters judgment in favor of the plaintiff or movant

in any such timely and properly commenced Challenge proceeding and any such judgment has

become a final judgment that is not subject to any further review or appeal.

               (b)     Binding Effect. To the extent no Challenge is timely and properly

commenced by the Challenge Deadline, or to the extent such proceeding does not result in a final

and non-appealable judgment or order of this Court that is inconsistent with the Prepetition Lien

and Claim Matters, then, without further notice, motion, or application to, order of, or hearing

before, this Court and without the need or requirement to file any proof of claim, the Prepetition



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Lien and Claim Matters shall, pursuant to this Interim Order, become binding, conclusive, and

final on any person, entity, or party in interest in the Chapter 11 Cases, and their successors and

assigns, and in any successor case for all purposes and shall not be subject to challenge or objection

by any party in interest, including, without limitation, a trustee, responsible individual, examiner

with expanded powers, or other representative of the Debtors’ estates. Notwithstanding anything

to the contrary herein, if any such proceeding is properly and timely commenced, the Prepetition

Lien and Claim Matters shall nonetheless remain binding on all other parties in interest and

preclusive as provided in subparagraph (a) above except to the extent that any of such Prepetition

Lien and Claim Matters is expressly the subject of a timely and properly filed Challenge, which

Challenge is successful as set forth in a final judgment as provided in subparagraph (a) above, and

only as to plaintiffs or movants that have complied with the terms hereof. To the extent any such

Challenge proceeding is timely and properly commenced, the Prepetition Secured Parties shall be

entitled to payment of the reasonable related costs and expenses, including, but not limited to

reasonable attorneys’ fees, incurred under the Prepetition Loan Documents in defending

themselves in any such proceeding as adequate protection. Upon a successful Challenge brought

pursuant to this paragraph 16, the Court may fashion any appropriate remedy.

        17.    Bankruptcy Code Sections 506(c) and 552(b) Waivers. Subject to entry of a Final

Order, without limiting the Carve-Out, the Debtors irrevocably waive and shall be prohibited from

asserting (i) any surcharge claim, under section 506(c) of the Bankruptcy Code or otherwise, for

any costs and expenses incurred in connection with the preservation, protection or enhancement

of, or realization by the DIP Lender upon the DIP Collateral or by the Prepetition Secured Parties

upon the Adequate Protection Collateral and no costs or expenses of administration that have been

or may be incurred in any of the Chapter 11 Cases at any time shall be charged against the DIP



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Lender, the Prepetition Secured Parties or their respective claims or liens (including any claims or

liens granted pursuant to this Interim Order), and (ii) the “equities of the case” exception under

section 552(b) of the Bankruptcy Code in connection with the DIP Facility and the use of Cash

Collateral.

        18.    Application of Proceeds. Subject to the entry of the Final Order, in no event shall

the DIP Lender, with respect to the DIP Collateral, or the Prepetition Secured Parties, with respect

to the Adequate Protection Collateral, be subject to the equitable doctrine of “marshaling” or any

other similar doctrine, and all proceeds of such DIP Collateral and Adequate Protection Collateral

shall be received and used in accordance with this Interim Order.

        19.    Disposition of Collateral. The Debtors shall not sell, transfer, lease, encumber or

otherwise dispose of any portion of the DIP Collateral, other than in the ordinary course of business

or in connection with the payments contemplated under this Interim Order, without the prior

written consent of the DIP Lender (and no such consent shall be implied from any other action,

inaction or acquiescence by the DIP Lender or from any order of this Court); provided for the

avoidance of doubt the Debtors shall comply with Section 6.4 of the DIP Credit Agreement.

Notwithstanding anything otherwise provided herein, 100% of any net cash proceeds of any sale

of DIP Collateral outside of the ordinary course of business shall, subject to the satisfaction of the

Carve-Out and the lien priorities outlined in paragraph 11 herein, be used to immediately satisfy

the DIP Obligations. Following payment in full of the DIP Obligations, the Debtors shall not sell,

transfer, lease, encumber or otherwise dispose of any portion of the Adequate Protection

Collateral, other than in the ordinary course of business or in connection with the payments

contemplated under this Interim Order, without the prior written consent of the Prepetition Secured

Parties (and no such consent shall be implied from any other action, inaction or acquiescence by



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the Prepetition Secured Parties or from any order of this Court). Notwithstanding anything

otherwise provided herein, following payment in full of the DIP Obligations, 100% of any net cash

proceeds of any sale of Adequate Protection Collateral outside of the ordinary course of business

shall, subject to the satisfaction of the Carve-Out and the lien priorities outlined in paragraph 11

herein, be used to immediately satisfy the Adequate Protection Obligations and next to satisfy the

Prepetition Secured Obligations.

        20.     Restrictions on Granting Postpetition Liens. Other than the Carve-Out or as

otherwise provided in this Interim Order, the Final Order or the DIP Loan Documents, no claim

or lien having a priority superior or pari passu with those granted by this Interim Order to the

Prepetition Secured Parties and the DIP Lender shall be granted or permitted by any order of this

Court in the Chapter 11 Cases heretofore or hereafter, and the Debtors will not grant any such

mortgages, security interests or liens in the DIP Collateral (or any portion thereof) or the Adequate

Protection Collateral (or any portion thereof) or to any other parties pursuant to section 364(d) of

the Bankruptcy Code or otherwise, while (i) any portion of the DIP Facility, any DIP Facility

Loans or any other DIP Obligations, are outstanding, (ii) the DIP Lender has any Commitment

under the DIP Loan Documents or (iii) the Prepetition Secured Obligations and/or the Adequate

Protection Obligations are outstanding. For avoidance of doubt, there shall be no restriction and

this paragraph shall not apply to and excludes any liens or security interests granted in favor of

any federal, state, municipal or other governmental unit, commission, board or court for any

liability of the Debtors.

        21.     Automatic Effectiveness of Liens. The DIP Liens and the Adequate Protection

Liens shall not be subject to a challenge and shall attach and become valid, perfected, binding,

enforceable, non-avoidable and effective by operation of law as of the date of the entry of this



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Interim Order on a final basis, without any further action by the Debtors, the DIP Lender or the

Prepetition Secured Parties, respectively, and without the necessity of execution by the Debtors or

the filing or recordation, of any financing statements, security agreements, deposit control

agreements, vehicle lien applications, mortgages, filings with a governmental unit (including,

without limitation, the U.S. Patent and Trademark Office or the Library of Congress), or other

documents or the taking of any other actions. All DIP Collateral shall be free and clear of other

liens, claims and encumbrances, except as provided in the DIP Loan Documents, and this Interim

Order. All Adequate Protection Collateral shall be free and clear of other liens, claims and

encumbrances, except as provided in this Interim Order. If the DIP Lender or the Prepetition

Secured Parties hereafter requests that the Debtors execute and deliver to such party financing

statements, security agreements, pledge agreements, control agreements, collateral assignments,

mortgages, or other instruments and documents considered by the DIP Lender or the Prepetition

Secured Parties to be reasonably necessary or desirable to further evidence the perfection of the

DIP Liens or the Adequate Protection Liens, as applicable, the Debtors are hereby authorized and

directed to execute and deliver such financing statements, security agreements, pledge agreements,

control agreements, mortgages, collateral assignments, instruments, and documents, and the DIP

Lender and/or the Prepetition Secured Parties, as appropriate, are hereby authorized to file or

record such documents in its discretion without seeking modification of the automatic stay under

section 362 of the Bankruptcy Code, in which event all such documents shall be deemed to have

been filed or recorded at the time and on the date of the entry of this Interim Order; provided,

however, no such filing or recordation shall be necessary or required in order to create or perfect

the DIP Liens or the Adequate Protection Liens. The DIP Lender and the Prepetition Secured

Parties, in their respective sole discretion, may file a photocopy of this Interim Order as a financing



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statement with any filing or recording office or with any registry of deeds or similar office, in

addition to, or in lieu of, such financing statements, notices of liens or similar statements.3

           22.      Protection Under Section 364(e) of the Bankruptcy Code. The DIP Lender and the

Prepetition Secured Parties have acted in good faith in connection with this Interim Order and their

reliance on this Interim Order is in good faith. The reversal or modification on appeal of the

authorizations under section 364 of the Bankruptcy Code contained in this Interim Order does not

affect the validity of any DIP Obligation or the DIP Liens, or the Adequate Protection Liens

whether or not the DIP Lender or Prepetition Secured Parties (as applicable) knew of the pendency

of the appeal, unless such authorization and incurrence of DIP Obligations and DIP Lien and

advance of the DIP Facility Loan under 364 of the Bankruptcy Code in this Interim Order and the

Final Order, were stayed pending appeal.

           23.      Reservation of Rights of the DIP Lender and the Prepetition Secured Parties.

Notwithstanding any other provision of this Interim Order to the contrary, the entry of this Interim

Order is without prejudice to, and does not constitute a waiver of, expressly or implicitly, or

otherwise impair: (i) any of the rights of the DIP Lender or the Prepetition Secured Parties under

the Bankruptcy Code or under non-bankruptcy law, including, without limitation, the right of any

of such parties to (a) request modification of the automatic stay of section 362 of the Bankruptcy

Code, (b) request dismissal of any of these Chapter 11 Cases, conversion of any of these Chapter

11 Cases to cases under chapter 7, or appointment of a chapter 11 trustee or examiner with

expanded powers in any of these Chapter 11 Cases, (c) seek to propose, subject to the provisions

of section 1121 of the Bankruptcy Code, a chapter 11 plan or plans; or (ii) any other rights, claims,

or privileges (whether legal or equitable or otherwise) of the DIP Lender or the Prepetition Secured


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    The provisions of section 1146(a) of the Bankruptcy Code do not apply herein.


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Parties. The delay in or failure of the DIP Lender or the Prepetition Secured Parties to seek relief

or otherwise exercise their respective rights and remedies shall not constitute a waiver of any of

the DIP Lender’s or the Prepetition Secured Parties’ rights and remedies.

        24.    Right to Credit Bid. Pursuant to section 363(k) of the Bankruptcy Code, unless the

Court orders otherwise for cause as provided under section 363(k) of the Bankruptcy Code, the

DIP Lender shall have the right to credit bid the total of the DIP Obligations for any or all of the

DIP Collateral at a sale, lease or other disposition of such DIP Collateral outside the ordinary

course of business (including any auction or similar sales), whether pursuant to a plan of

reorganization or a motion pursuant to section 363 of the Bankruptcy Code or otherwise (which

credit bid rights under section 363(k) of the Bankruptcy Code or otherwise shall not be impaired

in any manner). Pursuant to section 363(k) of the Bankruptcy Code, unless the Court orders

otherwise for cause as provided under section 363(k) of the Bankruptcy Code, the Prepetition

Secured Parties shall have the right to credit bid the total of the Prepetition Secured Obligations

and the Adequate Protection Obligations for any or all of the Adequate Protection Collateral and

the Prepetition Collateral at a sale, lease or other disposition of such Adequate Protection Collateral

and/or Prepetition Collateral outside the ordinary course of business (including any auction or

similar sales), whether pursuant to a plan of reorganization or a motion pursuant to section 363 of

the Bankruptcy Code or otherwise (which credit bid rights under section 363(k) of the Bankruptcy

Code or otherwise shall not be impaired in any manner), provided, however any such credit bid

submitted by the Prepetition Secured Parties must include either (i) provisions for the satisfaction

of any secured claims of the DIP Lender that are senior to the secured claim that forms the basis

of the credit bid or (ii) evidence that the DIP Lender has affirmatively consented to any other

treatment of its senior secured claim. A credit bid may be applied only to reduce the cash



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consideration with respect to those assets in which the party submitting such credit bid holds a

perfected security interest. The DIP Lender and the Prepetition Secured Parties shall each be

considered a “Qualified Bidder” with respect to their rights to acquire all or any of the assets by

credit bid.

      25.           Remedies and Notice Upon the Occurrence of Maturity Date or Event of Default.

              (a)      Prior to payment in full of the DIP Obligations, upon prior written notice by the

DIP Lender to counsel for the Debtors, counsel for the Committee, counsel to the Citizens Secured

Parties, and the U.S. Trustee of the occurrence of an Event of Default (each as defined in the DIP

Loan Documents and incorporated herein by reference) and without further order of the Court, the

DIP Lender may (i) declare the DIP Obligations to be immediately due and payable; (ii) terminate

the DIP Lender’s commitment under the DIP Facility (other than the Carve-Out) or use of Cash

Collateral; (iii) charge default rate interest; and/or (iv) upon five (5) business days’ notice to

counsel to the Debtors, counsel to the Committee and the U.S. Trustee, exercise all default-related

rights and remedies against the DIP Collateral, without further order of or application or motion

to the Bankruptcy Court, and without restriction or restraint by any stay under sections 362 and

105 of the Bankruptcy Code or otherwise, provided however, that during the five (5) business day

notice period, any party in interest shall have the right to file a pleading in opposition to the DIP

Lender’s exercise of rights and remedies including the delivery of the Carve-Out Trigger Notice;

provided further that, unless otherwise ordered by the Court the only issue that may be raised by

any party in such pleading shall be whether in fact, an Event of Default has occurred and is

continuing; but provided further that, if an Event of Default occurs as a result of the Debtors’

failure to indefeasibly satisfy the DIP Obligations by the Stated Maturity Date (as defined in the




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DIP Loan Documents), the above referenced five (5) day notice period shall not apply and the

Debtors and all other interested parties shall not have any challenge rights.

             (b) Following the payment in full of the DIP Obligations, an “Event of Default” shall

occur hereunder on the earliest to occur of: (i) the effective date of a chapter 11 plan for each of

the Debtors; (ii) the entry of an order by this Court terminating the use of Cash Collateral; (iii) the

conversion of any of the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code; (iv)

the appointment of a trustee or examiner or other representative with expanded powers for the

Debtors; (v) the dismissal of the Chapter 11 Cases; (vi) the Debtors’ failure to perform any of their

obligations under this Interim Order or their failure to comply with any of the terms or conditions

of this Interim Order; provided that no Event of Default shall have occurred under this subsection

(vi) until the Prepetition Secured Parties has provided two business days’ written notice of any

such purported failure to perform to the Debtors, (vii) modification (without the express written

consent of the Prepetition Secured Parties), reversal or vacatur of this Interim Order; (viii) the

filing of a chapter 11 plan that does not provide for the indefeasible payment in full in cash of all

amounts due and owing under the Prepetition Loan Documents and all of the Adequate Protection

Obligations on the effective date of such plan, or that provides for the impairment of the Prepetition

Secured Parties’ claims or liens; (ix) the Court entering an order granting relief from the automatic

stay imposed by section 362 of the Bankruptcy Code to any entity other than Citizens Secured

Parties, with respect to the Adequate Protection Collateral and/or the Prepetition Collateral having

a value in excess of $150,000 without the written consent of the Prepetition Secured Parties, which

consent may not be unreasonably withheld; (x) a filing by any Debtor of any motion, pleading,

application or adversary proceeding challenging the amount, validity, enforceability, perfection,

priority or extent of the Prepetition Credit Liens, the Adequate Protection Liens, or asserting any



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other claims, counterclaims, causes of action, objections, contests or defenses against the

Prepetition Credit Obligations, the Prepetition Collateral, the Prepetition Citizens Liens, the

Adequate Protection Liens, and/or the 507(a) Claims; (xi) a filing of a motion for bidding

procedures or a motion for the sale of any or all of a Debtors’ assets that has not been made in

consultation with the Prepetition Secured Parties; or (xii) the Debtors’ failure to preserve or impair

the right of the Prepetition Secured Parties to credit bid on any sale of the Adequate Protection

Collateral and/or the Prepetition Collateral. Upon the occurrence of an Event of Default under this

subparagraph (b), the Citizens Secured Parties may file a motion for relief from the automatic stay

upon fourteen (14) days’ notice to exercise all default-related rights and remedies against the

Adequate Protection Collateral and/or the Prepetition Collateral, without further order of or

application or motion to the Bankruptcy Court, and without restriction or restraint by any stay

under sections 362 and 105 of the Bankruptcy Code or otherwise, provided however, the only issue

that may be raised by any party in opposition to such motion for relief from the automatic stay

shall be whether in fact, an Event of Default has occurred and is continuing.

        26.    Modification of Stay. Subject to the terms set forth herein, the automatic stay

imposed under section 362(a) of the Bankruptcy Code is hereby modified as necessary to

effectuate all of the terms, rights, benefits, privileges, remedies and provisions of this Interim

Order, and the DIP Loan Documents including without limitation, to permit the DIP Lender to

exercise all rights and remedies provided for in the DIP Loan Documents and take any and all

actions provided therein, in each case, without further notice, application to, order of or hearing

before this Court, including those set forth in paragraph 25 of this Interim Order.

        27.    Survival of DIP Liens, DIP Superpriority Claims, Adequate Protection Liens,

Adequate Protection Obligations and Other Rights. If, in accordance with section 364(e) of the



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Bankruptcy Code, this Interim Order does not become a final non-appealable order, if a trustee

terminates this Interim Order, or if any of the provisions of this Interim Order are hereafter

modified, amended, vacated or stayed by subsequent order of this Court or any other court, such

termination or subsequent order shall not affect the priority, validity, enforceability or

effectiveness of (or subordination to the Carve-Out of) any lien, security interests or any other

benefit or claim authorized hereby with respect to any DIP Obligations or Adequate Protection

Obligations incurred prior to the effective date of such termination or subsequent order. All such

liens, security interests, claims and other benefits shall be governed in all respects by the original

provisions of this Interim Order, and the DIP Lender and Citizens Secured Parties shall be entitled

to all the rights, remedies, privileges and benefits granted herein, including the liens and priorities

granted herein, with respect to any DIP Loan and Adequate Protection Obligations, subject to the

Carve-Out.

         28.   Survival of this Interim Order.

               (a)     The provisions of this Interim Order and any actions taken pursuant hereto

shall survive the entry of any order: (i) confirming any plan of reorganization in any of the Chapter

11 Cases; (ii) converting any of the Chapter 11 Cases to a chapter 7 case; or (iii) dismissing any

of the Chapter 11 Cases, and the terms and provisions of this Interim Order as well as the DIP

Superpriority Claims, the DIP Liens in DIP Collateral granted pursuant to this Interim Order and

the DIP Loan Documents, the Adequate Protection Liens, the 507(a) Claims, and the Adequate

Protection Obligations shall continue in full force and effect notwithstanding the entry of any such

order.

               (b)     The DIP Liens and the DIP Superpriority Claims shall maintain their

priority as provided by this Interim Order and the DIP Loan Documents, and to the maximum



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extent permitted by law, until all of the DIP Obligations are indefeasibly paid in full in cash and

discharged or otherwise treated under a plan of reorganization, which is reasonably acceptable to

the DIP Lender. In no event shall any plan of reorganization be allowed to alter the terms of

repayment of any of the DIP Obligations from those set forth in the DIP Loan Documents unless

agreed to by and among the Debtors and the DIP Lender.

        29.    Modifications of DIP Loan Documents. The Debtors and the DIP Lender are

hereby authorized to implement, in accordance with the terms of the DIP Loan Documents, any

non-material modifications of the DIP Loan Documents without further notice, motion or

application to, order of or hearing before, this Court. Any material modification or amendment to

the DIP Loan Documents shall only be permitted pursuant to an order of this Court, after being

submitted to this Court upon five (5) days’ notice to the U.S. Trustee, Citizens Secured Parties,

and counsel to the Committee; provided, that any forbearance from, or waiver of, (i) a breach by

the Debtors of a covenant representation or any other agreement or (ii) a default or an Event of

Default, in each case under the DIP Loan Documents shall not require an order of this Court. In

the event of any inconsistency between this Interim Order and the DIP Credit Agreement, this

Interim Order shall control.

        30.    Insurance Policies. Upon entry of this Interim Order, on each insurance policy

maintained by the Debtors which in any way relates to the DIP Collateral: (i) the DIP Lender shall

be, and shall be deemed to be, without any further action by or notice to any person, named as

additional insureds; and (ii) the DIP Lender shall be and shall be deemed to be, without any further

action by or notice to any person, named as loss payee for DIP Collateral on which the DIP Lien

holds a first priority lien. The Debtors are hereby authorized on a final basis, to and shall take any

actions necessary to have the DIP Lender be added as an additional insured and loss payee on each



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insurance policy maintained by the Debtors consistent with this Interim Order and DIP Credit

Agreement which in any way relates to the DIP Collateral.

        31.    Financial Information. The Debtors shall deliver to the DIP Lender and the Citizens

Secured Parties such financial and other information concerning the business and affairs of the

Debtors and any of the DIP Collateral and the Adequate Protection Collateral as may be required

pursuant to the DIP Loan Documents, the Prepetition Loan Documents and/or as the DIP Lender

or the Citizens Secured Parties shall reasonably request from time to time. The Debtors shall allow

the DIP Lender and the Citizens Secured Parties access to the premises in accordance with the

terms of the DIP Loan Documents and the Prepetition Loan Documents for the purpose of enabling

such parties to inspect and audit the DIP Collateral, the Adequate Protection Collateral and the

Debtors’ books and records.

        32.    Proofs of Claim. Notwithstanding any order entered by the Bankruptcy Court in

relation to the establishment of a bar date in the Chapter 11 Cases to the contrary, or otherwise,

the DIP Lender and the Prepetition Secured Parties shall not be required to file proofs of claim in

the Chapter 11 Cases for any claim allowed herein.




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         33.   Immediate Effect of Order. The terms and conditions of this Interim Order shall

be effective and immediately enforceable upon its entry by the Clerk of the Court notwithstanding

any potential application of Bankruptcy Rule 6004(h) or otherwise. Furthermore, to the extent

applicable, the notice requirements and/or stays imposed by Bankruptcy Rules 4001(a)(3),

6003(b), and 6004(a) are hereby waived for good and sufficient cause. The requirements of

Bankruptcy Rules 4001, 6003, and 6004, in each case to the extent applicable, are satisfied by the

contents of the Motion.


Dated:
                                             William J. Fisher
                                             United States Bankruptcy Judge




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                                    Exhibit 1

                              DIP Credit Agreement




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                                      Exhibit 2

                                  Approved Budget




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